  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 1 of 145 PageID #:13578                            trc

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                 IN THE UNITED STATES DISTRICT COURT                               FIL ED
       FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
                                                           sEP                                    3   2019
KATHERINE BLACK,                                                                              '
        Plaintiff,                                                            ..E#?Kffi,ffiIBU,*,
                                                                  CaseNo. 1:17-cv-00101


                                                                  Honorable Matthew F. Kennelly

CHERIE WRIGLEY ANd PAMELA KERR,

        Defendants.


  PLAINTIFF'S MOTION FOR JUDGMENT NOTWITHSTANDING THE VERDICT
                                      UNDER F.R.C.P. sO(A)


        Plaintiff, Katherine Black ("Katherine"), acting pro se, hereby moves this Court, under

Federal Rule of      Civil Procedure 50(a), for judgment notwithstanding the verdict (JNOV). A
judgment should be entered in Katherine's favor on the Claims Two (Defamation Per Se, against

Kerr), Three (Aiding and Abetting Defamation, against Wrigley), and Four (Conspiracy, against

Wrigley and Kerr) because no reasonable jury could have found as it did based upon the evidence

and the instructions the   jury was given. The evidence proved each element of those claims,            and

that it was umeasonable for the jury to find otherwise.


    1. Claim    Two: Defamation Per     Se (asainst       Kerr)

   I.       The Jury Instructions Given

        In her second claim, Ms. Black alleges that Ms. Kerr committed defamation per se against

her. Under the instructions given to the jury, Ms. Black was required to prove each of the following

propositions by a preponderance ofthe evidence:

                 L Ms. Kerr caused a statement of fact about Ms. Black to be made to Northwestern
                 Law School.
                 2. Ms. Kerr's statement was false.

                                                      1
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 2 of 145 PageID #:13578




                   3. Ms. Kerr knew the statement was false, or she believed the statement was true
            .      but lacked reasonable grounds for this belief.
                   4. It was apparent from the words of the statement that it prejudiced Ms. Black in
                   her profession.

            The jury was further instructed that     if it found that Ms. Black had proven each of these
propositions by a preponderance of the evidence, it:

                   must go on to consider Ms. Kerr's defense that the statement was substantially true.
                   This does not require every detail of the statement to be accurate. To succeed on
                   this defense, Ms. Kerr must prove by a preponderance of the evidence that the "gist"
                   or the "sting" of her statement about Ms. Black was true.

      II.       No Reasonable Jury Could Find that Kerr Did Not Cause a Statement of Fact
                about Ms. Black to be Made to Northwestern Law School.

            A. "statement of Fact" -   Indisputably Met
            Under this Court's decision on the motion to dismiss, the "statement of fact" in question
here is the following:

            Page 15 of Ms. Litvak's letter states:
             "...and the Colorado Judge Found those Allegations credible Enough to Authorize an
            Investigation of Pinto's Conduct by a Forensic Accountant. "
            Not only is this a l00Yo false statement... I would not have disclosed this information if
            Ms. Litvak had not filed this document with the New York Court with this completely false
            statement included.


            The relevant statements, which this Court already held to be statements of fact, not opinion,

are   Kerr's assertions that Katherine's quoted phrase is a "100oZ false statement" and a "completely

false statement." These statements are the basis for the claim of defamation per se.

            B. "Made to Northwestern Law School" -         Indisputably Met

            It is undisputed that Kerr's signed letter, containing this statement         was made to

Northwestern Law School. Kerr emailed her letter to Defendant Cherie Wrigley, who submitted

it through the Northwestem EthicsPoint system.

            C. But-For   Causation in Making this Statement     -   Indisputably Met
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 3 of 145 PageID #:13578




       These Jury Instructions require the    jury to determine whether Kerr's actions were a but-

for cause for the submission of Kerr's statements to Northwestem. Not the sole         cause, only a but-


for cause. No reasonable jury could find that it was not. If Kerr had not written her letter, or had

not made the defamatory statement of fact in her letter, or had not sent this letter to Wrigley, or

had taken precautions to ensure this letter would not be forwarded to Northwestern, this statement

would never have been made to Northwestern.

       Kerr's defense attempted to confuse the jury by claiming that Kerr did not intend for her

letter to be forwarded to Northwestern. However, the Jury Instructions contain no mental state

requirement here. Kerr's intent is irrelevant. The defense further attempted to confuse the jury by

claiming that Wrigley uploaded Kerr's letter to Northwestern by mistake. But Wrigley's intent is

also irrelevant. The only thing that the jury could legally consider is whether but-for Kerr's

actions, the statement of fact would have been made to Northwestern. The answer is clearly no.

       In sum, all elements of point     I of the instructions are clearly   met, and no reasonable jury

could have found otherwise.

   III.      No Reasonable Jury Could Find that Kerr's Statement to Northwestern Law
             School Was Not False.
                                                                                              *l00yo
       Kerr's statement of fact   -   that the language she quoted from Katherine's letter is

false" and o'completely false", it unquestionably false.

       A.    Court Authorized a Forensic Accountant to Investigate Pinto's Conduct       -   Undisputable

       In the proceedings referenced in Ms. Black's letter, the Colorado court issued the following

order: [Pl. Exh. 30; Mot. Exh. 4] (emphasis added)

       The parties have stipulated to a forensic accounting of the Conservatorship estate... - in
       short, a complete review of all funds and assets related to Joanne Black both before
       and after the disclaimer, by Pamela Kerr, CPA...
          8. Mr. Pinto shall provide a complete       accounting with documentation of all funds
       that were held under his control to Ms. Kerr...
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 4 of 145 PageID #:13578




           If Pinto was ordered by the court to turn over "a complete accounting with documentation

of all funds that were held under his control to Ms. Kerr", then, Kerr was at least "authorized" to

inspect them. There is no other purpose to order someone to turn over all documentation to a

forensic accountant than            to at least   authorize said forensic accountant       to   investigate this

documentation and the conduct that it reflects.

                                                       o'a
           Further, Kerr was required to perform             complete review of all funds and assets related to

Joanne      Black." This included the "funds that were held under [Pinto's] control." Kerr's           assigned

task   -   a complete review    -   thus included those funds. Once again, Kerr was at least "authorized"

to investigate Pinto's handling of those funds.

           Kerr's defense attempted to confuse the jury by claiming that:

           (1) the investigation of Pinto was not the only, or even the main, purpose of the Colorado

                 court order (irrelevant);

           (2) that Kerr was originally engaged by the Guardian-ad-Litem, and only later appointed

                 by the court (irrelevant);

           (3) that Kerr spent limited time investigating Pinto (irrelevant);

           (4) that Ken did not submit any reports or recommendations regarding Pinto (inelevant).

None of this is relevant to the question of whether Kerr was authorized to investigate Pinto's

conduct, as part ofher assigned tasks.

           B.    Kerr in Fact Performed Extensive Investigation of Pinto's Conduct and Reported Her
                 Preliminary Findings - Undisputable

           The   jury saw in evidence the letter from Kerr to        several parties, including Bernard Black

and Cherie Wrigley, Guardian-ad-Litem and several attorneys. In that letter, Kerr summarized the

results of her extensive investigation of Pinto's conduct, requested more documents from several
     Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 5 of 145 PageID #:13578




parties, and concluded that Pinto diverted at least $41,000 to himself. [Pl. Exh. 44,Mot. Exh. 11]

The excerpts below give the flavor for how detailed Kerr's investigation of Pinto was:

          . I absolutely need receipts     for all of the Flight, Hotel/\zlotel, Rental Car, Gas, Motel,
              Storage, etc. etc. Since Joanne is a Protected Person and her funds are under jurisdiction
              of the Court, every expense has to be properly documented. I need receipts for all of
              these expenses in columns G through P. I have not included the column for tolls, but
              what are those for? Did Esaun actually go to see Joanne? The charges just say $39/week
              or along those lines. I realize that Column G is Esaun's time but we need to know
              exactly what service he was performing for Joanne.
          .   When exactly did Esaun get back to New York with Joanne? I see an ATM withdrawal
              in Ohio on 411812013. However, he is charging 24 hours a day all the way through
              s17l20r3.
          .   Where was she living when she got back to New York?
          .   What was Esaun doing for her from that time until she was picked up by the New Jersey
              on    61312013?
          .   If   Esaun was charging $5000 a week for Joanne at this point (5/20-613),I would want
              to see a daily log of when she was with him.
          .   If you look at lines 14 and 15 it looks like Esaun switched to a "Flat Rate of $5,000."
              It appears that he is charging her $5,000 a week.
          .   Did either of you know he was charging $5,000.00 a week?


          In the same letter, Kerr stated that she will be seeking more information not only from

Bernard Black and Cherie Wrigley, but also from Joanne's Guardian-ad-Litehm, Gayle Young,

and from Joanne's New York counsel, Ira Salzman.

          This constitutes undisputed evidence that Kerr did investigate Pinto. Obviously, Kerr

would not have been investigating Pinto       if   she were not at least "authorized" to do so. And Kerr

would not have been demanding more documentation from Bernard Black, Cherie Wrigley, Pinto

himself, Gayle Young, and Ira Salzman, if she were not at least "authorized" to do so.

          No reasonable jury could conclude that Kerr would engage in such extensive investigation

if   she were not authorized to do so, and   if   she did not   think she was authorized to do so, and that

other parties would be sharing confidential financial information related to Pinto's conduct with

Kerr if they did not think she was authorizedto do so.
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 6 of 145 PageID #:13578




         C.    Summar.y

         All   elements of this prong of the test are clearly met, and no reasonable jury could have

found otherwise.

    IV.        No Reasonable Jury Could Find that Kerr Did Know that Her Statement Was
               False, or that She Did Not Lack Reasonable Grounds for this Belief.


         Kerr did not assert that she did not see the April 2015 order authorizing her to investigate
several parties in the case, including Pinto. This order was the basis of her entire investigatory
operation. At trial, Kerr did not dispute that she did conduct an investigation of Pinto and issued
her preliminary findings, as reflected in Plaintiff Exhibit 44.

         Obviously, when Kerr was doing all this investigatory work, she thought she was at least
o'authorized" to do so. Therefore, when Kerr told Northwestern that it is "100%o false" that she was

"authorized" by the court to investigate Pinto, she knew that her statement was false, or she lacked
reasonable grounds for believing      it was true.
         All   elements of this prong of the test are clearly met, and no reasonable jury could have
found otherwise.


    V.         No Reasonable Jury Could Find that It Was not Apparent from Kerr's Words of
               the Statement that It Prejudiced Ms. Black in Her Profession.

         This Court already held that an accusation that a law professor lied to the court is per     se

defamatory because it is understood that it prejudices a person in her profession. Defendants did
not dispute this fact at trial.


    VI.        No Reasonable Jury Could Find that Kerr's Statement was Substantially True.
         Finally, the Jury Instructions say:
               If you find that Ms. Black has proven each of these propositions by a preponderance of
               the evidence, you must go on to consider Ms. Kerr's defense that the statement was
               substantially true. This does not require every detail of the statement to be accurate. To
               succeed on this defense, Ms. Kerr must prove by a preponderance of the evidence that
               the "gist" or the "sting" of her statement about Ms. Black was true.
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 7 of 145 PageID #:13578




         For the reasons discussed in Part 1.III, no reasonable jury could find that Kerr's statement
(claiming that Plaintiffs cited passage was "10002 false") was "substantially true". Kerr's
statement was absolutely false.

         No element of Kerr's defense is met. No reasonable jury could have found otherwise.


   VII.      Conclusion: No Reasonable Jury Could Find the Defamation Claim for the
             Defendant
         Plaintiff has fully satisfied all prongs of the test as listed in the Jury Instructions. No
reasonable   jury could have found otherwise. Therefore, this Court should rule for Plaintiff
notwithstanding the jury verdict.


   2,    Claim Three: Aidine and Abettins Defamation (Aeainst Wriglev)


   I.        The Jury Instructions Given in this Case.
         In her third claim, Ms. Black alleges that Ms. Wrigley aided and abetted Ms. Kerr in
         committing defamation against her. To succeed on this claim against Ms. Wrigley, Ms.
         Black must succeed on her first claim against Ms. Kerr and must also prove each of the
         following propositions by   a preponderance   of the evidence:

         1. Ms. Wrigley knowingly and substantially assisted Ms. Kerr in her commission of
         defamation against Ms. Black.
         2. Ms. Wrigley was aware of her role when she provided the assistance.


   II.       No  Reasonable Jury Could Find that Wrigley did not Knowingly and
             Substantially Assist Kerr in Her Commission of Defamation against Ms. Black.


         Undisputed evidence showed that Wrigley's assistance to Kerr's writing of her defamatory
Ietter was broad and multi-faceted.   It included:
         (a) Wrigley's pre-submission conduct (transmitting Katherine's letter to Kerr; encouraging

Kerr to write her own letter; providing information for Kerr's letter; discussing strategies);
         (b) Wrigley's submission of Kerr's letter to Northwestern; and
         (c) Wrigley's post-submission conduct (refusal to retract Kerr Letter after Northwestern
issued notice that   it was submitted; filing a subsequent complaint to Northwestern against
Katherine, claiming that Wrigley's complaint containing Kerr Letter was not properly resolved).
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 8 of 145 PageID #:13578




       At trial, Wrigley did not dispute that           she engaged   in all of the above-listed conduct. As
shown below, all ofthis conduct indisputably constituted "substantial" assistance to Kerr, and most

of it was indisputably "knowing".
       Wrigley's only defense was that she submitted Kerr's letter by accident. This claim itself
is not credible, but, assuming, arguendo, that a reasonable       jury could find it credible, it is irrelevant.
Wrigley's aiding and abetting Kerr's defamation was not a single act of submission of Kerr's letter.
Instead,   it   was an ongoing conduct, which included both pre- and post-submission actions.
Wrigley's pre- and post-submission conduct aiding to Kerr's defamation was unquestionably
intentional, constituted substantial assistance, and the facts of this conduct are not disputed.


       A.       Wrigley's Actions Were "Substantial Assistance" to Kerr
                1.   No Reasonable Jury Could Find Wrigley's Pre-Submission Assistance to Kerr Not
                     to Be "Substantial"
       Wrigley's pre-submission actions were a but-for cause of Kerr's drafting and sending (to
Wrigley) her letter. As such, they constituted substantial assistance to Kerr.
       First, Wrigley (through her counsel) was the one who transmitted Katherine Letter to Kerr.

[Pl Exh. 66; Mot. Exh. 12]. But for that transmission Kerr would have never received Katherine
Letter (since Kerr was not a party to those proceedings and did not represent anyone in those
proceedings]. Therefore but for Wrigley's actions, Kerr would not have been able to write her
defamatory statement to Northwestern.
       The transmission of Katherine Letter to Kerr cannot be blamed on Wrigley's counsel
because    it is undisputed that Wrigley fully        endorsed the transmission.   If Wrigley    had informed

Kerr that her attorney's transmission of Katherine Letter to Kerr was improper and unauthorized,
Kerr would not have been able to proceed with her defamatory actions. But Wrigley did not do so.
       Second, Wrigley actively solicited Kerr's defamatory statement through a string of emails

on January 7th and 8th. [Pl. Exh. 66] After Kerr received Katherine Letter, Kerr immediately
responded:

                     Unreal. I wonder    if   someone should contact Northwestem and let them know that

                     she is   writing this letter (which I haven't read yet) on Northwestem letterhead as if
                     Northwestern is supporting her position.
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 9 of 145 PageID #:13578




       Wrigley replied:
                Totally agree!! ... Melissa has contacted Northwestern and is doing all she can. I
                thank everyone for their feedback. This just makes me sick!!


       In the emails that followed, Wrigley encouraged Kerr to contact Northwestern, provided
details on how she (Wrigley) contacted various university officials, what exactly she said, and how
Wrigley's prior complaints might be useful for Kerr's current complaint. In return, Kerr discussed
with Wrigley how she (Kerr) called Northwestern; her plans for writing her defamatory letter;
suggested her own ideas on how to make their   joint defamatory actions more effective; encouraged
everyone to write and call Northwestern, and even emailed everyone phone numbers and street
addresses   of senior administrators at Northwestern Law School, whom Kerr thought        everyone

should contact. [Pl. Exh. 66]
       Wrigley's active encouragement culminated in Kerr's writing her defamatory letter on
January 8th and sending it to Wrigley. The email string between Wrigley and Kerr had a telling
subject line "lnfo for letter to dean & lnvestigational opening to ETHICS DEPT". [Pl. Exh. 66]
       At trial, Wrigley did not dispute the evidence above and did not introduce any contrary
evidence on these issues. No reasonable jury could find that Wrigley did not provide substantial
assistance to Kerr in the pre-submission stage.



            2. No Reasonable Jury Could Find Wrigley's Submission          Assistance to Kerr Not

                Substantial
       Wrigley submitted Kerr's letter to Northwestern. But for Wrigley's submission, Kerr's
letter would not have ended up at Northwestem. Plainly this assistance is substantial.


            3. No Reasonable    Jury Could Find Wrigley's Post-Submission Assistance to Keru Not
                Substantial
       Both Wrigley and Kerr testified that when Northwestem notified everyone that Kerr Letter
was uploaded to Northwestern, they both chose not to retract it. Wrigley testified that her decision

not to retract the letter was deliberate, explaining that she did not retract it because "There was
nothing wrong with the letter." [Trial transcript 3.8-22-19, p. 161:7]. When asked "Is there any
 Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 10 of 145 PageID #:13578




reason why you would have retracted the letter?", Wrigley responded:    "No." [Trial transcript   3.8-

22-19, p.166:2-4)
       Undisputed evidence showed that after Northwestern notified everyone of the receipt of
Kerr Letter, it continued to investigate Wrigley's complaint and Kerr Letter for several months,
until the case was closed on July 26,2016. [Pl. Exh. 71; Mot. Exh. 13].
       If, upon receiving Northwestern's announcement in March of 2016 that Kerr Letter had
been uploaded, Wrigley immediately retracted     it, this would have eliminated significant amount
of harm that Katherine suffered from it. Instead, Wrigley chose to not only keep Kerr Letter
submitted, but also keep Wrigley's own complaints against Katherine active at Northwestern, and
use those complaints to direct the attention    of numerous Northwestern employees to Kerr's
defamatory statements against Ms. Black.
       Further, undisputed evidence showed that in 2017, Wrigley filed yet another complaint
against Katherine with Northwestern. [included in Plaintiff Exh. 122; Mot. Exh. 8]. In that2017
complaint, Wrigley named as wrongdoers not only Katherine, but also Northwestern's Chief
Compliance Officer, the Dean       of   Northwestern Law School, and the Associate Dean of
Northwestern Law School. In her 2017 complaint, Wrigley claimed, among other things, that her
prior complaints were not handled properly. Wrigley's 2017 complaint triggered a             renewed

investigation of Katherine at Northwestern, and again brought attention to Kerr's defamatory
statements, causing still more harm to Katherine.

       At trial, Wrigley did not dispute the evidence listed above and did not introduce          any

contrary evidence on these issues. No reasonable jury could find that Wrigley did not provide
substantial assistance to Kerr in the post-submission stage.


       B.   No Reasonable Jury Could Find Wrigley's Actions not to be Knowing
            L   Summary
       Wrigley's only defense on the knowledge requirement was that she submitted Kerr's letter
to Northwestern by accident. This claim is absurd on its face, and no reasonable   jury could believe
it. But, assuming, arguendo, that Wrigtey's submission of Kerr's letter was not knowing, this still
leaves Wrigley's pre-submission and post-submission conduct. That conduct was indisputably
knowing. Since that conduct was also substantial, that satisfies both parts of this prong.



                                                 10
    Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 11 of 145 PageID #:13578




            2.   No Reasonable Jury Could Find LYrigley's Pre-Submission Assistance to Kerr Not
                 Knowing
        It is undisputed that Wrigley knowingly (through counsel) transmitted Ms. Black's letter
to Kerr. After learning about that transmission, Wrigley knowingly chose not to retract            the

transmission of Ms. Black's letter to Kerr and not to instruct Kerr that the transmission was not
authorized and that Kerr was not allowed to read Ms. Black's letter or act on it. Instead,        it   is

undisputed that Wrigley sent numerous emails to Kerr encouraging her to contact Northwestern
and write her letter to Northwestern. No reasonable     jury could find that Wrigley did not provide
knowing assistance to Kerr in the pre-submission stage.
            3. No Reasonable Jury Could Find           Wrigley's Submission Assistance to Kerr Not
                 Knowing
        At trial, Wrigley's only defense was that   she did not know that she submitted   Kerr's letter
to Northwestern. That assertion was patently not credible in light of other evidence of Wrigley's
deliberate attacks on Ms. Black; no reasonable jury could believe it.
        The evidence presented at trial showed that when Wrigley uploaded Kerr's letter to
Northwestem, Wrigley wrote to Northwestern: "I have just uploaded another letter/complaint that
was sent to your school regarding this matter." The file that Wrigley submitted to Northwestern
           o'Letter
was named           to Northwestern Law School.pdf'- that was the file that Kerr sent to Wrigley.
         At trial, Wrigley testified that she submitted no letters other than Kerr Letter. At trial,
Wrigley presented no evidence of any other 'oletters" that she thought she could be uploading
instead of Kerr Letter. The evidence is undisputed that the only "letter" that Wrigley could have
been uploading to Northwestem was Kerr Letter. Wrigley wrote to Northwestern that she was
uploading "a letter", and she simultaneously uploaded a letter    -   from Kerr.
         Wrigley's only evidence that she did not mean to upload Kerr Letter was a single self-
serving email that she sent to Kerr. [Pl. Exh. 108; Mot. Exh. 14]. When Northwestern notified two
courts that Kerr submitted a letter along with a sealed court document, Kerr sent an angry email to

Wrigley and others, threatening to quit their team if she finds out that one of them submitted Kerr
Letter to Northwestern without clearing the details with Kerr.l


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 Kerr wrote: "Please tell me who forwarded my letter to Northwestern. This will have a severe impact on
my testimony next week."
Shortly thereafter, Kerr sends another email, explaining why she is so upset:"It did not come from me!
That's a problem because now it looks like I sent them the letter from Kate."

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 Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 12 of 145 PageID #:13578




        Only after Kerr's persistent threats to quit Wrigley's litigation group and withdraw her
testimony in an upcoming hearing, Wrigley comes up with an excuse               - she claimed that she did
not mean to submit Kerr Letter to Northwestern.
        And yet, all evidence presented at trial showed that Wrigley lied. Wrigley submitted Kerr's
letter to Northwestern with a written comment that she was submitting "a letter", and Wrigley
presented no evidence of any other "letter" in existence that she thought she was submitting instead

of Kerr Letter. No reasonable jury could find that Wrigley did not know she was submitting Kerr
Letter to Northwestern.
            4. No Reasonable      Jury Could Find ltrigley's Post-Submission Assistance to Kerr to
                Be Not Knowing

        It is undisputed that when Wrigley found out that Kerr's defamatory letter was sitting                at

Northwestem, she chose not to retract it. At trial, Wrigley testified that she did not see any reasons
to retract Kerr's letter after learning it was submitted. [Trial transcript 3.8-22-19, p.166:2-4] It is
also undisputed that Wrigley was the one who submitted yet another complaint against Katherine,

in2017, where she again drew attention to her prior complaints and to Kerr's defamatory letter.
        At the moment when Wrigley learned that Kerr Letter was sitting at Northwestern and did
not take an action to retract it, Wrigley's allegedly "not knowing" conduct turned into indisputably
o'knowing". No reasonable jury could have concluded otherwise.



        C. Summary: No Reasonable Jury Could Find Wrigley's Actions Not to Be                              both

            "Substantial" and "Knowing" Assistance to Kerr.
        Wrigley's broad set of actions     -   transmitting Katherine Letter to Kerr, encouraging Kerr
to write her own letter, receiving Kerr Letter, submitting Kerr Letter to Northwestern, demanding
that Northwestern takes actions to investigate the accusations in Kerr Letter, and then, refusing to

retract Kerr Letter when Northwestern notified everyone about having received                   it -     clearly
constitute "substantial assistance" to Kerr. But for Wrigley's assistance, Kerr would not have
submitted her defamatory statement to Northwestern.
        Wrigley presented no evidence for why her pre- and post-submission conduct was either
not substantial or not knowing. Even if, arguendo, Wrigley's submission of Kerr Letter was not



Soon after that, Kerr writes yet another email:   "I am seriously reconsidering testifuing next week."
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 Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 13 of 145 PageID #:13578




knowing, the rest of her assisting conduct unquestionably was. Thus, no reasonable jury could find
that this prong of the test is not met.


    ilI.      No Reasonable Jury Could Find that Wrigley Was not Aware of Her Role when
              She Provided the Assistance to Kerr.

           For the reasons discussed in Part 2.1I.8' no reasonable jury could find that Wrigley was
not aware of her role when she provided the assistance to Kerr.
    IV.       Conclusion: No Reasonable Jury Could Find that Plaintiff Did Not Meet Her
              Burden Proving Aiding and Abetting Defamation Against Wrigley.

           Since no reasonable   jury could find that either prong of the test       not

reasonable    jury could find that the claim of aiding and abetting defamation is not proven.



    3.     Claim Four: Conspiracy (Against Wrislev and Kerr)

              The Jury Instructions Given in this Case

       In her fourth claim, Ms. Black alleges that Ms. Kerr and Ms. Wrigley participated in a civil
    conspiracy to commit defamation against her. To succeed on this claim, Ms. Black must prove
    each of the following propositions by a preponderance of the evidence:
                  Kerr and Ms. Wrigley reached an agreement to accomplish, by concerted action,
               1. Ms.
    an unlawful purpose, or a lawful purpose by unlawful means. Ms. Black must prove that the
    participants shared this common purpose. She does not have to prove there was a formal
    agreement or plan in which all involved met together and worked out the details. She also does
    not have to prove that each participant knew all of the details of the agreement.
              2. In fuitherance of the agreement,   either Ms. Kerr or Ms. Wrigley committed an act
              that was defamatory of Ms. Black.
              3. As a result, Ms. Black   was harmed.

    II.       No Reasonable Jury Could Find that Kerr and Wrigley Did not Reach an
              Agreement to Accomplish, by Concerted Action, an Unlawful Purpose.

           Undisputed evidence showed that Kerr and Wrigley engaged           in   extensive, detailed

discussions on how to act in concert to attack Katherine at Northwestern. [Pl. Exhs. 66, 108]. They

exchanged documents, drafts, strategies, information about each other's actions, and encouraged

each other     to act, passed phone numbers, names, and addresses of Northwestern employees to


                                                    13
    Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 14 of 145 PageID #:13578




contact, etc. No reasonable jury could f,rnd that their actions were not "concerted action", an

ooagreement",
                or that they did not share a common purpose. Undisputed evidence (several long

email threads) plainly show that their actions were concerted and had a common purpose, and that

Kerr, Wrigley, and the other participants in the email exchange agreed on that purpose. The

unla,*fi.rIpurpose of their actions was to retaliate against a witness in an ongoing legal proceeding

and to commit defamation. As discussed above, no reasonable        jury could find that Kerr Letter   was


not defamatory, and no reasonable jury could find that Katherine was not a witness, or that

Wrigley's and Kerr's actions were not in direct response to Katherine's offer to testify, because

undisputed evidence plainly showed so.

     III.   No Reasonable Jury Could Fail to Find that, in Furtherance of their Agreement,
            either Kerr or Wrigley Committed an Act that Was Defamatory of Ms. Black.

        For the reasons discussed in Claim Two, no reasonable jury could find that Kerr Letter was

not defamatory of Katherine. That is already sufficient to meet this prong of the Instructions. But

this claim is even stronger because Wrigley also committed her own defamatory act, not merely

aided and abetted Kerr. Even though this Court erroneously removed from Jury Instructions the

defamation per se claim against Wrigley,2 the Instruction for Conspiracy plainly requires the jury

to treat Wrigley's direct defamatory act (uploading Kerr Letter) a basis for the conspiracy claim.

        Wrigley committed her own independent defamatory act: Wrigley submitted Kerr's letter

to Northwestern; that submission constituted "publication" under the law of defamation. Wrigley

is therefore the "publisher" of defamatory content (of Kerr's claim that Ms. Black's statement to

the judge was "10002 false").   Wrigley knew that Kerr's statement was false, or lacked reasonable

grounds for believing otherwise, for the reasons discussed above. The fact that Kerr's letter was




2
 See Plaintiff s Motion for New Trial on the discussion for why it was an error not to allow the claim for
defamation against Wrigley to be included into Jury Instructions.

                                                    14
 Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 15 of 145 PageID #:13578




written by Kerr, not by Wrigley, is irrelevant; Wrigley is the one who published it to Northwestem;

it is immaterial who authored the contents. Wrigley's defense was that she submitted Kerr's letter

by accident. But Wrigley's mental state is irrelevant for publication of defamatory conduct, since

the claim for defamation has no mental state requirement for the act of publication.

       Moreover, as discussed above, Kerr's and Wrigley's joint defamatory conduct included

pre-, post-, and during-submission conduct. Both Kerr and Wrigley admitted that when they

leamed that Northwestern had Kerr's letter, neither of them sought to retract it (In March20l6).

It is undisputed that Northwestern continued to investigate Wrigley's complaint, and Kerr's letter,

until July 26,2016. [Pl. Exh. 71] Therefore, it is undisputed that Northwestern's investigatory

activity between March and July 2016 was due to Kerr's and Wrigley's intentional choice, and

their mutual agreement not to retract Wrigley's complaint and Kerr Letter.

   IV.     No Reasonable Jury Could Find that Ms. Black Was not Harmed as a Result of
           Defamatory Actions by Either Kerr or Wrigley.

       This Court already held that an accusation that a law professor lied to the court          is

defamatory per se, as it obviously harmful to the career and reputation of such professional.

Dated: September 23, 2019
                                                      Respectfully submitted,

                                                      KATHERINE,ry\CK
2829 Sheridan Place
Evanston lL 6020I
kate. litvak@gmail.com

                                                      Katherine L. Black




                                                 15
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 16 of 145 PageID #:13578




                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTzuCT OF ILLINOIS, EASTERN DIVISION
KATHERINE BLACK,
     Plaintiff,
                                                 CaseNo. 1:17-cv-00101


                                                Honorable Matthew F. Kennelly
CHERIE WRIGLEY And PAMELA KERR,
     Defendants.




Joint Exhibits to Katherine Black Motions for New Trial and Motion for
                   Judgment Nothwithstanding Verdict

                           (September 23,2019)
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 17 of 145 PageID #:13578




                        Exh ibit
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 18 of 145 PageID #:13578




  Katherine Letter (fu11)
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 19 of 145 PageID #:13578




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 Via Email to: Ricsupc2@nycourts. gov
 Hon. Thomas P. Aliotta
 Supreme Court, Richmond Counfy
 l8 Richmond Terrace
 Staten Island, NY 10301


 RE: Guardianship of Joanne Black, Index No 80253/14
                                                                                                7 January 2016


 Dear Justice Aliotta:


         A. Introduction.
         I am Joanne Black's sister in law, the wife of Bernard Black. For years, I took an active
 part in Joanne's care, together with Joanne's mother, and without dny participation from Wrigley,
 Dain, or any other member of their family. I was also an active participant in the process leading
 up to the guardianship hearing on October           l,   2015, including regular contact with the Court
 Evaluator, Bartholomew Russo.
         I write to correct some of the many outrageous lies and misleading statements          made in
 recent submissions by Anthony Dain and Ira Salzman, Esq.,       which  compound     earlier lies to this
 Court made under oath by Cherie Wrigley. The lies and misleading statements that Wrigley and
 Dain have made to this Court are pervasive and severe. I, and other members of the Black family,
 seek a hearing, at which we can appear without threat of financial sanctions, to present evidence
 that Wrigley and Dain lied to this Court on material, relevant questions, to obtain a favorable result.
          In addition to these lies, Wrigley and Dain have repeatedly employed illegal coercive
 tactics to prevent the Black family members from appearing in this Court and challenging their
 stories with evidence. Dain, acting as a trustee of the Black family trusts, repeatedly violated his
 fiduciary duties as trustee to prevent the Black family from hiring legal representation. Wrigley
 and Dain have been illegally withholding from the Black family information about the proceedings
 in this Court, for the specific purpose of covering up their perjuries and misleading statements, and
 their efforts to obtain illegal relief. Wrigley sent a formal certified letter to the Black family, falsely
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 20 of 145 PageID #:13578




 claiming to have obtained, from this Court, legal rights with regard to unrepresented third parties
 (Bernard Black personally, and the Black family trusts) that she not only did not obtain, but never
 even sought. Wrigley also made threats and demanded asset transfers without having any legal
 right to make such demands.
          The pattern of Wrigley's and Dain's misconduct includes perjury, suborning of perjury,
 witness tampering, blackmail, threats to counter-parties, threats to an attorney of the counter-
 parties, illegal withholding of documents, failure to comply with discovery requests in the related
 proceedings in Colorado; repeated efforts to obtain relief without proper notice or, as in the case
 in this Court, without any notice at all; repeated false and misleading statements made by an officer
 of the court (Dain); repeated efforts to persuade courts to act, not only without proper notice but
 without jurisdiction; bringing Dain and Wrigley as surprise witnesses after Dain repeatedly said
 they would not testify, and much more. We have seen this pattern in the Colorado proceedings,
 and they are repeating it here.

        Their misconduct is severe and rises to the level of fraud on the court.
         I am asking for an opportunity to present evidence of this misconduct. I ask the Court to
 take these allegations seriously and hold a hearing to evaluate them. I ask this Court not to make
 any determinations as to the appointment of Wrigley as guardian until such evidence is heard.
         Please notice how passionately Dain and Wrigley are arguing against legally mandated
 disclosure and a hearing, and how they've been threatening us with sanctions if we dare to show
 up at a hearing, cross-examine their witnesses, and present our own. You Honor, please ask, why?
 Why is their sworn testimony, or their Proposed Orders, or their communications with Mr. Russo
 such a big secret? Why are they so afraid that the Black family members will testify, or that
 Wrigley and Dain will be subject to cross-examination? Because they know that their perjuries
 and other misconduct cannot withstand scrutiny, that's why. I am confident that, when we present
 evidence of Wrigley's and Dain's misconduct that they so fervently are trying to stop us from
 presenting, this Court will agree that Wrigley is not fit to be Joanne's guardian.
         I also request to be recognized as an interested person in this matter, so that I will receive
 notice and have an opportunity to respond to their past and expected further lies and misstatements.
 My relationship with Joanne spans over a decade. During this decade, I have been more involved
 in Joanne's care than Wrigley has in her lifetime. For years, I personally assisted Joanne's mother
 with a multitude of everyday decisions and long-term plans for Joanne. In contrast, Wrigley's
 lifelong contact with Joanne was limited to an occasional phone call and a rare dinner during the
 limited periods when Wrigley was on good terms with Joanne's mother.
        I specifically request to receive, as an interested person: (i) notice of any orders or
 proposed orders submitted, or to be submitted, in this matter, by any party; (ii) a copy of the
 transcript of the hearing held on October 1,2015; (iii) all documents submitted to Mr. Russo by
 any party (many of these should have been turned over in discovery in Colorado but they were
 not) ; (iv) all documents submitted by Mr. Russo to this court, and (v) everything issued by this
 Court, including orders. Only then can I be in a position to fully respond to the repeated and
 outrageous lies perpetrated by Cherie Wrigley, Anthony Dain, and Esaun Pinto, and the
 misstatements by their respective counsel. As of now, because of Wrigley's and Dain's secrecy, I
 can only respond to the information I have, surely a small portion of the misstatements that they
 submitted.
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 21 of 145 PageID #:13578




         I also request the right to participate in all formal and informal proceedings, representing
 myself, the same way as Dain has been doing. I have a JD and am a tenured, full Professor of Law
 at the Northwestern University School of Law. I have the same ability to appear at all proceedings,
 including lawyer-only conference calls and status conferences, as Anthony Dain has claimed, and
 this Court has approved for him.
         The co-trustees of two trusts for the benefit of Joanne Black - Bernard Black (my husband)
 and Samuel Black (his son and my stepson) - should also be recognized as interested persons. As
 trustees, they have the same right to be recognized as interested persons as does Anthony Dain.
 Dain claimed interested person status based on being a co-trustee of these trusts, and was accepted
 as such by this Court. Samuel and Bernard Black should be granted the same rights.

         This letter proceeds as follows. In Part B, I address some elements of Wrigley's and Dain's
 fraud on the Court. I show that they not only lied and misled this Court, but also impeded the
 Blacks' access to legal representation, threatened litigants and attorneys, tampered with witnesses,
 illegally concealed information, and otherwise undermined the integrity of these proceedings. In
 addition, Dain was acting as counsel and attended counsel-only conferences; as such, he should be
 considered an officer of the court. He repeatedly lied to this Court, made highly misleading
 statements, and wrongfully omitted material information. Such conduct by an officer of the court
 constitutes fraud on the court and requires a thorough investigation and hearing.
        In Part C, I explain why the supposed urgency for this Court to act, which Dain and
 Salzman are now claiming, is a fabrication, and rests entirely on their failure to disclose material
 information to this Court. I show that Dain's attempt to advance this theory is yet another example
 of his effort to mislead this Court.
          In Part D, I discuss the real issues at stake in this litigation, the ones that Wrigley and Dain
 are trying to hide from the Court by denying the Black family a hearing. I show how (1) following
  l5 years of family fighting over inheritance, Wrigley and Dain have concocted a scheme to strip
 the Black family trusts of assets and funnel those assets to the personal control of Wrigley; (2) how
 Dain breached many fiduciary duties and violated the law to pursue this scheme; (3) how Wrigley's
 guardianship over Joanne is a critical piece of that scheme, allowing her to take control of the
 assets that Dain is trying to strip from the Black family trusts. I also show how Wrigley and Dain
 have been sabotaging all family efforts to settle this ruinous litigation because such solutions, while
 highly beneficial for Joanne and the rest of the Black family, would not give Dain and Wrigley
 their desired outcome - personal control over the Black family assets.
        In Part E, I show that Wrigley has many significant conflicts that disqualifu her from
 serving as Joanne's guardian. In particular, Joanne's guardian would need to sue on Joanne's
 behalf, or at least dispassionately evaluate the need for suing, the following parties: (1) Wrigley
 herself and her associate Esaun Pinto for embezzlement and fraud; (2) Dain as a trustee of Joanne's
 trusts for breach of fiduciary duties, and Wrigley for aiding and abetting those breaches; and (3)
 Wrigley's litigation partners Gayle Young and Lisa DiPonio for legal malpractice. As I show
 below, these claims are very strong. If Wrigley is given guardianship over Joanne, she would
 sabotage all such efforts.
         In Part F,   I   list several examples of Wrigley's perjuries, lies, and highly misleading
 statements to this Court. Those include outright falsehoods about: (1) Pinto's criminal history; (2)
 known facts and accusations of Pinto's embezzlement and fraud; (3) the legal ownership of assets
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 22 of 145 PageID #:13578




 that Wrigley is seeking in this Court; (4) Wrigley's concealment of material information from this
 Court to obtain an illegal order, and so on.
        Finally, in Part G, I address Wrigley's and Dain's reprehensible ongoing quest for secrecy,
 aimed at covering up their lies and other misbehavior in these proceedings.


        B. Dain and Wrisley Committed Fraud on the Court.
                1. Dain and Wrigley Committed Fraud on the Court though Threats to
                Witnesses and Counsel, Impeding Access to Legal Representation, Illegal
                Withholding of Material Information, and Other Misconduct.
          In his recent letters to this Court, Dain is claiming that this Court should not hear evidence
 that he and Wrigley lied to the Court because the Black family should have presented this evidence
 earlier. His effort to cover-up his misdeeds must be rebuffed. The Black family had no chance to
 reveal Dain's and Wrigley's falsehoods earlier because Dain himself illegally concealed most of
 these falsehoods from the Black family, fervently fought against having to disclose them, and has
 only recently disclosed a portion of one relevant document, apparently under pressure from this
 Court.
        Wrigley's and Dain's current position can only be described as chutzpah - illegally hide
 information from the opponent, and then, point to the fact that the opponent did not respond to the
 concealed information earlier as the grounds not to allow them to respond today. We again request
 that Wrigley and Dain disclose all communications that they submitted to this Court, including all
 proposed orders, the hearing transcript, and all communications with Mr. Russo.

         In Section F below, I list some of the known lies that Wrigley and Dain submitted to this
 Court. We will present more at the hearing if we are allowed to have one. I am sure there are still
 more in the documents that Wrigley and Dain are so passionately fighting to conceal from us.
 Among their known lies are: (1) false claim that Esaun Pinto, who is currently Wrigley's core
 person to control and manipulate Joanne, is not a convicted felon; (2) false claim that Esaun Pinto
 has not been accused of wrongdoing with respect to Joanne; (3) false claim that the assets that
 Wrigley is seeking in her Proposed Order are Joanne's personal property; (4) deceitful failure to
 inform this Court that the assets that Wrigley is seeking in her Proposed Order are frozen by the
 Colorado court, and thus cannot be transferred to anyone; (5) deceitful failure to inform this Court
 that the assets that Wrigley is seeking for urgent transfer in her Proposed Order, ostensibly for
 Joanne, are the same assets that Wrigley has been long claiming to belong to Wrigley personally;
 (6) false claim that Joanne is in desperate need of money, which can only be fixed by the urgent
 appointment of Wrigley as a guardian; (7) false claim that Joanne's Colorado conservator has been
 refusing to pay Joanne's bills, necessitating the urgent appointment of Wrigley as a guardian. There
 is more. We will present more evidence at a hearing if we are allowed to have one.
        The lies that Wrigley and Dain submitted to this Court are supplemented by their
 continuous coercive efforts to stop the Black family members from participating in these
 proceedings and in related proceedings in Colorado. Dain's coercive tactics are severe and rise to
 the level of witness tampering, To coerce the Black family members not to participate in the
 proceedings before this Court, and in related proceedings in Colorado, Dain repeatedly threatened
 to seek financial sanctions if they dare to appear, and to instigate frivolous actions for criminal
 contempt. Wrigley openly engaged in blackmail, threatening to reveal personally damaging
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 23 of 145 PageID #:13578




 information about Bernard Black, threatening other members of the Black family, threatening
 Bernard Black's Colorado attorney, and so on. ln a separate incident, Dain personally threatened
 Bernard Black's New York attorney as well. We request a hearing to present evidence of Wrigley's
 and Dain's efforts to tamper with witnesses in these proceedings.

         To make Dain's and Wrigley's coercive tactics more effective, Dain took a series of illegal
 steps to foreclose the Black family members' access to legal representation. Dain, while acting as
 a trustee for the Black family trusts, vetoed all legal-defense spending by the trusts, explicitly
 stating that he was doing so to ensure that no trust assets are used to hire afforneys for the Black
 family. Later, Dain petitioned this Court and the Colorado court to freeze all Black family trust
 assets, again openly stating that the purpose of the asset freeze is to ensure that the Black family
 does not use any trust money for legal expenses. All of this violates Dain's fiduciary duties to the
 trust beneficiaries.
          Dain's misconduct continues and impedes the Blacks' ability to participate in proceedings
 in this Court. Due to Dain's actions, we still have no access to our own trust funds to hire sufficient
 legal representation in this Court. When a trustee uses his trustee powers to deprive the
 beneficiaries of the opportunity to hire legal representation, in the proceedings against the trustee
 himself, this no doubt counts as "egregious and purposeful conduct designed to... impede a party's
 efforts to purse a claim or defense", and as such constifutes fraud on the court. CDR Creances
 S.A.S. v. Cohen, 23 NY3d 307 (2014).
        But it gets worse. Dain, acting as a trustee for the Black family trusts, brought numerous
 legal actions, in two states, to defund the Black family trusts - in which he was a trustee! He
 breached numerous fiduciary duties while he was at it, including the duty of loyalty, duty of
 impartiality, duty to defend the trusts in litigation, duty to provide information, duty of
 confidentiality, and so on. Dain's goal? If the Black family trusts are defunded, the assets would
 flow directly into the control of Dain's sister Wrigley, acting as an ostensible guardian for the
 mentally ill Joanne Black. Wrigley already announced her plans to spend these assets lavishly on
 herself and her associates. To accomplish this asset-stripping goal, Dain obtained the freeze on the
 trusts' assets and deprived the Black family of funding for legal representation.
        Dain's temporary success in Colorado was obtained through his own gross legal violations,
 combined with his and Wrigley's threats, blackmail, coercion, and outright perjury, in proceedings
 where neither the trusts nor beneficiaries individually were represented due to Dain's breaches of
 fiduciary duties. Dain's conduct was calculated to benefit himself and his sister Wrigley, who
 stood on the receiving end of asset removal.
        Dain is now using this temporary success in Colorado to convince this Court to ignore all
 evidence of his and Wrigley's misconduct that the Black family is seeking to provide. These efforts
 must be rebuffed. The evidence of Wrigley's and Dain's fraud on the court and other misdeeds is
 critical for the Court's determination of Wrigley's fitness as a guardian.
        Dain's efforts to deprive the Black family of legal representation continue in this Court.
Despite Dain-instigated asset freeze, the Black family scrambled some money to hire a new
attorney (Piper Hoffman, Esq.).As soon as Dain learned about it, he stalked Ms. Hoffrnan online,
cited information from her personal website in his formal letter to her as a counsel, made personal
threats against her, and pressured her to abandon her representation of the Black family in these
proceedings.
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 24 of 145 PageID #:13578




        Dain's and Wrigley's coercive tactics, taken together with the lies and misleading
 statements that they submitted to this Court, and with their continuous efforts to deprive the Black
 family of legal representation, constitute "egregious and purposeful conduct designed to
 undermine the truth-seeking function of the courts, and impede a party's efforts to pursue a claim
 or defense." CDR Creances S.A.S. v. Cohen, 23 NY3d 307 (2014).
        As such, they constitute fraud on the Court. We seek full disclosure of information and a
 hearing to present this evidence to the Court.


                2. Dain Committed Fraud on the Court by Engaging in Gross Misconduct as
                an Officer of the Court.
        Dain lied to this Court, concealed material information from this Court, and made many
 highly misleading statements. Such actions by an officer of the court constitute fraud on the court.
 Kenner v. C.I.R., 387 F.3d 689 (1968).
         Among Dain's known falsehoods are the following. Dain made false and highly misleading
 statements as to the contents ofthe disclosures that Bemard Black submitted to the Colorado court.
 Dain falsely claimed, or intimated, that a detailed disclosure that Bernard Black provided to the
 Colorado court (his plans for a disclaimer by Joanne Black of payable-on-death assets, so that they
 would flow into Renata Black's estate), and then copied from his filed Proposed Order to the
 Colorado court into his letter to this Court, somehow never existed. Dain falsely intimated that
 Bernard Black failed to submit that same detailed disclosure to all participants in the Colorado
 disclaimer proceeding. Dain made false and highly misleading suggestion that the Colorado judge
 never saw the detailed disclosure that Bernard Black submitted, even though the Colorado judge
 stated, in an open court where Dain was present, that she received, read, and understood Bernard
 Black's submitted language, and so on.
        This letter is already too long. Exposing Dain's numerous misleading statements would
 take significant space because I would need to provide context and supporting documentary
 evidence. If we are allowed a hearing, we will present specific, step-by-step demonstrations that
 many statements that Dain made to this Court were highly misleading and some were outright lies.
          In addition to a long list of highly misleading statements, Dain openly lied to this Court.
 For example, Dain lied as to the legal ownership of the assets (ewelry and savings bonds) that
 Wrigley is seeking to transfer into her hands. Upon the information and belief, Dain told this Court
 that the assets were Joanne's personal property. In reality, they were property of the Black family
 trusts, and Dain knew it. The lie was material and calculated - if this Court knew that the assets
 were not Joanne's personal property, it would not have directed their transfer to Wrigley.
         When the Blacks caught Dain lying about the ownership of these assets it, Dain again
 affempted to mislead this Court by claiming that the distinction between trust assets and personal
 assets, which is fundamental to the relief he was seeking, is "semantic obfuscation" and
 ttnonsense."

        Further, Dain concealed from this Court the critical fact that he was seeking an order from
 this Court that would violate an existing order from the Colorado court. Dain and Wrigley ask this
 Court to order an immediate transfer of assets, knowing that those assets have been frozen by the
 Colorado court, by the order that Dain himself obtained. Dain did not inform either this Court or
 the Colorado court that he is seeking conflicting orders in two courts. Dain did, however, threaten
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 25 of 145 PageID #:13578




 Bernard Black with contempt proceedings if Black violates either the two conflicting orders! Thus,
 Dain's failure to disclose material information to this Court is intentional, aimed at advancement
 of his litigation position, and aimed at threatening the opposing party with frivolous civil and
 criminal penalties.
        "[A]   fraud perpetrated by officers of the court so that the judicial machinery can not
 perform in the usual manner its impartial task of adjudging cases" constitutes fraud on the court.
 Kenner v. C.I.R., 387 F.3d 689 (7th Cir. 1968); 7 Moore's Federal Practice, 2d ed, p. 512,n 60.23.
 "[F]abrication of evidence by a party in which an affomey is implicated will constitute a fraud on
 the court." Weese v. Schukman, 98 F.3d 542, 552-53 (lOth Cir. 1996). Dain is an officer of the
 court. He lied to this Court on material matters. He misled this Court, materially and repeatedly.
 We seek full disclosure and a hearing to demonstrate the full extent of Dain's fraud on the court.
         Dain might claim that he is formally not an "officer of the court" in this case. If he does, it
 would be yet another case of chutzpah on his part. Dain has demanded to be treated as an officer
 of the court by this Court, and has been granted such privileges. Dain participated in a counsel-
 only telephone conference in September 2015, where no other litigants were admitted. Dain earlier
 attended another status conference held for counsel, where he made motions and sought
 substantive decisions. He submitted multiple letters and motions. He is using his law firm
 letterhead to add credibility to his submissions. Dain is, by every measure, the lead counsel for the
 Dain-Wrigley litigation team, both in New York and in Colorado. In Colorado, Dain personally
 ran the trial, examined and cross-examined witnesses, defended depositions, and so on.

         If Dain acts like an officer of the court, and is granted the privileges of an officer of the
 court, he must be held to the standards of an officer of the court. Dain's lies and deliberate attempts
 to mislead this Court constitute fraud on the court per se. They require investigation, full disclosure
 of all submissions, a hearing, and, depending on the determination at the hearing, sanctions.


         C. Wriglev and Dain Have Manufactured a Crisis where None Exists. and Are Now
         Pointins to that 56Crisis" to Avoid Investisation of Their Periurv and Other
         Misconduct.
        Dain and Salzman are asking this Court to move in an extreme rush, without hearing
 evidence of the many false statements that Wrigley and Dain made to this Court in their quest for
 guardianship, and their other misdeeds. They justify this mad rush with a newly-discovered crisis
 - Joanne's alleged need for money. This "crisis" is a manufactured falsehood.
        Dain and Salzman claim that Joanne is "penniless"; that Wrigley is Joanne's only source
 of money, and that Wrigley is running out of money, necessitating an urgent appointment of
 Wrigley as a guardian. The implication is that Wrigley's appointment as a guardian would solve
 Joanne's money problems. This is completely false and highly misleading'
         Far from being "penniless", Joanne has tax free income of $68,000 per year, from her
 workers' compensation and Social Security Disability Insurance payments. Joanne's Colorado
 conservator has the power to use these funds to pay Joanne's documented expenses. In his letter
 to this Court, Saltzman confusingly tells this Court that he recalls some open-court conversation
 indicating that Joanne's Colorado conservator would not provide spending money to Joanne. After
 receiving Salzman's letter, we asked the Colorado conservator whether she has paid any of
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 26 of 145 PageID #:13578




 Joanne's expenses and if not, why. She responded that she is authorized              to pay   Joanne's
 documented expenses, and is happy to do so, but nobody has sent her any bills!
        Meanwhile, the Colorado court did not refuse to authorize payments directly to Joanne.
 Instead the court simply wanted Joanne's expenses and request for spending money to be
 documented. The Court responded to Mr. Salzman, said at a hearing on June 77,2015:

        [M]y charge to you right now is to go to sit down and work through it [Joanne's need to
        pay bills and have spending money] and clarify what your perimeters of authority are, what
        can be paid, what you have an issue with paying, and then I'll deal with it.
        I've already advised, you know, come back by July      15th and advise me if you want a further
        status conference, we can do   it [authorize   payments for Joanne] by phone.

 Dain and Wrigley never came back to request that bills be paid, or that Joanne receive spending
 money. Meanwhile, Bernard Black, as Joanne's conservator, received a number of medical bills
 for Joanne, forwarded them to Joanne's conservator, and the bills were paid in the normal course.
         This is one of many examples of Wrigley's and Dain's chutzpah in these proceedings:
 deliberately create a problem, and then, point to that problem as grounds for relief. Here, Wrigley,
 Dain, and Salzman never came back to Joanne's Colorado conservator or to the court with bills to
 be paid or a request for spending money. Dain and Wrigley are now pointing to the fact that
 Joanne's conservator has not paid the bills that they did not submit as grounds for a mad rush in
 appointing Wrigley as a guardian.
        In short, Wrigley's appointment as a guardian is not necessary to provide Joanne with
 funds. All they have to do is to send the bills to the Colorado conservator for payment. At most,
 they might need to seek court approval for spending money, which the court has indicated it is
 willing to provide.
        There is an even more outrageous reason why Wrigley's appointment will not provide
 Joanne with more funds. In addition to her annual income, Joanne has two trust funds, from which
 she can request funds. Two of the trustees (Bernard and Samuel Black) have repeatedly offered to
 provide money to Joanne from the trusts. They did so without even receiving any bills. For
 Joanne's housing expense, the Blacks directly contacted Salzman, Joanne's landlord, and Joanne
 herself, and offered to pay Joanne's rent directly. In all instances, they were rebuffed by Wrigley
 and Salzman. Bernard Black also provided Joanne with $500 weekly in spending money, until
 Dain and Wrigley froze the Black family trusts and prevented further payments.
        The Blacks are still huppy, as trustees, to approve all legitimate spending on Joanne's living
 expenses and pocket money. But they cannot - because Wrigley and Dain personally sought and
 obtained the freeze on Joanne's trusts! All that Dain and Wrigley need to do is to petition the
 Colorado court to lift their own freeze on the trusts' assets. Until that happens, the vast bulk of
 Joanne's money is not accessible to anyone, whether Wrigley is appointed guardian or not.
          Actions speak louder than words. If Dain and Wrigley were interested in Joanne's access
 to money, they could have asked her conservator to pay bills and provide spending money, and
 could have petitioned the Colorado court to lift the freeze from Joanne's trusts. If the freeze is
 lifted, Bernard and Samuel Black are ready to again use trust funds to pay Joanne's legitimate
 expenses and provide her with spending money, as they did before the freeze. Instead, Wrigley
 and Dain point to their own asset-freezing scheme and failure to ask Joanne's conservator to pay
 bills as a crisis that can only be solved by Wrigley's urgent appointment as a guardian.
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 27 of 145 PageID #:13578




         The phony need for urgent action that Dain and Salzman manufactured in their recent
letters is yet another example of the many falsehoods that they have unleashed on this Court. It
underscores the need for fulI disclosure of their submissions to this Court, the need for a hearing,
and Wrigley's unfitness to be a guardian.


        D. Wrigley's and Dain's Real Purpose in these Proceedings Is to Funnel the Black
        Family Assets to Themselves: Hearinq Is Necessarv to Present Evidence.


                1.   Wrigley Stole Significant Assets from the Black Family, Was Estranged
                     from the Blacks, and Has Fought with the Blacks Over Inheritance for
                     Decades.
        Wrigley's current quest for guardianship is a continuation of a decades-long family fight
 in which Wrigley has repeatedly stolen, or tried to steal, family assets that are not hers.
         In the late 1990s, Wrigley's mother (Joanne's aunt) died. Wrigley's mother ran a real estate
 business in California, in which Joanne's mother and Joanne's and Wrigley's grandmother made
 large investments. After the death of Wrigley's mother, Wrigley took over the business and
 wrongfully refused to acknowledge the interests of the Black family, including her own elderly
 grandmother. A multi-year fight ensued. As part of that fight, I personally researched and drafted
 a fraud complaint on behalf of Joanne's mother and grandmother against Wrigley. That complaint
 detailed the specifrcs of the Black's investment and Wrigley's misappropriation thereof. Joanne's
 mother was planning to file a lawsuit, but wanted to talk to Wrigley first, hoping that she would
 settle. Wrigley told Joanne's mother that if she files a suit, Wrigley would bring in her litigator
 brother Dain, counter-claim against the Blacks on some bogus grounds, and ruin Joanne's mother
 financially.
         Joanne's mother and grandmother had to abandon their plan to sue Wrigley. In retaliation
 for Wrigley's theft, the grandmother wrote a new will, in which she entirely disinherited Wrigley
 and her siblings, including Dain. All of grandmother's assets were bequeathed to the Black family.
 That includes valuable family jewelry. If you look at Wrigley's Proposed Order, on page 7,you
 will see the demand that Bernard Black transfers some jewelry to Wrigley. That's the jewelry that
 the grandmother left to the Black family after Wrigley stole the Black family's real estate
 investment. Wrigley has been trying to get that jewelry ever since. As discussed below, she is now
 using these guardianship proceedings to try again.
          2004, Joanne's grandmother died; Wrigley appeared again, challenging the will and
         In
 demanding the jewelry. The Blacks rebuffed this effort. Another multi-year fight ensued.
         In 2012, Joanne's mother died; Wrigley appeared yet again, with the same demands. One
 day after the death of Joanne's mother (!), Wrigley wrote to Bernard Black, demanding the jewelry
 and claiming that it rightfully belongs to Wrigley. Wrigley made many more demands for that
 jewelry since then, as did her siblings. At the funeral itself, she insisted on talking about the
 jewelry and how it really belongs to her. It does not. Since then, Wrigley has repeatedly threatened
 that she would get "her" jewelry sooner and later.
        If we are allowed a hearing, we will present significant evidence showing that Wrigley and
 Dain are using these guardianship proceedings to strip assets from the Black family and funnel
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 28 of 145 PageID #:13578




them to themselves. We will show that Wrigley has been trying to do this for decades. We will
present evidence showing the many attempts that Wrigley has made at expropriating the Black
family's assets, on many different occasions. This is exactly why Wrigley has been estranged from
our family - because she is a greedy, manipulative thief and a liar. And this is exactly why Wrigley
and Dain have been fighting so hard against giving us notice and hearing in this Court. At the
hearing, we will present evidence showing that Wrigley and Dain have been using these
guardianship proceedings to funnel assets from the Black family trusts into the hands of Wrigley,
and that their current asset-stripping efforts are completely consistent with their pattem of prior
malicious conduct.
         The only thing that changed after Joanne's mother died is Wrigley's gall. In the past,
Wrigley was careful in fighting with the Blacks because she would have to pay her own litigation
expenses if a fuIl-scale war broke out. But now, Wrigley is using Joanne as a pawn - she has
manipulated Joanne into suing Joanne's own family, at Joanne's expense, to obtain a supposed
"recovery" - to transfer all of the Black family's assets from family trusts into the hands of
Wrigley, acting as Joanne's guardian. The perverse feature of Wrigley's litigation ploy is that, by
using Joanne as a proxy, Wrigley is using the Black family assets to sue the Black family itself.
We are paying litigation expenses on both ends of this scheme because, so long as Wrigley is
acting ostensibly on Joanne's behalf, she is expecting to be paid from Black family assets. As such,
this is a great free gamble for Wrigley. But it is financially ruinous for the Blacks.


               2.   Wrigley and Dain Use Joanne as a Proxy to Continue Decades-Long Effort
                    to Strip Assets from the Blacks and Funnel Them to Wrigley.
        Wrigley and Dain have represented to this Court that their only interest in these proceedings
is Joanne Black, and that they, or at least Wrigley, had a lifelong close relationship with Joanne.
This is completely false. Neither Wrigley nor Dain had any meaningful relationship with Joanne
while Joanne's mother was alive. Nor could they, while they were fighting with Joanne's mother
and the rest of the Black family over the inheritance that they stole or tried to steal. Wrigley
suddenly developed an "interest" in Joanne only when Joanne's mother died, leaving Joanne a
wealthy heir, and providing Wrigley with an opportunity to use Joanne and Joanne's money to
instigate litigation with the Black family and funnel the Black family's assets to Wrigley herself.
        Dain remained completely disengaged with Joanne's care for two and a half years after
Joanne's mother's death. He totally ignored his fiduciary duties as a trustee of her trusts. He
became interested and engaged when, and only when, his sister Wrigley began her active fight for
control of the Black family assets, in the fall of 2014.
        Immediately after Joanne's mother's death, Wrigley convinced Bernard Black to work with
her for Joanne's benefit, and Bernard Black agreed. Wrigley and Bernard Black together conceived
a plan to disclaim assets in Renata Black's accounts at Vanguard, which Renata Black had
supposedly left directly to Joanne, so that they would flow through Renata Black's estate, with
two-thirds of the assets going to Joanne's Supplemental Needs Trust, and one-third to an Issue
Trust, principally for Renata Black's grandchildren. This disclaimer is the ostensible subject of the
entire controversy. I say "ostensible" because it is merely a pretext for Wrigley's and Dain's asset-
stripping efforts, as we will show at a hearing if we can have one.




                                                 10
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 29 of 145 PageID #:13578




         Wrigley and Bernard Black both knew that the disclaimer and related actions were far more
 beneficial to Joanne than any alternative course of action. In a hearing, we will explain to this
 Court why this is so. Wrigley and Dain passionately oppose the hearing because they are afraid
 that the Court will learn that the disclaimer was not only beneficial to Joanne, but also actively
 supported by Wrigley. Indeed Wrigley's assistance was instrumental in obtaining the disclaimer.
       Wrigley and Bernard Black continued to work together for Joanne's benefit until 2014,
 when Bernard Black discovered that Wrigley, to whom Bernard Black had entrusted some aspects
 of Joanne's care, and Wrigley's     associate, convicted federal felon Esaun Pinto, have been
 embezzling money from Joanne's bank accounts and defrauded the Estate of Renata Black of
 hundreds of thousands of dollars through fraudulent billing.
         When Bernard Black demanded that they retum the money, Wrigley responded by
 blackmailing him. Wrigley told Bernard Black that she possessed some compromising information
 related to the disclaimer and his mother's will, and that Wrigley would release that information if
 Bernard Black did not start diverting significant Black family assets to Wrigley personally, and
 does not stop his investigation of Wrigley's theft of the Black family assets. When Bernard Black
 again refused, Wrigley contacted his afforney who performed the disclaimer, Carl Glatstein, and
 sought to threaten and blackmail him too, again demanding more money and to stop the
 investigation of hers and Pinto's theft.
        Because Bernard Black did not acquiesce to Wrigley's blackmail, she developed a new
 scheme. In2}l4,with the help of her litigator brother Dain, Wrigley devised a scheme to strip the
 Black family of their interests in their family trusts, take control over the Black family money, and
 spend a significant portion of it on herself, and convince Joanne to bequeath to Wrigley and Dain
 whatever Wrigley failed to spend. For this purpose, Dain and Wrigley proceeded in two directions
 simultaneously.
          First, in late2014 and early 2015,Dain, while serving as a trustee of all Black family trusts,
 initiated legal actions in courts in New York and Colorado, seeking to defund both trusts. Dain
 used his trustee status to claim that he was an "interested person" with respect to Joanne Black,
 and then used his interested person status to launch (and be the lead lawyer in) litigation seeking
 to defund the trusts.
         In Dain's own words to this Court, "that issue trust needs to be - the money in it needs to
 be defunded." Transcript of New York hearing (Feb. 19,2015, at22). Dain was a co-trustee of
 the Issue Trust that he sought to defund! In fact, the remedy Dain sought would have defunded
 both family trusts set up by Joanne's mother (the family's Issue Trust and the Joanne's
 Supplemental Needs Trust, both of which have Dain as a co-trustee). If the two trusts were
 defunded, the money in these trusts would have flown directly to the mentally ill Joanne Black,
 who has no capacity to manage it.
         At the same time that Dain was seeking to defund the Black Family trusts, Wrigley
 petitioned to secure guardianship over Joanne's person and assets in this Court. In her
 guardianship petition, Wrigley specifically requested the powers to manage all of Joanne's funds,
 dispose of Joanne's property, and make gifts. In sum, while Dain was using his trustee status to
 allow him to sue in multiple courts to defund the Black family trusts, and cause the assets from
 both trusts to flow directly to the mentally ill Joanne Black, Wrigley was petitioning to take control
 over Joanne Black's finances, and thus over these funds.


                                                   11
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 30 of 145 PageID #:13578




          That is, Dain, while serving as a trustee, and using his trustee status to gain personal entry
 into litigation, worked to funnelthe Black family assets into the hands of his sister Wrigley'
          Even more egregiously, Dain used his position as a trustee to make it impossible for the
 beneficiaries of the Black family trusts to hire their own counsel to represent them during the asset-
 stripping proceedings that Dain initiated. While Dain was suing to move assets from the Black
 family trusts into the hands of his sister Wrigley, he sought court orders to freeze the trusts' assets,
 openly acknowledging that his goal was to ensure that trust assets are not used to pay the
 beneficiaries' legal defense fees. Dain succeeded in obtaining afreeze from the Colorado court on
 all trusts, plus the Estate of Renata Black. As a result of the freeze, neither the trusts themselves,
 nor the beneficiaries of the trusts were legally represented in the proceedings Dain brought to strip
 them of their assets.
         In Colorado, nominally acting as an "interested person" representing himself, Dain
 completely ran the litigation to defund the Black family trusts in which he was a trustee. He fully
 controlled litigation strategies, directed the work of other members of what was ostensibly-
 Joanne's litigation team, defended depositions, conducted examinations and cross-examinations
 in open court, submitted documents, and so forth.
         Dain's effort to defund the Black family trusts in Colorado failed. The disclaimer, which
 Wrigley actively solicited and then, perjuriously, claimed not to have understood, is final and
 irrevocable under the Colorado law, and thus the trusts cannot be defunded.
         Undeterred, Dain and Wrigley are now seeking to defund the Black family trusts both in
 Coloiado (on unclear grounds) and in New York. For one of the trusts, Dain recently stated, "The
 Issue Trust, of course, still holds funds that rightly belong to Joanne Black, and unless Bemard
 [Black] agrees to arrange for the return of those funds with interest, this will have to be the subject
 of separate litigation." Emails from Anthony Dain to Bernard Black's Colorado counsel, Bernard
 Poskus (Dec. 2 and Dec. 10, 2015).
         For Joanne's Supplemental Needs Trust, which her mother created, Dain is advancing a
 different and bizarre approach to extracting assets, with no shred of a legal basis. He has
 announced his plans to seek a court order that would transfer the power to make distributions from
 Joanne's trust's trustees to Joanne Black's guardian, who, if this Court falls into his trap, would
 conveniently be his own sister Wrigley!
         In this Court, Dain and Wrigley are also seeking an order directing turnover of assets held
 by two Black family trusts to Wrigley, while - amazingly - concealing from the trustees and
 beneficiaries of these trusts the text of their secret proposed order. To pressure the Black family
 into acquieseing to her demands, Wrigley wrote a formal demand letter to Bernard Black, falsely
 claiming that this Court had appointed her a trustee of Black family trusts as well.
         After failing in his defunding efforts, Dain is now seeking in both states to persuade courts
 to simply ignore the trusts' existence and transfer trust assets to Wrigley's control. Dain is
 intentionally ignoring the fundamental legal distinction between trust assets and personal assets.
 He claimed to this Court that this significant distinction is "semantic obfuscation."
         Dain's and Wrigley's efforts harmed, and were intended to harm, at least eight beneficiaries
 of the Black family trusts. Dain's and Wrigley's efforts harmed, and were intended to harm, the
 three trusts, to which Dain owed fiduciary duties. Dain and Wrigley claim to be acting in the
 interests of Joanne Black, but their efforts have harmed Joanne Black as well, as we will explain

                                                    12
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 31 of 145 PageID #:13578




 in a hearing if we are allowed to have one. In particular, Dain and Wrigley have imposed massive
 litigation costs on Joanne Black, which have already substantially depleted her assets, and plan
 further litigation, which will further deplete her remaining assets. Dain and Wrigley also
 intentionally froze Joanne's access to her own money, leaving her at mercy of Wrigley and her
 felon associate Pinto. The only persons who stood to gain from Dain's and Wrigley's litigation
 were Dain and Wrigley.
          Dain and Wrigley are pursuing multiple, increasingly strained litigation efforts, in two
 states, for the express purpose of increasing litigation costs. Early on, Dain threatened to make
 litigation "wildly expensive," to deter Bernard Black from investigating Wrigley's theft of the
 Black family assets. Dain continues to carry out that threat, in an effort to exhaust the financial
 resources ofthe trustees and beneficiaries to defend against his efforts to extract assets from the
 Black family trusts. Perversely, Dain and Wrigley are purposefully multiplying litigation costs to
 the Black family at no cost to themselves - so long as their asset-stripping scheme is conducted
 ostensibly on behalf of the mentally ill Joanne Black, they are demanding to have their own
 litigation expenses paid from the Black family assets.


                3.   Wrigtey and Dain Rejected the Largest Settlement Offer that Joanne
                     Could Possibly Collect Because the Offer Did Not Give Them Control over
                     the Black Family Assets.
         The litigation that Dain and Wrigley instigated has one critical perverse feature - Dain and
 Wrigley are using the Black family money (by using Joanne as an ostensible plaintiff) to sue the
 Black family itsell seeking to defund the Black family trusts and funnel all family assets into the
 hands of Wrigley. This litigation is free entertainment for Dain and Wrigley, who demand to be
 fully paid from the Black family funds for all outlays. This litigation is a financial disaster for the
 Black family, even if they beat Dain and Wrigley, because the Blacks will have wasted hundreds
 ofthousands ofdollars on legal expenses ofboth sides.
         To stop the waste of family assets on litigation, in September 2015, the Black family
 offered to transfer the entire amount in the Issue Trust - the only amount in controversy - to Joanne
 Black's trust. We would rather have this money spent by Joanne than waste it on lawyers. We
 further offered to relinquish control over Joanne's trusts to a professional trustee.
         This is the absolute best that Joanne can possibly do in any litigation. The Black family has
 no other significant assets that Joanne could realistically collect. The Blacks have only one
 collectible asset - the family trust fund, which was offered for the settlement.
        This settlement would also save hundreds ofthousands, perhaps millions, of dollars of legal
 expenses and delay. This is the absolutely most that the Black family could possibly offer to
 Joanne, and significantly more than Joanne can realistically collect.
        But this offer gives nothing to Wrigley and Dain. Control over the assets would go to an
 independent trustee. That would undermine the whole point of this litigation for Wrigley and Dain.
 Consequently, Wrigley and Dain rejected this offer. As best we understand, they did not even
 present it to Joanne's Colorado conservator.
        Actions speak louder than words. Wrigley and Dain would rather spend additional
 hundreds of thousands of dollars of Joanne's money, with very little realistic chance of recovery,
 on a highly speculative gamble to remove the assets from the Black family trusts - instead of
                                                   13
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 32 of 145 PageID #:13578




accepting an offer to transfer those same assets to Joanne's trust without further litigation. Their
actions make clear that they are not seeking more money for Joanne. They seek control over
whatever money Joanne has left, when the fighting stops.


        E.


         Wrigley must not be appointed Joanne's guardian because she has many significant
 conflicts that make it impossible for her to perform her duties as a guardian'
        First, as mentioned above, the Black family has collected substantial evidence that Wrigley,
 together with her associate, convicted federal felon Esaun Pinto, has embezzled Joanne's funds
 and defrauded Joanne ofhundreds ofthousands ofdollars. It would be appropriate for Joanne to
 sue them to recover these funds. But if Wrigley is granted guardianship over Joanne, she will not
 sue herself. This conflict is sufficient to disqualiff Wrigley from guardianship. An independent
 professional should decide whether Joanne has claims against Wrigley and Pinto for theft and
 misappropriation.
          So that there can be no doubt, Pinto is indeed a convicted federal felon, despite Wrigley's
 false claim (under oath) that he is not. Please look for yourself. Just Google "Esaun G. Pinto" and
 see what comes up. His guilty plea is easy to find, either on the internet or under the docket number
 that Bernard Blatk provided in a prior submission to this court: United States District Court
 Westem district of Washington at Tacoma under docket number CR 07 5775 RBL'
         Second, as discussed in the preceding section, Dain, while acting as a trustee for the Black
 family trusts, sought to defund the Black family trusts, froze trust assets to foreclose the
 beneficiaries' access to funds for legal defense, personally led litigation to defund the trusts, and
 has attempted to funnel the defunded assets from the Black family trusts into the hands of his sister
 Wrigley. Dain's breach of fiduciary duty to the trusts is extreme and astonishing. For many of
 these breaches, a claim by the beneficiaries for breach of fiduciary duty should lead to
 straightforward summary judgment, since it is undisputed that Dain, while a trustee, in fact sought
 to defund the Black family trusts and harm multiple beneficiaries. Dain is still doing so. Joanne
 Black, along with other beneficiaries, was harmed by Dain's attempt to strip assets from the trusts
  and funnel them into the hands of Dain's sister Wrigley. Joanne's guardian would be expected to
  sue Dain on Joanne's behalf, and Wrigley for aiding and abetting. If Wrigley were appointed
  Joanne's guardian, she would no doubt sabotage this effort. This conflict should also disqualify
  Wrigley from being appointed a guardian. An independent professional should decide whether
  Joanne has claims against Dain for breach of fiduciary duty.
         Third, during the Colorado proceedings, Joanne's Colorado counsel, Lisa DiPonio, and
 Joanne's Guardian ad Litem, Gayle Young, both admitted that they received Bernard Black's two-
 page proposed order describing the disclaimer, which stated that two-thirds of the disclaimed
 assetiwoutd go to Joanne's trust fund under a specific article of Renata Black's will; read the
 order; read Renata Black's will (which clearly states that two-thirds of her Estate goes to Joanne's
 trust and one third to a separate trust for the rest of the family); read the two trusts; billed for
 reading them (Young billed for two hours!); spoke to Bernard Black's counsel Carl Glatstein about
 them the next day; approved the disclaimer proposal in writing - but somehow did not understand
 what those documents say!


                                                   t4
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 33 of 145 PageID #:13578




       This conduct, unbelievable as it is, is prima facie legal malpractice. If they did not
understand the trivially straightforward documents that they signed, after billing for hours for
reading them, as they now claim, Joanne has an excellent claim against both DiPonio and Young'
But if Wrigley is appointed Joanne's guardian, she will no doubt not bring such a lawsuit. Wrigley
and Dain have announced that they will continue litigating in Colorado to continue their so far
unsuccessful quest to strip assets from the Black family trusts, and they critically need cooperation
and support from DiPonio and Young to succeed. An independent professional should decide
whether Joanne should bring claims against Young and DiPonio for malpractice'
         Note too that the Blacks have filed a very strong Motion for New Trial in Colorado, and
there is a good chance it will be granted. If it is, cooperation from DiPonio and Young would be
critical to continue Wrigley's and Dain's asset-stripping ploy in Colorado because both DiPonio
and Young served as Wrigley's and Dain's main fact witnesses. Even if a new trial is not granted
in Colorado, Wrigley and Dain need cooperation from DiPonio and Young because there is a very
good chance that the Blacks will succeed on appeal, and at least some portion of the case will be
sent back to the trial court. Thus, there is every reason to think that Wrigley will intentionally
sabotage Joanne's claim against DiPonio and Young, This is yet another conflict that should
disqualif, Wrigley from guardianship.
          I attach our Motion for New Trial to this letter. As you can see, the procedural improprieties
 that Bernard Black faced in Colorado are staggering, and include items like the judge testifying as
 a fact witness in her own case; ruling on a motion for civil theft without jurisdiction; freezing New
 York trusts and the New York Estate of Renata Black without jurisdiction; Dain and Wrigley
 testiffing as surprise witnesses after Dain said repeatedly they would not (denying the Blacks the
 chance for effective cross-examination that we seek here); the judge allowing new claims to be
 brought mid-trial, without proper notice; the judge relying improperly on her prior knowledge of
 Joanne's guardian-ad-litem and court-appointed counsel to grant them credibility; the judge
 denying an emergency motion for continuance sought due to a counsel's severe and documented
 injury, and so on.
        As you see, contrary to Dain and Wrigley's proclamations in this Court, their position in
 Colorado is far from certain and victorious. Their success critically depends on cooperation from
 Young and DiPonio. Wrigley can be fully expected to sabotage Joanne's claim against the
 members of Wrigley's litigation team and thus cannot be appointed as a guardian.


         F. Some Examples of Wrisley's False and Misleading Statements to this Court.

         In this section, I only briefly discuss some of the examples of Wrigley's lies to this Court.
 These lies are material, and many are committed under oath. If we are allowed a hearing, we will
 present many more lies and highly misleading statements that Wrigley and Dain made in an effort
 to secure guardianship.

                 1. Wrigley   Committed Perjury by Stating to this Court, Under Oath, that
                     Her Associate Esaun Pinto Is not a Convicted Federal Felon, when, as
                     Wrigley Knew, Pinto Pled Guilty on March 31' 2009 to a Felony Violation
                     of 18 U.S.C. $S 641-642, Unlawful Conveyance of Government Records, in



                                                   15
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 34 of 145 PageID #:13578




                    the U.S. District Court for the Western District of Washington (3:07-cr-
                    0s775-RBL).

         In related proceedings in Colorado, Bernard Black presented evidence of Pinto's theft and
 misappropriation of Joanne Black's assets, and of his prior criminal conduct, and sought an
 investigation. I personally provided copies of Pinto's indictment and guilty plea to Joanne
 Colorado guardian ad litem, Gayle Young, and Joanne's Colorado counsel, Lisa DiPonio. Wrigley
 was closely cooperating with both of them. In New York, Bernard Black stated, in a prior
 submission to this Court on September 9,2015,that Pinto was a convicted felon, and provided the
 precise docket number. Bernard Black stated, among other things, that:
        10. Upon information and belief, Cherie Wrigley did not properly screen Pinto
        and evaluate his credentials and background.
        1i. A proper screening  would have disclosed that Pinto is a convicted felon in
        United States District Court Western district of Washington at Tacoma under
        docket number CR 07 5775 RBL.
        12. Pinto's conviction under this indictment involved fraudulently securing
        personal information of individuals and selling it to companies to determine
        financialholdings of litigants in civil actions.

        In response, Cherie Wrigley falsely stated, in an affrdavit submitted to this Court on
 September 21, 201 5, that:
        ln point of fact, the felony charge against Mr. Pinto, to which [Bernard Black] refers, was
        dropped and he has never been convicted of a felony. Further, these events transpired
        twenty (20) years ago . . . .

         The truth is simple. Pinto was indicted in the Westem District of Washington in 2007 for
 aggravated identity theft, fraudulent elicitation of Social Security Administration information, and
 solicitation of federal tax information. He pled guilty in2009, to a felony violation of 18 U.S.C.
 $$ 641-642, Unlawful Conveyance of Government Records. Copies ofthe indictment and Pinto's
 guilty plea are attached.
         There is no possible way that Wrigley could have remained unaware of Pinto's criminal
 record even after I personally provided copies of the indictment and guilty plea to Wrigley's
 associate Young in Colorado, and Bernard Black provided the specific docket number in his filing
 in this Court.
        A   simple Google search for "Esaun G. Pinto" provided the following as the first hit:
 http://www.assetsearchblog.com/Torrellaindictment.pdf, which contains a photocopy of Pinto's
 criminal indictment. The third hit is: http://fraudwar.blogspot.com/2007/12lprivate-eyes-chareed-
 with-aseravated.html ("Private Eyes charged with aggravated identity theft," discussing the
 criminal enterprise in which Pinto participated and listing him by name). The fourth hit is the U.S.
 Department of Justice page: http:i/wwwjustice.gov/archive/criminal/cybercrime/press-
 releases/2007/torellalndictment.htm, again listing Pinto's name as a member of a criminal
 conspiracy.
         A search for "'Esaun Pinto' felony"                generates as a first hit:
 http://www.assetsearchblog.com/uploads/file/Torelladocket.pdf, a criminal docket for Pinto's

                                                  t6
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 35 of 145 PageID #:13578




 case, showing the details of when he pled guilty and was sentenced. The first ten hits for a search
 for "'Esaun Pinto' criminal" provide details containing Pinto's indictment, the full docket,   a   plain-
 English discussion of the conspiracy that he was part of, and so on.
        Thus, Wrigley committed perjury when she falsely denied that Pinto is a convicted federal
 felon. Wrigley knew that Pinto was a felon. Wrigley also knew that Pinto had stolen and
 misappropriated Joanne Black's assets. She succeeded in covering up those awkward facts in
 Colorado, and hoped to do the same in New York.
          At the very least, Wrigley willfully avoided knowing that Pinto was indicted for aggravated
 identity theft, fraudulent elicitation of Social Security Administration information, and solicitation
 of federal tax information, and pled guilty to and was convicted of unlawful conveyance of
 govemment records. Wrigley gave this identity thief access to Joanne's identity and assets, which
 is just one more reason she is not suited to be Joanne's guardian'

         Wrigley's false denial of Pinto's criminal record also says much about Pinto. He knows
 he was indicted and pled guilty, and is also seeking to conceal that information from this Court.
 Yet Wrigley proposes to rely on Pinto as her principal source of regular contact with Joanne, and
 to pay him lavishly for doing so.


                2.   Wrigley Committed Perjury by Falsely Stating to this Court, Under Oath,
                     that o'there is no assertion that [Esaun G.] Pinto has done anything
                     improper with [Joanne Black] whatsoever," when, as Wrigley Knew,
                     Serious Allegations Had Been Made in Related Colorado Proceedings
                     about Pinto's Theft and Misappropriation of Joanne Black's Assets, and
                     the Colorado Judge Found those Allegations Credible Enough to
                     Authorize an Investigation of Pinto's Conduct by a Forensic Accountant.

        In related proceedings in Colorado, Bernard Black          presented evidence    of theft     and
 misappropriation of Joanne's assets by Pinto, and sought an investigation. These allegations were
 made in an open court     in which Wrigley was     present, during proceedings    in which Wrigley
 participated.
         At the April 2, 2015, status conference, Bemard Black's Colorado attorney, Carl Glatstein,
 said the following: "There were a variety of concerns with respect to what was happening with
 [Joanne Black's] Social Security; that's part of what we think an evidentiary hearing would be
 good for the Court to know. Funds were being withdrawn from her account by Pinto not for her
 benefit that we could discern and he would not account to the conservator for those funds." [The
 Court interjected]: "Right. I know there was a big dispute about that." [Glatstein continued:]
 "And [forensic accountant] Ms. Kerr will be provided all that information so she can also from a
 forensic accounting perspective see where everything went, what the concerns and issues were.
 Funds were being withdrawn from Joanne's personal account by Mr. Pinto when she's on a locked
 psych unit. And no accountability on that to anybody. We would be very concerned about Mr.
 Pinto being put back into a position as a rep payee; there needs to be accountability on that as well
 as everything else for Joanne's benefit." Tr . 28-29 , Case 2012 PR 1772, Probate Court for Denver
 County, Colo., April 2, 2015.
         The Colorado court found allegations of Pinto's misconduct sufficiently credible and
 troublesome to order an investigation of Pinto by the court-appointed forensic accountant, Pamela

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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 36 of 145 PageID #:13578




Kerr. The court ordered that "Mr. Pinto shall provide    a complete accountingwith documentation
of all funds that were held under his control to Ms. Kerr and Ms. Peterson, who shall ensure copies
are provided to Counsel of record including Mr. Saltzman, the GAL, Mr. Dain and Ms. Wrigley,"
Status Conf. Order fl 8 at 3, Case2012PP.l77z,Probate Court for Denver County, Colo., April2,
20t5.
        The Colorado court also reviewed Wrigley's and Dain's demand to allow Pinto to serve as
a representative payee and receive Joanne Black's insurance checks, and rejected it on the basis of
the significant accusations it heard. Judge Leith said: "At this point I am satisfied that I don't think
Mr. Pinto should become--be the rep payee. There's too many issues surrounding whatever
expenses--he's got to provide a full accounting." Transcript at 42.
        Wrigley was present in the courtroom while the parties were speaking and while the judge
was issuing these orders orally; Wrigley also received the judge's written order for an accounting
by Pinto.
       Following this hearing, Wrigley received detailed information about Pinto's misconduct,
with specific amounts stolen, specific accounts from which assets were stolen, and specific
channels of Pinto's theft and misappropriation of Joanne Black's assets, from submissions that
Bemard Black made to the Colorado forensic accountant Pamela Kerr. All of those submissions
were either forwarded or directly copied to Wrigley, Dain, and other members of their litigation
team.
        Wrigley was also aware that Pinto had been making unauthorized and unreported
withdrawals from Joanne Black's Chase Account. In a July 7,2013 email to Pinto, Wrigley
referred to the ongoing theft, and described it as "double-billing":
        How to bill going forward and [your] continued withdrawals from Chase if that is still
        happening? I fear he fBernard Black] will blow a fuse. Thinking you might be double-
        billing.
        Wrigley did nothing to monitor Pinto, or to cause his to cease making unauthorized and
 undisclosed withdrawals. The withdrawals continued. Bernard Black discovered some of them
 and wrote to Pinto on Nov. 17,2013, with copy to Wrigley:
                                                          does not reflect withdrawals of $1,665
        [I]t is not acceptable to me to receive a bill which
        from Joanne's [Chase] account in October, in any way. ...

        When Bemard Black terminated Pinto's services, on Sept. 30,2014, by email with copy to
 Wrigley, he demanded return of his advance payment for October 2014, as well as "any amounts
 you withdrew from Joanne's checking account for payment, beyond those listed as deductions in
 your bill." No amounts were returned.
        Thus, when Wrigley stated to this Court, under oath, that "there is no assertion that [Esaun
 G.] Pinto has done anything improper with [Joanne Black] whatsoever," she committed perjury.
 A hearing is necessary to determine the extent of Wrigley's perjury and the consequences, but
 whatever those are, Wrigley has demonstrated that she is not qualified to be Joanne Black's
 guardian.

         Wrigley and Dain continue to do everything in their power to prevent the truth about
 Pinto's theft and misappropriation from being proven in this court. Wrigley continues to pay Pinto


                                                   18
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 37 of 145 PageID #:13578




large sums of money, which she plans to recover from Joanne Black's funds. The amounts paid
to Pinto to date, or simply stolen by Pinto, exceed $400,000.
         Wrigley continues to be beholden to Pinto, and to look for ways to shovel more of Joanne
 Black's money into his hands. Consider her e-mail statement on October 23,2015 about Joanne's
 old clothes, which Bernard Black had packed up and moved from Renata Black's home to his own
 for safekeeping: "Nov.l7th, 18'h is when Esaun [Pinto] will likely come and pick up all of Joanne's
 boxes." Wrigley apparently proposes to use Joanne's funds to pay Pinto, at his usual hourly rate
 of $ 150, to drive from New York to Chicago, pick up boxes of old clothes, and drive back - instead
 of using a much lower-cost shipping service, or a courier who has not already inflated his charges
 and stolen funds in this case.
        A hearing is urgentlyneeded to allow us to provide to this Court evidence of Pinto's
 misconduct, and Wrigley's complicity in both this misconduct and in covering it up.


                3.   Wrigley Lied to this Court to Obtain an IIIegal Order for the Transfer of
                     the Black Family Jewelry to Herself.
        The Proposed Order contains other illustrations of Wrigley's true motives. On page 7, the
 Proposed Order demands the transfer of the Black family jewelry to Wrigley. Wrigley deceived
 this Court on three critical matters.
        First, Wrigley is intimating that she is seeking the possession ofjewelry for the benefit of
 Joanne. This is odd on its face: Joanne lives in a halfuay house and has little capacity to manage
 valuables. Why would she urgently need to possess tens of thousands of dollars worth ofjewelry?
 Why is this demand so important that Wrigley is making it, as a separate line item, in her very first
 Proposed Order to this Court?
         That's because Wrigley has been trying to wrestle this jewelry from the Black family since
 the late 1990s - for her personal use. As discussed above, the jewelry was a property of Joanne's
 (and Wrigley's) grandmother. In 1999, Wrigley stole significant real estate investments from her
 grandmother and from Joanne's mother. In response, the grandmother entirely disinherited
 Wrigley and her siblings. She bequeathed the jewelry to Joanne's mother, who then left it to her
 estate. Wrigley fought fervently to obtain the jewelry, first with the grandmother, then, with
 Joanne's mother, and lost both times. One day after Joanne's mother died, Wrigley started
 demanding the transfer ofjewelry to herself. Her siblings did the same later.
         Wrigley is now applying for guardianship of Joanne, and her veryfirst action is to demand,
 ostensibly on Joanne's behalf, the transfer of the jewelry that she has been trying to steal from the
 Blacks for decades! We believe (but without the transcript that Wrigley and Dain are seeking to
 conceal from us, cannot prove) that Wrigley failed to inform this Court that the jewelry she is
 requesting for an oddly urgent transfer is the same jewelry that Wrigley has been claiming to be
 "hers" for decades. No doubt it is material for this Court that a guardian seeking to take personal
 possession of assets, ostensibly for her incapacitated ward, has been making public claims to be
 the rightful owner of those assets, for years. We also have no doubt that, once Wrigley gets the
 jewelry, the Black family will never see it again. That is why Wrigley so eagerly tried to conceal
 her Proposed Order from the Blacks.
         Wrigley's second deception is the following. As best we can tell, Wrigley and Dain directly
 lied to this Court to obtain an order to transfer the jewelry. The Proposed Order states that the
                                                  19
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 38 of 145 PageID #:13578




jewelry is "personal property" of Joanne. This is false, and they know it. The jewelry was the
property of Renata Black. It became the property of the Estate of Renata Black, and from there,
was distributed to Joanne's trust by the executor, Bernard Black. The jewelry cannot be removed
 from the trust without a decision of trustees.
         It was critical for Wrigley to lie to this Court about the legal ownership of the jewelry. If
 Wrigley disclosed to this Court that the jewelry belongs to a trust, this Court would have directed
 her to pursue legally required steps to get it - to seek trustee approval. Ifthe trustees refused to
 give the jewelry to Wrigley, her legal remedy would be to appeal to Surrogates Court, which would
 review trustee decision for abuse of discretion. It would hardly be abuse of discretion for trustees
 to conclude that Joanne Black, who lives in a halfway house and cannot manage even moderate
 amounts of money, has no urgent need to personally possess tens of thousands of dollars worth of
jewelry.
        Wrigley made a third deception as well. As best we can tell, Wrigley concealed from this
Court  that the trust that owns the jewelry is currently frozen by the Colorado court, due to
Wrigley's and Dain's own petition. Nobody is allowed to remove any assets from the trust until
the Colorado court lifts the freeze. Wrigley was petitioning this Court to direct Bernard Black to
perform an illegal action, in violation of a Colorado court order. Amazingly - but understandably!
- Wrigley has tried hard to conceal this fact from Black family.
        Given the vast amounts of falsehoods that Wrigley has submitted to this Court, all of hers
 and her associates' submissions need to be released to the Black family. Only then can we, and
 this Court, determine the full amount of fraud that Wrigley and Dain committed on this Court.


                4.   Wrigley Lied to this Court to Obtain an Illegal Order for the Transfer of
                     Savings Bonds.
        Wrigley made more false and misleading claims about the legal ownership of savings
bonds, which she is also seeking in her Proposed Order (page 6). To convince this Court to issue
an order to transfer savings bonds to herself, Wrigley (to the best of our knowledge) has claimed
that these savings bonds are personal property of Joanne. Wrigley lied.
         These savings bonds are not Joanne's personal property. Instead, they are held in Joanne
Black's 2013 Trust, an Illinois trust. Wrigley and Dain are well aware of this, because they have
been seeking in Colorado to remove the savings bonds and other assets from this trust. Wrigley is
also well aware of the difference between personal property of Joanne and the property of Joanne's
trusts, because Wrigley has just spent many months trying to funnel assets from the trusts into the
"Joanne's personal property" status, where she could control them. Wrigley's misstatements to
this Court were deliberate and intended to obtain an illegal order to transfer assets from an Illinois
trust, without jurisdiction, without proper proceedings, and without notice to the trustees and
beneficiaries.
          Wrigley misled this Court on another matter as well. The 2013 Trust, like all Black family
trusts, is frozen by the Colorado court, due to a petition from Wrigley and Dain. Nobody is allowed
to transfer any assets that have been frozen by a court order. Wrigley failed to notifu this Court
that she was seeking an action in violation of another court's order. Wrigley asked this Court to
direct Bernard Black to illegally remove frozen assets from a trust.



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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 39 of 145 PageID #:13578




         Bizarely, Wrigley's Proposed Order also requests the power to seek contempt charges
 against Bernard Black should he refuse to violate the Colorado order and transfer the bonds to
 Wrigley! This is consistent with Wrigley's and Dain's prior efforts to wrongfully threaten
 contempt proceedings to coerce the Blacks not to pursue their claims in this Court and in Colorado.
         Wrigley is assisted by a large team of attorneys, including her own litigator brother Dain.
 And  yet, she is seeking an order from this Court that would explicitly require Bernard Black to
 violate an order from another court. If he transferred the assets, he would be in violation of the
 Colorado order, and if he did not, he would be in violation of the New York order.
         Given the size of Wrigley's legal team, this is no doubt intentional. Wrigley chose to
 deceive this Court - by actively lying about the legal ownership of the bonds and by failing to
 disclose the material fact that the bonds are frozen by another court.
        Still more bizarrely, Wrigley has been making these demands to force Bernard Black to
 engage in illegal actions at the threat of contempt sanctions, while keeping her Proposed Order
 secret from Bernard Black! Even now, Dain and Salzman have been claiming that they should not
 provide notice. Their goal is to impede the Blacks' ability to catch these sorts of lies and
 manipulations, and to reveal them to this Court. Wrigley's deceptive and manipulative behavior
 emphasizes why the full disclosure is uitical in this case.
        These lies and manipulations are consistent feature of Wrigley's behavior. She is using this
 guardianship to tunnel the Black family assets to herself. She is lying to this Court and deceiving
 this Court by omitting critical information, to get to her desired outcome.
        Wrigley is not fit to be Joanne's guardian.
         Because of this volume of falsehoods and deliberately misleading statements that we
 already see from the tiny amount of disclosed information, the Blacks should be allowed to receive
 all submissions that Wrigley and her associates made to this Court. And we need a hearing to
 present evidence properly.


        G. The Blacks Are Entitled to Noticel Wrieley and Dain Are Seekins Extreme and
        Illegal Secrecy to Cover-Up Evidence of their Periurv and Other Misbehavior.
         Wrigley and lain are seeking extreme and illegal secrecy of the proceedings in this Court.
 They seek to hide their formal submissions to this Court, proposed orders, sworn testimony, and
 so on. An honest litigant has no reasons to hide such documents. Wrigley and Dain seek secrecy
 to cover-up the many lies they submitted to this Court and prevent a formal investigation and
 possible perj ury prosecution.
        TojustiS their quest for secrecy, Wrigley and Dain, with the assistance of Salzman, have
 advanced numerous false defenses against the legal requirement to provide disclosure. Their
 efforts are specious. The disclosure is legally required.
        First, Bernard Black is plainly entitled to notice under Mental Hygiene Law $
 81.07(gX1Xi) as Joanne's adult sibling. The statute does not provide for any exceptions to this
 notice requirement.
        Second, the Proposed Order that we were able to obtain (after much fighting and delay,
 and apparently not the entire document anyway) contains demands to distribute assets currently


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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 40 of 145 PageID #:13578




 held in two Black family trusts. The jewelry that the Proposed Order demands is the property of
 the Supplemental Needs Trust for the Benefit of Joanne Black, and the savings bonds it demands
 are the property of the Joanne Black 2013 Trust. Any such distributions require notice to trustees
 and beneficiaries, and a hearing on the transfer of assets from the trusts. See Matter of Loreffa I
 (2006 NY Slip Op 08134, 34 AD3d 480 (2d Dept. 2006)).

         Third, Bernard Black is plainly entitled to notice and a hearing on any legal actions that
 require an action on his part, such as the payment of legal fees, transfer of assets that belong to
 third parties, and such. The partial version of the Proposed Order that we received also specifies a
 significant personal payment by Bernard Black to the court evaluator Mr. Russo. Such items cannot
 be assessed against Mr. Black without a notice and a hearing. The Proposed Order also bizarrely
 seeks contempt sanctions if Bernard Black fails to transfer to Wrigley property that belongs to a
 third party - savings bonds and jewelry that belong to trusts - even though Bernard Black did not
 even receive a notice that the action forcing him to transfer property is being considered, and never
 received an opportunity to be heard on the maffer. And even though the trusts themselves are
 frozen, under a Colorado court order that Dain and Wrigley obtained!
        Instead of giving the legally required notice, Dain and Wrigley play endless procedural
 games, delay and obfuscate, and now, point to the very fact of the delay that they caused as the
 reason not to inspect the full extent of their own falsehoods and therefore not to provide legally
 required notice.


        Conclusion
        Wrigley and Dain have repeatedly lied to this Court, made many highly misleading
 statements, illegally concealed information, threatened the Black family against participating in
 legal proceedings, pressured the Black family counsel to abandon representation, and deprived the
 Black family of access to their own trust funds to defend against Dain's and Wrigley's efforts to
 funnel the Black family assets into the control of Wrigley. Dain has breached a litany of fiduciary
 duties to the beneficiaries of the Black family trusts. Wrigley, assisted by a convicted felon Esaun
 Pinto, embezzled and defrauded Joanne and the Black family. To secure their control over Joanne,
 Wrigley and Dain have frozen Joanne's access to her own money, making her completely
 dependent on Wrigley, and put Joanne under the thrall of a convicted felon specializing in fraud
 and manipulation.
        Wrigley and Dain are now again seeking to illegally deprive the Black family of the
 required notice, so that the Blacks will not have the opportunity to demonstrate the full extent of
 Wrigley's and Dain's misconduct to this Court.
         To convince this Court not to listen to the evidence of their gross misconduct, Wrigley and
 Dain are now claiming that (1) the Blacks should have acted earlier (which they could not do, both
 because Wrigley and Dain have illegally concealed information from them and because the Blacks
 faced a threat of sanctions for daring to appear), and (2) that any delay would harm Joanne (which
 is completely false, both because Joanne has a Colorado conservator who has the power to pay
 Joanne's bills, but Wrigley and Dain did not submit any bills to her, and because Joanne would
 also have access to her trust funds, but for the asset freeze that Dain and Wrigley themselves
 obtained).



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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 41 of 145 PageID #:13578




       Wrigley and Dain are now again seeking to illegatly deprive the Blaclc family of the
required noi.., so that the Blacks will not have the opportunity to demonstrate the full extent of
Wrigley's and Dain's misconduct to this Court'
       To convince this Court not to listen to the evidence of their gross misconduct, Wrigley
and Dain are now claiming that (1) the Blacks should have acted earlier (which they could not
do, both because Wrigley and Dain have illegatly concealed information from them and because
the Blacks faced a threat of sanctions for daring to appear), and (2) that any delay would harm
Joanne (which is completely false, both because Joanne has a Colorado conservator who has the
power to pay Joanne's bills, but Wrigley and Dain did not submit any bills to her, and because
iou*r would also have access to her trust funds, but for the asset freeze that Dain and Wrigley
themselves obtained).
       Givel the egr.egiousness of this misconduct, we request a hearing and a full access to
necessary information, There is no urgent need to appoint Wrigley guardian. We believe that
once you hear our evidence, you will decide that Joanne should have an independent,
professional, local guardian instead. The phony need-for'urgency plea that Dairr and Salzman
manufactured last we6k is yet another example of the many falsehoods that they have already
unleashed on this Court,


Very truly yours,

  lr-/  J
  Kq/U /r"
I(atherine Litvak


Via email to:
Ira Salzman             salzman@seniorlaw, com
Melissa Cohenson        mcohenson@raphanlaw. com
Anthony Dain            anthony.dain@ptocopio. com
Bart Russo              btr@bzslaw.com




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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 42 of 145 PageID #:13578




            Katherine Letter
               (redacted)
              Pl. Exh. 65
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 43 of 145 PageID #:13578




             NORTHWES'1'ERN UNIVE,RSITY SCHOOL OF LA!7
                                      Profes sor Katherine Litvak
                        357 East Chicago Avenue ' Chicago, Illinois 60611,-3069
                                        k-Jitvak@notthwe stern. e du
                  http : / /www.law. northwestem. edu/ facul ty / profiles / Katherinelitvak/




Via Email to: Ricsupc2@nycourts.gov
Hon. Thomas P. Aliotta
Supreme Court, Richmond County
l8 Richmond Terrace
Staten Island, NY 10301


RE: Guardianship of Joanne Black, Index No 80253/14
                                                                                                7 January2016


Dear Justice Aliotta:
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 44 of 145 PageID #:13578




        The Colorado court found allegations of Pinto's misconduct sufficiently credible and
 houblesome to order an investigation of Pinto by the court-appointed forensic accountant, Pamela
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 45 of 145 PageID #:13578




 Kerr.
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 46 of 145 PageID #:13578




Very truly yours,


  ke{o
Katherine
               /-
            titvak

Via email to:
Ira Salzman          salzman@seniorlaw.com
Melissa Cohenson     mcohenson@raphanlaw. com
Anthony Dain         anthony. dain@plocopio. com
BartRusso            btr@bzslaw,com
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 47 of 145 PageID #:13578




                        Exhibit 2
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 48 of 145 PageID #:13578




 Kerr Forensic Accountiog, PC
 650 S. Cherry"Street   i   Sufte 235   I   Denver, Colorado 80246   0   (303) 696-3700   t   Fax (303) 696-571 I




 January 8,2016



 Northwestern University
 375 E. Chicago Avenue
 Chicago, tL 6061 I
 Attn: Mr. Daniel B. Rodriquez,Dean
                                                        Re:    Letter fi'om Professor Katherine Litvak
                                                               on Northwestem University Law School
                                                               Letterhead


 Dear Mr. Rodriquez,


          I am a forensic accountant that was retained by the Guardian ad Litem for a Protected
 Person under the jurisdiction of the Denver Probate Court. I received a copy of the attached letter
 that was submitted to the Honorable Thomas P. Aliotta, Supreme Court, Richard County, New
 York on letterhead of the Nofthwestem Universiry School of Law by one of your professors,
 Katherine Litvak. I was shocked to receive this letter on your letterhead. I truly believed that
 Northwestem University Law School was supporting the statements made by Ms. Litvak. See
 eopy of letter attached.


          Page 15 of Ms. Litvak's letter states:


       "...and the Colorado Judge Found thctse Allegations credible Enough to Authorize                             an
       Investiga.tion o.f Pinto's Conduct by a Forensic Accountant. "

         Not only is this a l00o/o false statement, but in fact, the Colorado Court authorized me to
 conduct an investigation into the actions of her husband, another professor at Northu'estern Law
 School, Bernard Black. I would not have disclosed this information if Ms. Litvak had not filed
 this document with the New York Court with this completely false statement included.

          I do not feel that I am at liberty to disclose the outcome of rny forensic investigation, but
 as   I am sure,   as a licensedattomey and the head of a very prestigious law school, you know that
 the facts are the facts. I am a licensed CPA, a Certified Fraud Examiner and a Forensic Certified
 Public Accountant and am required to provide a factual report based on the financial and other
 documents provided. I have provided such a report to the Denver Probate Court, who is the trier
 of fact in this matter. An Order was issued on September 28, 2015 with the results of many months
 of hearings in this rnatter. I can tell you unequivocally that the Order in no way reflect Ms. Litvak's




                                                                                                            NW000427
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 49 of 145 PageID #:13578



 Kerr Forensic Accountitrg, PC
 Letter to Northwestem Law School regarding letter from Katherine Litvak
 January 8,2016

 allegations. As a matter of fact, Ms. Litvak testified at these hearings, and I can also tell you
 unequivocally that I have never, in my entire professional career, listened to a less credible
 testimony than Ms. Litvak's. However, that is a personal opinion but is relevant given Ms. Litvak's
 allegations in the attached letter.


            Since Ms. Litvak has nou, involved Northwestem University Law School in this rnatter by
 filing              with the New York Couft as if Northwestern University Law School was a party
           a docurnent
 to this case, I would imagine that if you so choose, you could be provided with a copy of my report
 of findings, the Court's Order of September 28,2015 and transcripts from the hearings.

         Since this letter with this completely talse statement about what I was authorized to
 perform was provided to the New York Courts on Northwesteur University Law Sclrool letterhead,
 as if you the school were in suppoft of this letter, I would greatly appreciate if you would notify
 the New York Court whether or not Northwestern University Law School in fact, supports tlrese
 statements made by your professor, Katherine Litvak.


            As a matter of fact,           I   have literally hundreds   of emails from Mr. Black from his
 Northwestern Law School email in response to rny inquiries in this investigation as wells as letters
 he has written on Northwestern University Law School letterhead to both the New York Courts
 and the Denver Probate Court. I believe that given the appearance of the involvement of the
 Northwestern University Larv School in this case, as a result of both Ms. Litvak's letter and Mr.
 Black's communications, it is my duty to inform you of these communications. As stated
 previously, had Ms. Litvak not included what I was and was not authorized to do to the New York
 courts on Northwestern University Law Sclrool letter'head, I would never have communicated this
 activity to you.

            I look tbrward to your clarification in this matter.

 Very truly yours,
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            Y-,. * / n'l 57,vL
               ut'1^l^* t      t
                                   1   ,




 Pamela M. Kerr, CPA, FCPA, CFE




Attachments:
       Copy of Letter from Ms. Litvak on Northrvestern Law School Letterhead




                                                        Page 2 of 2                             NW000428
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 50 of 145 PageID #:13578




                        Exhibit 3
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 51 of 145 PageID #:13578




      PROtsATE COURT,    CITY AND COUNTY OF   DENVER,. COLORADO



     TRANSCRIBERI   S   TRANSCRIPT



     CASE   NO. 12 PR    1.712



      IN THE   INTEREST OF:

     JOANNE BLACK, Respondent.




               This matter came on for hearing before THE HONORAB.LE
     ELIZABETH D. LEITH, Judge of the Denver Probate Court, on
     Thursday, April 2, 2015, The following is a Lranscript of the
     audible portions of that hearing as requested by the ordering
     party.


     APPEAMNCES: M. CARL GLATSTEIN, Esq., Reg. No. 13738 for
                 Bernard BIack
                 LISA DiPoNIo, Esq., Reg. No, '21101, for Joanne
                        Black,   Respondent
                        GAYLE YOUNG,  Esq., Reg. No. 1'1LO7. Guardian Ad
                         LiEem for Joanne Black, Respondent
                         IRA SALZMAN, Esq., Attorney f,or 'Joanne Blacak,
                         Respondent
                    '   ANTHONY   DAIN, Trust.ee,/cousin
                        CHERIE WRfGLEY, Cousin




                                                                            BLACKOl66I4
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 52 of 145 PageID #:13578




              1                          PROCEEDINGS
              2                THE COURT: Thank you, you may be seated. AII

              3   right,     The record is now on and the court will- call up 12 PR
              4       the interest of Joanne Black. And could I have
                  1,7'72,
              5 appearances for the record, please
              6           MR. GLATSTEIN: Good morning, Your Honor, Carl
              7 Glatstein, registration l-3738 here on behalf of Bernard
              B Black, Conservator; Mr. BIack is presenL.
              9                THE COURT: He is?

         10                    MR. GLATSTEIN: Where did he go?
         1].                   UNIDENTIE]ED SPEAKER: (INAUdiblE).

         L2                    MR. GLATSTEIN: He is al-most present.
         13                    THE COURT: OkaY.
         1,4                   MR. GLATSTEIN: His spouse Kate Litvak is   a.l-so

         1-   5 pre sent .
         16                    THE COURI: okaY.

         L7            MS. DIPONIO: Good morning, Your Honor, Lisa
         l-8 Diponio, 277O"t, court appointed counse.l- for .loanne tsIack.
         t9 Your Honor, Ira Salzman who is Ms ' B1ack's attorney in New
         20 York in rhe proceedings there' They--he is on the phone.
         21"                   THE COURT: OkaY.
         22                    MS. DiPONIO: And Ms. Black is present with him      as

         23 we}1.
         24                    THE COURT: OkaY.
         25                    MR. SALZMAN: Also present--this is Ira Salzman--




                                                                                   BLACKOI66I5
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 53 of 145 PageID #:13578




          L also present is Mr. Esaun P-into (phonetic).
          2              THE COURT: OkaY.
          3           MR. DAIN: Your Honor, Anthony Dain, trust'ee of the
          4 various trusts and an interested party.
          5              THE COURT: VerY good.
          6              MS. YOUNG: Good morning, Your Hono-r, Gayle Young,
          7 Guardian ad Litem for Joanne Black.
          I           THE COURT: A11 right.   Anyone el-se who wants to
          9' enter an appearance?
         10            MR. DAIN: Yeah, go         ahead.

         1l-             MR. BLACK: Bernard       Black, ConservaLor.
         !2              THE CoURT: VerY good.
         13              MR. DATN: Cherie Wrigley, who is aLso an
         74 interested partY..
         15              THE   COURT   :. A11 right   -


         16              MS. WRIGLEYI Joanne Black's cousin.
         L']          THF COURT; Right' Okay. A11 rlght.       So I've
         18 reviewed the various reports and it's my understanding first
         19 off Lhat you have stipulated to the forensic review by Ms.
         20 Kerr; is EhaL correct?
         2L           MR, GLATSTEIN: That is correct, Your Honor.
         22           THE COURT: A11 right.    So IflI si-gn off on that
         23 order. Did she estimate how long thaL was going to take?
         24              MS. YOUNG: I think she indicated in an e-mail
          25 thaL--you know, she was supposed to call- in and I don't     know




                                                                           BLACKOI66I6
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 54 of 145 PageID #:13578




                                                                         2B




          1 the       Trust, I'm happy to use the 2013 Trust to pay the
                  201-3
          2 S500 a week; that's fine. The Socj-al Security--
          3            THE COURT: So you're putting her monthly benefits
          4 going into a trusL, is that what I'm understanding?
          5               MR. BLACK: So righL now the Social Security
          6 benefits were going to a represencative payee whom f believe
          7 to be Mr. Pinto. I arranged to have them come to me; they
          B came to me for one month, They went into the 2013 Trust frorn
          9 which they could be spent on ,Joanne's benefit.
         10            Joanne then arranged to have thos.e benefits
         1,1 suspended I believe and so right now Lhey're piling up at
         L2 Social Securlty. There's plen'Ey of money, the question is
         l-3 what's a reasonable amount of money to pay to Joanne and
         14 where should we pay iE from and I don't have any strong view
         15 on t.hat.
         16               MR. SALZMAN: Your Honor, may--may I be heard?
         L1               THE COURT: .YeAh,
         18               MR. SALZMAN: The--Mr-   Pinto by the way is present
         L9 with rne in my office at the momenl, was the representative
         20 payee on the S.ocial Security until the beginning of this
         2L year.
         22            During the pendency of tltis proceecling and over my
         23 cll-ent's objection Mr. Bl-ack arranged for himse.l-f t.o become
         24 the representative payee of those funds. At this point we
         25 lost track of them. This is the first       we're hearing t.hat




                                                                              BLACKOI664I
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 55 of 145 PageID #:13578




                                                                            29



           l_   the--that the payments of those funds have been suspended.
           a              Now, we would be more than happy to have Mr' Pinto
           1    return as the representative payee of the trust--of the
           4    social s.ecurity rather but certainly this is something that
           5    needs to be investigated. This is the firsL f'm learning of
           '6   it.
           7               MR. GLATSTEIN: Your Honor, there were a variety of
           I    concerns wit.h respect to what was happening with her social
           9    security; that, s part of what we t.hink an evidentiary hearing
          10    would be good for the Court to lcnow. Funds were being
          11    withdrawn from her accounL by Mr.. Pinto not for her benefit
          l2    that we could discern and he would not account to the
          13    conservator for those funds.
          14              THE COURT: Right. I know there was a big dispute
          r-5   about thau.
          16               MR. GLATSTEIN: Right.   And Ms. Kerr will   be

          17    provided all that information so she can also .from a forensic
          18    accounling perspective see where everything went, what the
          '19   concerns and issues were.
          20           '   Funds were being withdrawn from Joanne's personal
          2t    account by Mr. Pinto when she's on a }ocked psych unit.          And

          22    no accountability on that to anybody, We would be very
          23    Concerned about Mr. Pinto being put back into a position as            a

          24    rep payeei there needs to be accountability on that as well
          25    as everything else for .Ioanne's benefit.




                                                                                 BLACKOI6642
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 56 of 145 PageID #:13578




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          1                         Mr. Pinto has just advj-sed me that
                         MR. SALZMAN:                                        he

          2 will provide a full accounting of all the funds that he
          3 withdrew to Ms. Kerr.
          4              "IHE COURT: Okay.

          5              MR.BIACK: Your Honor, if I may speak, I want to
          6 ask that you think about what orders you want to issue and
          7 t.ry to expJ.ain some of the context behind thaE. So one might
          8 ask why do Anthony Dain and Cherie Wrigley care so much about
          9 suspending my por^rers as conservator given that there's been
         10 no showing and not even a claim that I have done anything
         11 irnproper in spending rnoney.
         L2            If you look at their objections, to mY 2013
         l-3 accounting there is not. a single substantive objection to
         L4 anything I did. If you look at their objections to the 2014
         l-5 accounting there's not a single substantive objection to
         L6 anything I did. All you're hearing about ls a complaint.
         1,7 about the disclaimers Ln 2Ot2 which we believe were fully
         l-8 disclosed and fully approved.
         19              THE COURT: Uh-hUh.
         20           MR. BLACK: As conservator I have very limited
         21- tasks. I get the weekly check from Travelers and f put iL
         22 into the new 2013 Trust
         23           THE COURT: And what's the source of the Travelers
         24   money?

         25              MR. BLACK: This is the worker's comp money that




                                                                             BLACKOI6643
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 57 of 145 PageID #:13578




                                                                              42




          1              THE COURT:   No, just a second.
          2              MR. DAIN: Okay.
          3              THE COURT:   Mr.   Salzman?

          4              MR. SALZMAN: Yes, Your Honor.
          5              THE COURT:fs there anyone in New York that can
          5 handle being the rep payee and that sort of thing?
          7           MR. SALZMAN: An entitY or--
          8           THE COURT: Or--is there some--he we have a trust
          9 organization that--that. does that sort of thing, is there
         10 anything similar or a fiduciary relationship, entity or
         11- person that you're aware of that can step in for that?
         12            MR. SALZMAN: Not just--not just to serve as rep
         1-3 payee, oor Your Honor.
         lA             THE COURT: A11 right.          A1l rlght.   At this--a.tl
         l-5 right--thank you, Ms. WrigIeY.
         L6              MS. WRIGLEY: OkaY.
         1'l             THE COURT:  At this point I am satisfied that I
         18    don't thlnk Mr, Pinto should become--be the rep payee.
         L9    There's too many issues surrounding whatever expenses--he's
         20    got to provide a full accounting. Someone needs to be the
         2L    rep payee and get any backed up funds as Mr. Bl-ack has
         22 represented.
         23           But what I'm ordering ts that everything is frozen
         24 except for the Social Security and the workmen's comp funds
         25 from Travelers, they need to go into a separate




                                                                                    BLACKO16655
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 58 of 145 PageID #:13578




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           f- inquiry?
          2               THE     CoURT: Just a minute. The Social Security
          3 representative payee needs to be changed elther to Ms.
          4 Peterson or anotlter individual. And the Socia1 Security
          5 funds and the workmen's comp funds are to be redirected into
          6 a conservatorship account t.hat Ms. Peterson will open so that
          ? she can pay the--Ms. Black's monthly living expenses.
          I           Any overage she'Il manage and keep track of.        Mr.

          9 Pinto will provide a fuL-l- accounting of funds under his
         l-0 control, to Ms. Kerr and cooperate with transferring the
         11 representative payee.
         1,2            MR. BLACK: Your Honor, may I r.equesL that the--you
         13 all-ow the Supplemental Needs Trust, the Issue Trust, and Lhe
         L4 2013 Trust to pay income taxes and to pay the .reasonable fees'
         15 of in income tax accounlanL. those need to be paid?
         1,6             THE COURT: Any objections?
         l-'l            Ms   .       r No ob j ection.
                                  DiPONIO

         18               MR. DArN: wel1, r would have no objection, Your
         19     Honor, but Ms. Kerr in her report indicates there as a
         20     paymenE of $20,000 t.o an accounting firm which she can't
         2L     understand for a tax reLurn--why it was that significant.       So

         22 as long as 1t's without prejudice and disgorgement and, in
         23 fact, there is some overpayment of these accounting things--
         24 or Lhese tax returns.
         2'5          THE COURT: A11 right.   so that request is granted.




                                                                              BLACKOI6663
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 59 of 145 PageID #:13578




                        Exhibit 4
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 60 of 145 PageID #:13578




      District Court, Denver County, Colorado
      Court Address:                                                                           'I
                                                                      ITATE FILEI-I: April 2,2t 5 l;07   Plr"l
      1437 Bannock Street, Denver, Colorado 80202                     CASE NtlI'IBER: 2012P t772
      ln re the lnterest of:

      JOANNE BLACK,
                                          Protected Peson.

                                                                       COURT USE ONLY

      Attornetor Party Without Attorney (Name and Address)         Case Number:
                                                                   12 PR 1772
      Phone Number:                   Email:
      FAX Number:                    AttY. Reg. fi1                Courtroom 224
                              STATUS CONFERENCE ORDER

      THIS MATTER came before the Court for a Status Conference on April 2,2015.
      Present in person were: LiSa DiPonio, Esq. Court Appointed Counsel for the
      protected P'erson (PP) Joanne Black; Conservator Bernard Black with Counsel
      Carl Glatstein, Esq.; Guardian ad Litem (GAL) for the PP Gayle Young, Esq.;
      lnterested Persons and Cousins Anthony Dain, Esq. and Cherie Wrigley; Special
      Conservator Nominee Nancy Peterson, Esq. Present by telephone were: PP
      Joanne Black with New York Counsel lra Saltzman, Esq.; Esan Pinto'

      Discussion was held on the record to clarify the case status for this matter and
      the cases in New York State Supreme Court and Surrogate Courts. The parties
      represent there is no dispute as to the interpretation of Renata Black's Will.
      Objections have been asserted as to Bernard Black's management of his sister's
      funds and particularly with respect to the division of POD accounts left to Joanne
      Black by her mother, Renata Black. The parties have stipulated to a forensic
      accounting of the Conservatorship estate, including the affected trusts, the
      disclaimei of Fidelity and Vanguard accounts, POD benefits for all accounts
      which disclaimers were used to transfer funds into the Renata Black Estate, the
       Roth lRA, all amounts paid to attorneys and accounts - in short, a complete
       review of all funds and assets related to Joanne Black both before and after the
      disclaimer, by Pamela Kerr, CPA- This Court has reviewed the record including
      the variouS reports, responses, objectionS, exhibitS and attachments, aS well as
       relevant authority and enters the following Orders pending an evidentiary
       hearing:

          1.   Bernard Black is the subject of allegations of misconduct by the PP and
               her cousins which he vigorously denies. lt appears to the Court to be
               prudent to suspend his authority pending an evidentiary hearing and the
               iesults of Ms. Kerr's forensic accounting review. This suspension is not a
               determination of misconduct, but rather an attempt by this Court to
               address concerns raised by the PP, her cousins, the GAL and Ms. Black's
               attorneys, and to allow the PP to continue to receive funds for her monthly




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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 61 of 145 PageID #:13578




              living expenses and other necessary expenses without contributing to the
              family conflict.

         2. This Court   finds it should finalize the current allegations in Colorado prior
              to transfer of the conservatorship to New York State, where the PP
              resides. The Court is informed that a hearing for the appointment of a
              guardian and conservator (Guardian of the Person and Property) is
              icheduled in the New York Supreme Court on April 30 and May 1,2015.
              This Court finds that proceeding should continue and it is proper for the
              New York Court to make a determination as to whether Mr. Black should
              continue to manage his sister's funds as guardian of her property, which is
              the equivalent of a conservator in Colorado, or whether Ms. Wrigley or a
              professional fiduciary or another individual should be appointed to that role
              going forward. There is no guardian/guardian of the person appointed for
              Joanne Black in the State of Colorado, aS Mr. Black's petition for such
              appointment was dismissed by this Court on October 27, 2014 in
              deference to the New York Court's jurisdiction where Ms. Black resides.

         3.   Accordingly, the Court Suspends Bernard Black as Conservator, pending
              further hearing. Mr. Black's Letters expire April 11,2015 and shall not be
              reissued.

         4. The Court finds the appointment of a Special Conservator pursuant to 15-
            14-112, C.R.S. to serve in an interim capacity, pending the appointment of
              a permanent conservator or Guardian of the Property in New York is
              appropriate. The Court appoints Nancy Peterson, Esq. to serve as Special
              Conservator. Letters may issue and shall expire upon completion of these
              proceedings in Colorado and transfer to the fiduciary appointed by the
              Court in New York.

         5.   Ms. Peterson shall have the responsibility to manage Ms. Black's Social
              Security and Workmen's Compensation benefits and to pay Ms. Black's
              reasonable and necessary expenses. MS. Peterson shall secure the
              benefits and cause them to be deposited into a conservatorship account,
              from which Ms. Peterson shall pay Ms. Black's monthly living and other
              reasonable expenses. Mr. Black shall cooperate with redirecting the funds
              from these two sources into the conservatorship account which Ms.
              Peterson shall establish. All funds managed by Ms. Peterson shall be
              turned over to the conservator/guardian of the property appointed by the
              Court in New York upon completion of the proceedings in Colorado. lt is
              not this Court's intention that Ms. Peterson be required to obtain court
              approval for Ms. Black's regular monthly living expenses or for her
              necessary physician, mental health or similar expenses.

              All other assets related to Ms. Black are frozen, pending final hearing.
              Should there be any requests for funds from the supplemental needs or




                                                                                              BLACKOI6677
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 62 of 145 PageID #:13578




              other trust   tobenefit Ms. Black which cannot be paid from the
              conservatorship account, the request may be submitted to the Trustee,
              who shall in turn obtain permission from this court to disburse funds before
              any payment is made. All requests for funds to be paid from the
              conservatorship account or from any trust shall be supported by written
              documentation. Ms, Peterson shall obtain copies of any rental or other
              agreements to document Ms, Black's ongoing monthly living expenses.

              a.   Mr. Black's request for an exception to pay for taxes is granted. Trust
                   funds may be used to pay for legal and accounting fees related to the
                   preparation of tax returns and to pay any taxes due for Ms. Black. Full
                   documentation of the fees, costs and tax payments shall be provided
                   to Ms. Kerr.

         7.   lt has been suggested to the Court that no one is currently named as the
              Representative Payee for Ms. Black's social security benefits. lt appears
              the former Representative Payee was Esan Pinto, but the funds were
              redirected by Mr. Black into one of the Trusts he established for Ms. Black.
              Mr. Black represents there are social Security payments currently being
              held by the Social security Administration due to the lack of a
              Representative Payee. The parties shall confer regarding who should
              serve aS the Representative Payee or whether Ms. Peterson should serve
              in that capacity, pending a final determination. Regardless of who is
              named to serve as Representative Payee, that individual if other than Ms.
              Peterson, shall cooperate and ensure the social security benefits are
              retrieved and deposited into the conservatorship account to be managed
              by Ms. Peterson.

         8. Mr. Pinto shall provide a complete    accounting with documentation of all
              funds that were held under his control to Ms. Kerr and Ms. Peterson, who
              shall ensure copies are provided to Counsel of record including Mr.
              Saltzman, the GAL, Mr. Dain and Ms. Wrigley.

         9. Mr. Glatstein has     represented that he has obtained a transcript of the
              proceedings held before this Court to appoint Mr. Black aS conservator'
              Mr. Glatstein shall file a copy of the transcript with this Court and provide
              copies to counsel of record including Mr. saltzman, the GAL, Mr. Dain
              and Ms, Wrigley.

         10. Mr. Black has requested trust and/or conservatorship funds      to pay for his
              attorney fees and costs for defending his actions as conservator. The GAL
              and CAC DiPonio also request funds to pay their fees. The Court finds
              there are sufficient funds in the conservatorship estate to pay these fees
              and costs, but finds it is more appropriate to resolve the fee issues after
              the results of the forensic accounting are known and the evidentiary
              hearing on the disclaimer issue has been held. Accordingly, the payment




                                                                                              BLACKOI6678
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 63 of 145 PageID #:13578




            of   attorney fees and costs      is held in    abeyance pending further
            proceedings in this Court.

         11. Mr. Glatstein shall provide complete copies of all trusts involving Ms. Black
            to the Court, Counsel, GAL, Mr. Dain and Ms, Wrigley, including the lssue
            Trust, the 2013 Trust and the Supplemental Needs Trust, however they
            may be titled as well as any other trusts affecting Ms. Black.

         12. Ms. Wrigley asserts she has been paying for Ms. Black's living expenses
            and needs from her own, personal funds, has provided documentation to
            Mr. Black but has not received any reimbursement. lt is unclear to the
            Court why it would be necessary for Ms. Wrigley to pay any of Ms. Black's
            expenses from her own funds. Regardless, Ms. Wrigley is directed to
            provide an itemization of all amounts paid by her with copies of receipts,
            statements and the like to support those expenses to Ms. Peterson for
            review, and include copies to all counsel, the GAL and Mr, Dain.
            Objections shall be brought to Ms, Peterson's attention, who shall
            determine whether the expenses or any one of them should be
            reimbursed. Ms. Peterson may file a petition for approval before
            disbursing any of the funds under her control to Ms. Wrigley. Any
            reimbursements which cannot be paid from the funds under Ms.
            Peterson's control may be paid from Trust funds, after a specific request
            has been made to this Court by the Trustee aS previously described.

         13.The Court finds an evidentiary hearing is required to resolve what the
            Court has identified as the fundamental issues in this matter: whether the
            disclaimer obtained by Mr. Black as to the accounts at Fidelity and
            Vanguard POD to Joanne Black should have acted to divest Ms. Black of
            113 of these non-probate assets. Hearing will also determine whether it
            was properly disclosed that Mr. Black intended or had authority to redirect
            one-third of these non-probate assets, left in their entirety to Ms. Black, to
            persons other than Ms. Black. As part of these proceedings, the Court will
            determine whether the allegations of breach of fiduciary duty are
            supported by the evidence and whether any disgorgement or unwinding of
            fiduciary actions, including the creation of trusts is appropriate. Hearing on
            these issues is scheduled on June 16 and 17, 2015 commencing at 9:00
            a.m.




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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 64 of 145 PageID #:13578




         14.|t is this Court's intention to resolve the issues identified in this Order and
            to then transfer the conservatorship to the jurisdiction of the Court in New
            York, under the fiduciary appointed by that Court.

      DONE lN OPEN COURT this       2nd   day   of April, 2015'
                                                   BY THE COURT:




                                                   JUDGE
                                                   Denver Probate Court




                                                   5




                                                                                              BLACKOI6630
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 65 of 145 PageID #:13578




                        Exhibit                    5
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 66 of 145 PageID #:13578


   Case: 1:17-cv-0010L Document #: 293 Filed: 05/08/19 Page 1 of 53 PagelD #:6655



                        IN THE UNITED STATES DISTRICT
                     FOR THE EASTER}{ DISTRICT OF ILLINOIS

 KATHERINE BLACK,                    )

                                     )
       Plaintiff,                    )

                                     )    Case   No. 17- cv- 00101

                                     )
                                     )    Honorable Matthew F. KennellY

 CHERIE WRIGLEY,                     )

 MELISSA COITENSON,                  )
 BRrAI\ A. RAPHAII, P.C., and        )

 PAMELA KERR,                        )
                                     )
       Defendants.                   )


  PLAINTIFF KATHERINE BLACK'S MEMORANDUM OF LAW IN RESPONSE TO
            DEFENDANTS' MOTIONS FOR SUMMARY ruDGIVTENT
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 67 of 145 PageID #:13578

      Case: 1:17-cv-00101 Document #: 293 Filed: 05/08/19 Page 48 of 53 PagelD #'.6702



ringleader -- an enthusiastic participant and the intended beneficiary of the attack on    a witness   who

 opposed Wrigley's guardianship. There is ample evidence that Wrigley substantially assisted

Kerr's and Cohenson's attacks. After Kerr sent her letter to Wrigley, in response to Wrigley's

email seeking help in obtaining documents to provide to Northwestern, Wrigley submitted Kerr's

 letter to Northwestern. Ex. 28D, Defendants' Jan. 8 Emails; F;x.25, Wrigley 2016 Ethics Point

 Complaint. This alone is substantial assistance for the defamation contained in Kerr's letter. Kerr

 did not herself submit her letter to Northwestern, which she asserts was based on legal advice. Ex.

 9,   NY Guardianship Transcript (March 22,2016) at 365:15-18. A reasonable jury could find that

by sending her leffer to Wrigley, Kerr authorized Wrigley to submit it.

          IV.     DEFENDANTS ACTED AS CIVIL CO-CONSPIRATORS IN ASSISTING
                  THE TINDERLYING DEFAMATION OF KATHERINE

           Last in this Response, but far from least in importance, are the civil conspiracy allegations

 against Defendants.    "A conspiracy   is almost never susceptible to direct proof. Usually, it must be

 established from circumstantial evidence and inferences drawn from evidence, coupled with

 common-sense knowledge ofthe behavior of persons in similar circumstances." McClure v. Owens

 Corning Fiberglas Corp.,188 Ill. 2d 102,134,720 N.E.2d 242,258 (1999) (citations and internal

 quotation marks omitted).

          A civil conspiracy claim requires that a defendant "knowingly and voluntarily participates

 in a common scheme to commit an unlawful act or a lawful act in an unlawful manner . . . A

 defendant who understands the general objectives of the conspiratorial scheme, accepts them, and

 agrees, either   explicitly or implicitly to do its part to further those objectives . . . is liable as a

 conspirator for any tortious act committed in furtherance of the conspiracy." Adcock, 164lll.2d at

 64. Therefore, to be liable for the defamatory statements in the Kerr Letter, it is not necessary for

 Kerr or Cohenson to have directly published the Kerr Letter to Northwestern. Similarly, it is not



                                                     43
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 68 of 145 PageID #:13578


     Case: 1:17-cv-0010L Document #: 293 Filed: 05/08/19 Page 49 of 53 PagelD #:6703



necessary   for them to have directly published to Northwestern to be liable for Wrigley's

 defamatory Ethics Point complaints, to which they each encouraged Wrigley and provided

 documents to Wrigley.

         .,An express agreement among the conspirators is not necessary; the participants must

 simply share the same general conspiratorial objective." Patrick v. City of Chicago,2l3 F. Supp'

 3d 1033, l05Z (N.D. nl. 2016) (citation omitted). Here, Defendants' unlawful objective for their

 attacks against Katherine at Northwestern was             to intimidate her into not testifuing      against


 Wrigley's guardianship, which Katherine asked the New York Court for permission to do in her

 letter. Ex. 2, Katherine Letter. Defendants' also had a secondary goal, for Katherine to               I
                  and personally for opposing Wrigley's guardianship. Ex.              28C. This is witness
 I
 tampering and intimidation, which is not only highly improper but           uiminal. Defendants'    actions,


 with each ofthem calling Northwestern to complain about Katherine, amply meet the single "overt

 act" requirement for civil conspiracy'

          Defendants have offered a variety ofexcuses for contacting Northwestern. They have said

 they needed to defend themselves to Northwestern. 8x.49, Cohenson March Aff. & Reply fl 14

 (Cohenson asserts that she contacted Northwestern

                       Docket Entry No. 267-6, Kerr dep. at 158:23-24 ("When I wrote the letter,

 my duty was to defend my reputation."). These excuses are flimsy indeed. Cohenson had to
 ,,defend" Wrigley and Kerr had to "defend" herself to Northwestern against allegations that

 Northwestern would have never heard if Defendants had not provided Katherine's sealed letter to

 Northwestern. Moreover, nothing in Katherine's letter even remotely attacks Kerr's reputation;

 Katherine merely asserted neutrally   -   and truthfully   -   that Kerr was authorized to investigate Pinto.

 Ex.Z,Katherine Letter, at 17-18.




                                                      44
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 69 of 145 PageID #:13578


    Case: 1:17-cv-00101 Document #: 293 Filed: 05/08/L9 Page 50 of 53 PagelD #',6704



        Wrigley asserts she contacted Northwestem because of her concern that Northwestern

resources were being wasted. Docket Entry No. 261-71, Wrigley dep. at 143:7-17. But Wrigley

had no genuine interest in the trivial cost,   if   any, to Northwestem from Katherine using an

 electronic Northwestern logo (not even printed letterhead paper), and imposed substantial costs on

Northwestern through her complaints. Note too that, after contacting Northwestem, Cohenson

 reported   to her co-Defendants that Northwestern was now

I                activity. Ex. 28B, Defendants' Jan. 8 Emails. A reasonable jury could find that

 Defendants' evolving explanations for contacting Northwestern were a pretext for their true goals,

 to defame and intimidate Katherine at her place of employment, and make

 for opposing Wrigley. A reasonable jury could find that Cohenson did not merely "inquire" about

 Northwestern policies, but in   puttingNorthwestetnl            threatened litigation. SeeEx.Z9B,


 Defendants' Jan. 8 Emails; see also Ex. 34 (Dean Rodriguez email (Jan.     20,2016)I



         Defendants had a conspiratorial objective, which extends     liability "beyond the active

 wrongdoer to those who have merely planned, assisted or encouraged the wrongdoer's acts."

 Adcockv. Brakegate, Ltd.,164Ill. 2d 54,62,645 N.E.2d 888, 894 (1994). While a civil conspiracy

 can be established from circumstantial evidence alone, Defendants emails and                 close


 communication, summarized in Part I, provide ample direct evidence ofjoint planning and actions.

         The extensive email correspondence among the Defendants and a few others, shows

 Defendants' knowledge and apparent approval, that:

         (i)     Kerr had written a letter to Northwestern Law School;
         (ii)    Cohenson, Kerr, and Wrigley had all called the Dean's offices and other
                 people at Northwestern Law School and the Kellogg School ofManagement
                 to complain about Katherine's letter;


                                                    45
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 70 of 145 PageID #:13578

  Case: 1:17-cv-00101 Document #: 293 Filed: 05/08/19 Page 51 of 53 PagelD #:6705



        (ii0


        (iv)    The goal



 Ex. 28A-D, Defendants' Jan. 7 and Jan. 8 Emails. Defendants offer no explanation for why a

 witness, who had written a letter    to a Court, an absolutely protected activity, should      pay

 professionally or monetarily for doing so.

        Defendants planned     to continue attacking Katherine even after she testified in the
 guardianship case, and the court found Wrigley unfit to be guardian, seeking to punish Katherine

 for her testimony. They discussed a plan to sue Kate and Northwestern. On March 22,2016,

Joanne's counsel, [ra Salzman wrote to Wrigley, Cohenson, Kerr, and others about this plan. Kerr

 responded that they needed


Jf              Ex. 51A, Defendants' March 22,2016 emails about sanctions. Kerr and Cohenson

also planned to seek sanctions against Katherine, apparently in the guardianship proceedings.   Kerr

wrote that                                                                          Id.   To which

Cohenson responded                            Id.; see also Ex.5lB, Defendants' March 22,2016

emails about sanctions (Wrigley respondi




        In short, Defendants' email exchanges reveal that they worked together to attack Katherine

at Northwestern, intimidate her against testifuing against Wrigley, and make her pay for doing so.

They provided each other with information that facilitated their joint attack. They reported back

to each other about what each had said and might say. Ex. 28A-D, Defendants' Jan.7 & Jan.          8


Emails. A reasonable jury could find from this and the other evidence recited above that

Defendants conspired to attack Katherine at Northwestern to intimidate her and punish her for



                                                46
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 71 of 145 PageID #:13578


   Case: 1:17-cv-00101 Document #: 293 Filed: 05/08/1-9 Page 52 of 53 PagelD #:6706



 testifuing in the New York guardianship proceeding. That attack included defamation, but the

 conspiracy for an unlawful purpose existed independently of the defamation, which was only one

 means that Defendants used toward their unlawful goal.

          V.     DEFEIIDANTS' PRIVILEGE ARGUMENTS REMAIN LINAVAILING

          Defendants' various claims of privilege were addressed and rejected by this Court in its

 previous Order on Motions to Dismiss. Discovery has in no way altered the reasoning relied upon

 atthat time, and these attempts to deflect attention from the facts in dispute should once again be

 rejected.

          vI.    FALSE LIGHT

          Lastly, notwithstanding Defendants' actualmalice and highly offensive conduct replete in

this record, Katherine by this Response voluntarily dismisses her false light claims. This

withdrawal will allow the Court and jury to fully focus on Katherine's remaining triable causes of

action.

                                          CONCLUSION

          Defendants' Motions for Summary Judgment rely on a combination of making disputed

claims, asserting demonstrably false "facts," and ignoring other facts, many indisputable. When

limited to actually undisputed facts, Defendants have no argument to support summary judgment,

which should be denied.

Dated: May 8, 2019



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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 72 of 145 PageID #:13578




                        Exh ib 6
         Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 73 of 145 PageID #:13578




From:                Bernard     Bl   ack Ibblack@ kel logg.northwestern.edu]
Sent:                412120L5 2:13:25 AM
To:                  Pamela Kerr [pam@kerrfa.com]
CC:                  d.zen@q.com; Lisa Diponio [diponiolawfirm@comcast.net]; Carl Glatstein [Carl@denverprobatelaw'com]
Subject:             Joanne's Wells Fargo accounts
Attachments:         20j.3-01-Joanne-checking.pdf;2013-02Joanne-checking.pdf;2013-03-Joanne-checking.pdf;2013-04-Joanne-
                     checking.pdf;2013-05-Joanne-combined.pdf;2013-06Joanne-combined.pdf;2013-07-Joanne-combined'pdf;2013-
                     08{oanne-combined.pdf;2013-09-Joanne-combined.pdf;2013-L0-Joanne-combined.pdf;2013-11-Joanne-
                     combined.pdf;20L3-12-Joanne-combined.pdf;2014-01-loanne-combined.pdf;2014-02-Joanne-checking'pdl;2014-
                     03Joanne-checking.pdf;2014-04-Joanne-checking.pdf;2014-05-Joanne-checking.pdf;2014-05-Joanne-checking.pdf;
                     2014-07-Joanne-checking.pdf;20L4-08-Joanne-checking.pdf;2014-09Joanne-checking.pdf;2OL4.Lo-Joanne-
                     checking.pdf; 2014-11-Joanne-combined. pdf ;2014-L2-Joanne-combined'pdf


Ms. Kerr: Here are all of the statements I was able to obtain from Wells Fargo for Joanne's checking and savings
accounts there.
I do not have both checking and savings for all months; l'm not sure why, but this is
                                                                                      what Wells Fargo could provide.


This is Joanne's own account, I do not control it.
All withdrawals from April 2013 through September 2014 were by Esaun Pinto while Joanne was hospitalized,
                                                                                                          were
never disclosed to me, and are fraudulent.

Bernie
+*****+**#+*:t.**+:i**t.****.*$+*****,***+*:}**++***{.+****+:t***+****
Bernard S. Black
bblack@ northwestern.edu
Chabraja Professor, Northwestern University
Law School and Kellogg School of Management
Law School: 375 East Chicago Ave', Chicago lL 606LL
Kellogg: 2001 Sheridan Road, Evanston lL 60208
tel: law: 312-503-2784; Kellogg 847-491-5049; cell: 847-807-9599
papers on SSRN           at: http://ssrn.com/author=16042
*****)t**:*!*'}il**!t+'l*,********{.***********j8*,t**x*{.*********,t****!i.




                                                                                                                          KERRo000620
              Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 74 of 145 PageID #:13578



From:                      Bernard Black Ibblack@kellogg.northwestern.edu]
Sent:                      4/4/2AL5 5:24:54 PM
To:                        Pamela Kerr [pam@kerrfa.com]
CC:                        peterson nancy (nancy@petersonlawllc.com) [nancy@petersonlawllc.com]; Carl Glatstein
                           [Carl@denverprobatelaw.com]; Lisa Diponio [diponiolawfirm@comcast. net]; d.zen@q.com
Subject:                   Esaun Pinto felony conviction
Attachments:               Esaun-guilty-plea-2009.pdf; Esaun-indictment.pdf


Ms. Kerr: lattach public documents relating to the criminal indictment of Mr. Pinto and others in federal court, and his
guilty plea.

Sincerely,

Bernie
:**t*r+,t**i.**d'***,t**,t*,t*ti{.,t*:lt*'r***!$***:l***,t*j!**{'****i(l'*'lrt'***'tr****

Bernard 5. Black
bblack@ northwestern.ed u
Chahraja Professor, Northwestern University
Law School and Kellogg School of Management
Law School: 375 East Chicago Ave., Chicago lL 60611
Kellogg: 2001 Sheridan Road, Evanston lL 60208
tel; law: 312-503-2784; Kellogg 847-491-5049; cell: 847-807"9599
papers on SSRN at: http://ssrn.com/author=16042
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                                                                                                                                   KERR00001 13
         Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 75 of 145 PageID #:13578




From:                 Bernard Bl ack Ibblack@kel logg.northwestern.edu]
Sent:                 4/4/2ALs 5:21:17 PM
To:                   Pamela Kerr [pam@kerrfa.com]
CC:                   peterson nancy (nancy@petersonlawllc.com) [nancy@petersonlawllc.com]; Carl Glatstein
                                                                                              d.zen@q'com
                      [Carl@denverprobatelaw.com]; Lisa Diponio Idiponiolawfirm@comcast'net];
Subject:              Esaun Pinto misconduct
Attachments:          Pinto-misconduct summary-for-Kerr-2015-0404-bb.docx


                                                                                                          Several of these
Ms. Kerr: I attach a summary of the misconduct and misappropriation of Joanne's funds by Esaun Pinto.
items were specifically known to Cherie Wrigley. Others perhaps were not, but I believe that she is liable
                                                                                                           for them, if
Mr. Pinto cannot PaY.

Sincerely,

Bernie
*,!****+****+,I**+t***.*****+*)k**++***{.***********'t*:f***********
Bernard S. Black
bblack@ northwestern.ed u
Chabraja Professor, Northwestern University
Law School and Kellogg School of Management
Law School: 375 East Chicago Ave', Chicago lL 60611
Kellogg: 2001 Sheridan Road, Evanston lL 60208
tel: law: 31.2-503-?784; Keilogg 847-491-s049; cell: 847-807-9599
papers on SSRN            at: http://ssrn.com/author=15042
+'F********!t!t*$*'i.'f       ***,i(!t,t**!t,t   ,l.*******,1.*,t**{"t.,l**'!****'t{'***'l'***ii*




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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 76 of 145 PageID #:13578




                                              Bernard S. Black
                                              2829 SheridanPlace
                                               Evanston IL 60201
                                               (650) 773{955 cell
                                            bb lack@northwestern. edu


 Ms. Pamela Kerr
 Kerr Forensic Accounting
 [by email: pam@kerrfa.com

 Cc:     Nancy Peterson
         Lisa DiPonio
         Gayle Young
         Carl Glatstein
                                                                             4 April2015


 Ms. Kerr: This letter summarized what I know to date about misappropriation of Joanne's funds
 by Esaun Pinto, including funds paid to him from the Estate of Renata Black; funds withdrawn
 by him from Joanne Black's "debit account" at Chase Bank (endin gx5372), and Joanne Black's
 personal checking account at Wells Fargo Bank (endin gx7482). I believe that these claims
 should be pursued by Joanne's property guardian in New York (the equivalent of a Colorado
 conservator). I have inquired, and I cannot bring them as a Colorado conservator until my
 powers are transferred to New York. They may also be a proper subject for a report in Colorado
 to Adult Protective Services.


 Item 1. Failure to Return Advance Payment Following Termination of Services
 I terminated Mr. Pinto's services to the Estate of Renata Black on Sept. 30,2014. At that time he
 had been paid $4,000 in advance for October 2014. I requested return of these funds. They have
 not been returned.


 Item 2. Unreported Withdrawals from Joanne Black's Chase Account
 From April 2013 through September 2014, Mr. Pinto possessed Joanne's debit card and regularly
 withdrew funds from Joanne Black's debit account at Chase Bank (ending x5372). He was
 obligated, as part of his financial reporting to me as Executor, to account for those withdrawals,
 and failed to do so. The amounts withdrawn during 2014, and not reported to me as withdrawn,
 total $8,600 (see table below).
                   Joanne Black checkinq account at Chase
                   startins balance at 2014.0101                                      $534.86
                   deposits thru 20 1 4.0925 ($500/week)                              $19,000
                    rndins balance at 2014.0925                                      st,290.74
                    Esaun Pinto withdrawal s                                     $   19,755.88
                    Rounded down to account for bank ATM charges,
                    rot later reversed by Chase Bankl                                 $19_700


 I   Most of tlrese charges rvere refunded to the account by Chase. A few were not. It was not cost-effective to
                                                         1




                                                                                                             K8RR0000217
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 77 of 145 PageID #:13578




                  Reoorted on bills as credits                                         8,000
                  :eported on bills as spent on Joanne                               $3,1 00

                 Undocumented withdrawals                                            s8,600

During 2013, Mr. Pinto generally billed $50/week for incidental spending on Joanne. His actual
spendi"ng is not [<nown. If ore assumes that actual spending was $5O/week and allows a credit
for similar spending during 2014, for periods in which Mr. Pinto did not directly report spending
                                            *     :
on Joanne to me, that would be 26 weeks $50 $1,300. This would still leave unexplained
withdrawals of $7,300.
I have provided to you the account statements for Joanne's debit account, which show the
 withdrawals.
 Mr. Pinto also made thousands of dollars in withdrawals from Joanne's debit account during
 2013, but I caught these during my review of this account. He assured me that he would account
 accurately for withdrawals in the future, but in fact did not do so.


 Item 3. Mr. Pinto's Personal Time During Rescue Effort: April-May 2013
 During the period in April 2013 between when Mr. Pinto and Ms. Wrigley attempted a "rescue"
 of Joanne und h". hospitalization in June 2013, Mr. Pinto's bills regularly exceeded the amounts
 that Cherie Wrigley hid advised me to expect. During this period, Mr. Pinto and Ms. Wrigley
 advised me thatMr. Pinto was notbillingfor his own time, only for the time of your associates.
 Mr. Pinto later sent me a bill for his own time for this period for $18,073, which was a complete
 shock. This included billing for 24 hours per day during the period in which he retumed with
 Joanne from Colorado to the East Coast. Mr. Pinto and Cherie Wrigley attempted to
                                                                                           justify this
 bill with the thin justification that Mr. Pinto had always planned   to bill, only later. But as both
 Mr. Pinto and IVIs. Wrigley fully understood, I was never told this, and had no reason to expect
 this. I believed that when Mr. Pinto said, and Ms. Wrigley confirmed, that Mr. Pinto was not
 billing for his own time, they meant exactly that. Both Mr. Pinto and Ms. Wrigley understood
 that my concern at the time was the extraordinary level of total spending by Mr. Pinto, not the
 timing of payments. This was fraudulent and deceptive.
  The later bill by Mr. Pinto left me in an impossible position, because at the time, Mr. Pinto was
 the principal contact with Joanne. If I had not acquiesced to his sudden demand for more money,
  I would have left Joanne helpless. I view this incident as akin to blackmail. I have provided Mr.
  Pinto's bills to you.


 Item 4, Amounts Withdrawn from Wells Fargo
 During the period from June 2013 through June 2014,when Mr. Pinto was billing the Estate of
 Renati Black for $250,000 (in round numbers) and had access (known to me) to Joanne's debit
 card at Chase, he also had access (not known to me) to a debit card for Joanne's own checking
 account at Wells Fargo. Mr. Pinto withdrew $14,437 from these accounts, with no disclosure to
 me. The source of these funds was payments by the Social Security Administration to Joanne. I


 compute the exact net amourt of ATM witMrawal charges, but I am beliel'e this amount does not exceed the $55.88
 effective credit reflected in the table in text.
                                                     1




                                                                                                             KERR0000218
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 78 of 145 PageID #:13578




 only learned of these withdrawals, after      I    terminated   Mr. Pinto's   services, and began to
 investigate his conduct.
 The monthly withdrawals (by Wells Fargo statement month) are as follows:
                            Statement ending date                 Withdrawal
                            2013.0s09                                  L,152.50
                            2013.0610                                    366.49
                            2013.0709                                     19.O7
                            2013.0808                                   373.57
                            2013.09L0                                 3,338.99
                            2013.1008                                 1,756.82
                            2013.1108                                 1,092.83
                            2013.L209                                  LA84.67
                            20t4.0709                                   684.5C
                            20L4.OZTO                                  l_,130.0c
                            2014.0310                                  1,310.75
                            20].4.0448                                 L,265.7C
                            2014.0508                                   861.25
                            Iotal                                   $14,497.!4

 This was theft of federal government benefits. There can be no plausible claim that these
 amounts were spent properly. Mr. Pinto was already billing large amounts directly to the Estate
 of Renata Black, both for his own time and expenses, and for amounts that he claimed were
 spent directly on Joanne. In effect, Mr. Pinto double-billed for his services. He billed the Estate
 of Renata Black directly, and he separately and secretly withdrew funds from Joanne's account
 at Wells Fargo Bank. I have provided you with the Wells Fargo statements, showing the
 withdrawals.
 I have traced the specific withdrawal iocations for the Chase and Wells Fargo debit cards. Many
 of them are exactly the same. This provides strong evidence that the same person was using both
 cards. I can provide this detail to you, but a phone call would be useful for me to walk you
 through my analysis.


 Item 5. Demand for Repayment of Amounts Paid to Mr. Pinto as Representative Payee
 Beginning in April 2014,Mr. Pinto improperly amanged to become the personal representative
 and payee for Joanne's SSDI checks, without notice to me. Mr. Pinto knew that I was paying
 him separately for spending on Joanne, knew that she was not capable of handling her own
 financial affairs, that I was her court-appointed conservator, and that I had been specifically
 authorized by the Colorado court to become Joanne's representative payee. If Joanne required a
 representative payee (in hindsight she did, now that we know that Mr. Pinto stole her Social
 Security benefits by withdrawing them from Wells Fargo Bank), that person could only be me or
 someone approved by me, as her conseryator.
 The application by Mr. Pinto to become representative payee was made with the approval and
 cooperation of Cherie Wrigley. The amounts paid to Mr. Pinto by the Social Security
 Administration, from May 2014 through January 2075, are as follows:
         For 2014'.8 months * $l,2l7lmonth: $9,736




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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 79 of 145 PageID #:13578




        For Jan. 2015; $1,239
        Total: $10,975
 These amounts are subject                       documented amounts paid by Mr. Pinto to
                              to reduction for any
 Joanne, or on her behai! following her discharge from South Beach Psychiatric
                                                                               Center on or
 about Oct. 29,2014.


 Item 6. Double Payment for July and September 2014.
 Mr. pinto was paid a flat amount of $8,000 for his services for July 2074. He charged an
 additional $2,:bO to Cherie Wrigley during her trip to visit Joanne Black in July 2014, fot
 unspecified "personal services." This was improper, and was made without notice to me or
 approval by me. Mr. Pinto was being paid a flat amount for all of his services. The overpayment
 of$2,300 should be returned.
 Mr. pinto was paid a flat amount of $4,000 for his services for Septemb er 2014. He charged an
 additional $:,giO (paid by Cherie Wrigley after I refused to pay this charge) related to her trip to
 visit Joanne Black in Septemb er 2014, for unspecified "personal services." This was improper.
 Mr. pinto was being paid a flat amount for all of his services. The overpayment of $3,950
 should be returned.
 The combined improper payment for unspecified personal services was $6,250.


 Item 7. Esaun Pinto Failure to Visit Joanne 3x/week
 Mr. pinto was paid well, even lavishly, for visiting Joanne 3xlweek in the hospital. I have reason
 to believe ttraf he often visited less often than that, and have subpoenaed hospital records to
 confirm this.
 During 2013, for each visit, Mr. Pinto charged $750 plus $46 in gas and tolls. Therefore, each
 visit not taken is a claim for $796.
 During 2014, we switched from what was nominally hourly billing (although Mr. Pinto did not
 track actual hours and billed the same amount in each two-week period) to a monthly flat fee
 basis. The billing amount changed from $2,389/week to $8,000 per month. There are 4-ll3
 weeks in an average month, and visit frequency was not changed. Therefore, the visit frequency
                                                                                          :
 for which I was paying was l3x/month, and Mr. Pinto's charge per visit was $8,000/13 $615'


 Item 7. Undocumented Spending on Joanne
 Mr. pinto submitted no receipts for amounts he supposedly spent on Joanne. All amounts are
 round numbers; some are implausibly large. For example, for the week of April 16, he billed,
 with no documentation: $300 for gas; $800 for his own flight to Colorado; $1,000 for hotel, and
 $1,000 for car rental (a total of $:,tOO;, To the extent that Mr. Pinto in fact incurred out of
 expenses on Joanne's behalf, those may be appropriate, but documentation is needed.




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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 80 of 145 PageID #:13578




Summary of Specific Demands
The table below summarizes the specific demands for repayment listed above. These form part
of the overall demand for repayment of all amounts paid to Esaun Pinto (less any amounts which
can be documented as having been spent on Joanne's care).

    Item     Snecific Demand                                                Amount
    1       Unearned payment for October 2014                                 s4,ooo
    2       Undocumented withdrawals from Chase Bank                          s8,600
    3       Pinto bill for personal time during rescue                      s18,073
    4       lmproper withdrawals from Wells Fargo Bank                       51,4,437
    5       lmoroper pavments to Pinto as representative payee               Sro,gzs
    6       Double pavment for Julv and September 2OL4                         6,250
    6       Failure to visit 3x,iweek                                   To be determined
    7       Excessive, undocumented exPenses                            To be determined
            Total of specific demands                              552,335, plus amounts to be
                                                                           determined


 General Demand for Repayment
 The total amount paid to Esaun Pinto, or to Cherie Wrigley to reimburse amounts that Mr. Pinto
 and Ms. Wrigley advised me that she paid to Mr. Pinto, is $279,300. This includes (i) amounts
 paid directly from the Estate of Renata Black; (ii) amounts transferred from the Estate of Renata
 black to a checking account at Chase Bank for Joanne Black, for which Mr. Pinto possessed the
 debit card and withdrew funds, (iii) amounts deposited in Joanne Black's bank accounts at Wells
 Fargo by the Social Security Administration, and then withdrawn by Mr. Pinto, who possessed
 the debit card for Joanne's Wells Fargo checking account; (iv) amounts paid by the Social
 Security Administration to Mr. Pinto during May 2014 through January 2015, after he
 wrongfully arranged to become Joanne's representative payee; and (v) amounts paid by Cherie
 Wrigley for "personal services" during July and September 2014-
 As Executor, I paid Mr. Pinto substantial sums for services, which I believed were to me as
 Executor, without knowing of the misappropriation of funds noted above, and without knowing
 that Mr. Pinto had a recent federal felony conviction. Mr. Pinto and Ms. Wrigley have now
 advised me that Mr. Pinto's client was Ms. Wrigley, rather than the Estate of Renata Black. As
 Executor and Conservator, I would not have agreed to pay any amounts to Mr. Pinto under the
 circumstances. Therefore, all amounts were obtained under false pretenses, and should be
 returned to Joanne Black.
 Because Mr. Pinto was working for Ms. Wrigley (or so he now claims), and because she was the
 primary person overseeing his actions, she should be liable to repay these amounts to Joanne
 Black if Mr. Pinto is unable to pay them (other than the $6,250 paid by Cherie Wrigley and not
 reimbursed by the Estate of Renata Black).
                                                      Very truly yours,

                                                      fu*U s 6'/*1,
                                                      Bernard S. Black




                                                                                                 KERRo000221
         Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 81 of 145 PageID #:13578




Fr.llt,               BernardBlack[BernardBlackcbblack@kellogg.northwestern.edu>]
on behalf    of       BernardBlack Ibblack@kellogg.northwestern'edu]
sent:                 5/17/20151:29142 AM
To:                   pam@kerrfa.com
CC:                   d.zen@q'com; diponiolawfirm@comcast.neq Carl@denverprobatelaw.com
Sublect:              Wells Fargo withdrawals
Attachments: 2014-activity-Joanne-al l-accounts-2015-0222-bb'xlsx

pam: For your review of Esaun pinto's activity: The attached spreadsheet, in the wells Fargo w'draw detail worksheet
                             *exact* locations from which Esaun Pinto withdrew money from Joanne's chase account,
shows matches between the
to the locations from which money was withdrawn, without my knowledge or consent,
                                                                                       from Joanne's Wells Fargo
account. See column               C   of the worksheet

Bernie
:**rF,Fd.********,fi**{.*,(.*t}***,t****{'**{c****'f'r$**:l'*:*:*'*:li**{(***'r*******

Bernard S. Black
bbla ck(d northwestern.ed u
Chabraja Professor, Northwestern University
Law School and Kellogg School of Management
Law School: 375 East Chicago Ave., Chicago lL 50611
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tel : law: 312-5a3-27 84; Kel ogg 847 -49:.s}49; cel I : 84 7-8 07-95 99
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papers on SSRN at: http://ssrn.com/author=16042
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          Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 82 of 145 PageID #:13578



Message
From:                 Bernard Black Ibblack@kellogg'northwestern.edu]
Sent:                 5lB/2aL5 2:30:29 PM
to:                   Pamela Kerr [pam@kerrfa.coml
                                                                                                                          Patrick
CC:                   d.zen@q.com; Lisa Diponio Idiponiolawfirm@comcast.net]; Carl Glatstein [Carl@denverprobatelaw.com];
                      Thiessen [thiessen@poskuscatonklein.com]; Bernie Poskus Iposkus@poskuscatonklein.com]
Subject:              RE: Wells Fargo withdrawals
Attachments:          2014-activity-Joanne-al l-accounts-2015-0222-bb.xlsx




Bernie

**4,**+*****+,i**+****'**********"tt***$'$+***++'I**$:t***'**'t**+*****
Bernard S. Black
bblack(d northwestern.ed u
Chabraja Professor, Northwestern University
Law School arrd Kellogg School of Management
l-aw School: 375 East Chicago Ave', Chicago lL 6061:t
Kellogg: 2001Sheridan Road, Evanston lL 60208
tel: law: 312-s03-2784; Kellogg 847-491-s049; cell: 847-807-9599
papers on SSRN            at: http://ssrn.com/author=16042
******:l)trk******{i.**$!*'}****'ii**********:}'k*:{<'l'****'t'****'l'**'t***)F**''



i."ri      p.r.r.       i.ii fr.itil;;@k#;.;;;i
Sent: Friday, MaY 15, 2015 7:26 PM
To: Bernard Black
Cc: d.zen@q.com; Lisa Diponio; CarlGlatstein
Subject: RE: Wells Fargo withdrawals

Bemard,

                                                                                                    of these were
When I said she was on the road, I certainly meant through 61312013.That was an elror since some
                   ,'on the road.'r The totil withdrawals out of the Wells Fargo account aftet 61312012 are
made after she was
$10,734.14 to be exact.

             BSB: Through April 12, Joanne was on her own, and I atilibtlte withdrawals to her. From
                                                                                                      April 12 through
             June Z, Joanne was not hospitalized, but was under the control of Esaun Pinto. Mr. Pinto
                                                                                                      had her Chase debit
             card, was using it, and was reporting to me, and billing me for, expenses on Joanne. Any additional
             withdrawals from the wells fargo account are highly likely to be fraudulent because if Joanne was spending
                                                                                                                me for the
             money frsm Wells Fargo ta cover her own expenses, Esaun Pinto should not have heen billing
             same expenses. The tirning of the urithdratrvals is also inconsistent with this being spending
                                                                                                             on Joanne. The
             account was fully depleted on May 3, the day that the SSDI deposit hit. The same
                                                                                                   pattern recurs on June 3,
             the daY she entered the hosPital.

 How do you know that these withdrawals out of the Wells Fargo account were made by Esaun and not by
 ,o*.on. that had stolen or found Joanne's card? It is possible that she had written the PIN on a piece of paper
 attached to the card. Believe it or not, a lot of people do this.
                                                                                    $sorneone* (other than Esaun Pinto)
              BSB: This is why I traced the exact locations of the withdrawals. The
                                                     *somehow* uses the EXACT SAME ATM LOCATIONS that fsaun Pinto
              who hypothetically had Joanne's card
              used to withdraw funds from Joanne's Chase atcount'




                                                                                                                           KERRo000865
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 83 of 145 PageID #:13578


        Then on Octo 28, !013, that ssmeone {other than Esaun Pinto) hypothetically traueled to Ellenwood Georgia
        and withdrew funds frorn Joanne's Wells Fargo account there" And purely by coincidence, Esaun Pinto
        happened to be in Ellenwood Geor6ia on the exact same day and withdrew funds from Joanne's Chase
        account. Yeah, right!

        The pattern of withdrawals from hoth accounts at th€ exa€t same locations, sometimes on the exact same
        day, continues. fhe details are in the spre*dsheet I sent to you, in column C of the "Wells Fargo w'draw
        detail" work:heet of the spreadsheet. I attach it again.

        I shsuld note that I confirmed rryith [saun Pints at the tirne (mid-?013] that the Wells Fargo debit card was in
        Joanne's possession. I assumed that he was telling the truth. lf he is noul claiming someone else had it, that
        is not what he told me then, and is not consistent with the record of withdrawals from this accaunt.



fsaun had Joanne's Chase debit card. This I knew.
Bemard, if you knew Esaun had Joanne's Chase debit card and was making withdrawals, why didn't you close
the account or freeze the debit card? The ATM withdrawals after 613/2013 totaled $37,169.91. I have an email
from you to Esaun dated 5/3112013 reflecting the fact that you knew Esaun was making these withdrawals and
you did not close the account or have the debit card frozen. This allowed Esaun to make withdrawals out of
Joanne's funds when you were the Conservator. If Esaun wanted to get paid, he should have provided you with
receipts and invoices to get paid. I have prepared a schedule of all of Esaun's invoices and the amounts he
reflected as ATM withdraws that I will be analyzing once I'm done going through your emails. If he needed
funds up front, you could have given him essentially a retainer that you could track and keep track of the
receipts.

        BSB: As long as I could track the withdrawals, I did not see why it mattered how he Bot paid, directly from me
        (frorn the Estate account) or by withdrawing funds from Joanne's Chase account), The tstal amount he would
        receive would be the same, Thus, I did not see the need to close the account, nor to instruct Esaun Pinto not
        ts use the card. I later learned that he did not report his withdrawals honestly, but I did not know that at the
        time.

        With benefit of hindsight, I regret that I did not require Esaun Pinto to provide backup for his claims on
        expenses. I believe that for any expenses that he cannot support, he should be liable to return those funds to
        Joanne Black and, if he cannot do so, then Cherie Wrigley shsuld be liable to do so, since he claimed to be
        working for her.

Idid not know he had the Wells Fargo card, I did not know he was making withdrawals, and was relying on him to
honestly report his withdrawals from Chase. He didn't do that either, but at least the Chase withdrawals I knew al:out
and could track. How were you tracking these withdrawals?

        BSB: I was not tracking these ujithdrawals at the tirne" I treated this as Joanne's account, and assumed that
        the SSDI payrnents were simply piling up in Joanne's account. I confirrned with fsaun Pinto at the time (mid-
        20131 that the Wells Fargo debit card was in Joanne's possession. ln the fall of 2O14, after I developed reason
        to be suspicious of Esaun Pinto, I went to a local Wells Fargo branch and they provided me with past
        statements. They were willing to do this hecause I was Joanne's consen ator.

I'm a little bit confused about this because on your 2013 Conservator Repor! you listed all of these withdrawals
out of Account#5372 (the Chase account) on Exhibit C but it doesn't appear that you included them in Step 3
DisbursementslExpenses by category. On PageT of the Amended Conservator Report for 2013 you listed a
total of Disbursements/Expenses as $32,031.00 yet the total "Less: Total Amount Disbursed" on pages 3,4 &, 5
@xhibits A-C) total $40,365.1B. If you deduct the $6,031, 18 from the disbursements (payments to
Accountant/CPA) the difference is the $26,000.00 that you listed as "Disbursements to Protected




                                                                                                               KERR0000866
           Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 84 of 145 PageID #:13578



person." Essentially you reported that the ATM withdrawals were "Disbursements to Protected Person" yet you
are saying in this email that these withdrawals were made by Esaun.

                                                                                                                also a one-time
            BSB: I deposited $S0CI weel<ly {$26,000 for the year) to Joanne's Chase account(s}. There was
                                                                                                               on Joanne, for
            transfer on Aprit 20, 2013 from my personal Chase account. that ! treated as Estate       spending
            which the Estate later reimbursed me. These disbur$ements were made to Joanne's bank account
                                                                                                                     at
                                                                                                     purposes, including
            Chase. Joann€, for her part, allowed Esaun Pints to use her debit card, for various
            spending on Joanne's oyun expenses,   At  least this is horu I salt, matters, urhen I cornpleted my 2013 report' So
            I   would say that the funds were indeed "disbursed to protected person."

I'm just trying to figure out all of these transactions so that I can get the right information in my report.
                                                                                                              I am
using your replies as additional information.

I   will   send you a separate email regarding the accounts you reported on the 2013 Amended Conservator
                                                                                                         Report
as compared to actual.


F*wr
Pamela M. Kerr, CPA, FCPA, CFE
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"Kindness is the language which the deaf can hear and the blind can see" - N{ark Tw'ain


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From: Berna rd Black [mai lto: bblacl<(okel logs. northwestern.edul
Sent: Thursday, May 14,2015 8:06 PM
To: Pamela Kerr
Ccl d.zen@q.com; Lisa Diponio; Carl Glatstein
Subject: RE: Wells Fargo withdrawals

    pam: The purpose of providing to you the Wells Fargo withdrawai locations: All withdrawals after June 4, ?.013 took
    place wtren Joanne was a psychiatric inpatientt 1'hey \ /ere not made by Joanne. Joanne was not "on the road." Esaun
    pinto was on the road, with Joanne's Wells Fargo debit card. Which he occasionally loaned to someone else.

    Esaun had Joanne's Chase debit card' This I knew'
    Esaun must have also had her Wells Fargo debit card
                                                           *   and withdrew cash from both accounts.
    The Wells Fargo withdrawals were pure theft.



                                                                                                                      KERRo000867
          Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 85 of 145 PageID #:13578


I did not know he had the Wells Fargo card, I did not know he was making withdrawals, and was relying on him to
honestly report his withclrawals from Chase. He didn't do that either, but at least the Chase withdrilwals I knew about
and could track,

I   will be happy to explain by phone why the matched locations of the Wells        Fargo withdrawals and the Chase
withdrawals are very strong proof of criminal fraud by Esaun Pinto, in tlre approxinrate amount of $15,000.

I   will reply separately with regard to the       Chase withdrawals front x5372.


Bern ie
**.j.*,id**+*,t****,t**r(**********-t,l****,t***+,k***+*,*******i!*i.***{<+*
Bernard S. Blacl<
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Chabraja Professor, Northwestern University
Law School and Kellogg School of Management
Law School: 375 East Chicago Ave., Chicago iL 60611.
Kellogg: 2001 Sheridan Road, Evanston lL 60208
tel: law: 312-503-2784; Kellogg 847-491-5049; cell: 847-807-9599
papers on SSRN at: http://ssrn.com/author=16042



From: Pamela Kerr [mailto: oam@kerrfa.coml
Sent: Monday, May 11,2015 4:42PM
To: Bernard Black
Cc: d.zen@q.com; Lisa Diponio; CarlGlatstein; AnthonyJ. Dain (Anthonv.Dain@procopio.com); Ira Salzman
Subject: RE: Wells Fargo withdrawals
Impoftance: High

Bemard,

What was the purpose of you preparing this schedule? It appears that this is activity in Account #7482. Based
on my forensic accounting done to date, the total ATM withdrawals out of this account were $15,138.88 and it
appears that the majority of the ATM withdrawals out of this account were done by Joanne when she was "on
the road."




Here is my question about the ATM withdrawals that you claim were made by Esaun that you did not
know about out of Account #5372. (I'm attaching a print out of the accounting reconstruction that I have
prepared for this account)

From what I can tell you opened this account (Account #5372) in March of 2013 in your name but never really
added Joanne's name to the account. (see copy of initial statement attached) You have stated that "she never
went into Chase to add her name to the account." What was the purpose of opening this account? How would
Joanne have gotten an ATM card for this account if her name isn't even on the account? How did she or Esaun
get the PIN for it if her name isn't on the account?

The bank statements show that the majority of the funds into this account (#5372 in your name but not Joanne's)
were transfers from the Estate checking account #6179. There is even a transfer into this account from your
personal account in the amount of $3,000.00 in April 2013. Why were you funding this account with money
from the Estate (co-mingling of funds) if there were sufficient funds in her 2013 Trust Account that you opened
in June 2013 to receive her Workers Compensation funds. Were you reviewing the activity in the account at all
during this time frame ttrat the ATM withdrawals were being made? How do you know that these withdrawals



                                                                                                                      KERR0000868
       Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 86 of 145 PageID #:13578



were being made by Esaun and not by someone who had stolen the card from Joanne? Were
                                                                                                you aware of
where Joanne lived during this time frur" and the fact that she   wouldn't have been  making  ATM    withdrawals
from this account if she ilas living in a hospital? How would anyone else have    gotten access to the bank
                                                                                                           from
statements to know what was going on in this account? I'm attaching a copy of the first and third
                                                                                                     pages

this account for l2l3llzol4thit shows that this    account is and has always been in your name  only  and the
statements for this account were addressed to you only.


please let me know        if I have it wrong that you have            stated that you didn't know that Esaun was making   ATM
withdrawals out of this account. I would also wonder why funds were being transferred out of the Estate into
                                                                                                         you
this account and yet you are stating that you didn't know Esaun was making these withdrawals. What did
think was happening to the money you were transferring into this account?

Faw
Pamela M. Kerr, CPA, FCPA, CFE


650 S. Cherry Street Suite 235
Denver, Colorado 80246

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"Kindness is the language which the deaf can hear and the blind can see" - Mark


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From: Bernard Black [mailto:bblack@kel loge.northwestern.edul
Sent: Sunday, May 10, 2015 7:30 PM
Tol Pamela Kerr
Cc: d.zen@q.com; Lisa Diponio; Carl Glatstein
Subject: Wells Fargo withdrawals

pam: For your review of Esaun pinto's activity: The attached spreadsheet, in the Wells Fargo w'draw detail workheet
Shows matches between the
                             *exact* locations from which Esaun Pinto withdrew money from Joanne's Chase account,
to the locations from which money was withdrawn, without my knowledge or consent, from Joanne's Wells Fargo
account. See column         C   of the worksheet

 Bernie
 *****r***r'*****t***********:t*t(****:+*******!r*******'t****'********
 Bernard S. Black
 bblack@ northwestern.ed u




                                                                                                                          KERR0000869
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 87 of 145 PageID #:13578


Messaqe
From:           Bernard Black [bblack@kellogg.northwestern.edu]
Sent:           5/1-5/20L511:32:05 AM
To:             Pamela Kerr [pam@kerrfa.com]
CC:             d.zen@q.com; Lisa Diponio [diponiolawfirm@comcast.net]; Carl Glatstein [Carl@denverprobatelaw.com]; Anthony   J.

                Dain (Anthony.Dain@procopio.com) [Anthony.Dain@procopio.com]; lra Salzman [salzman@seniorlaw.com]
Subject:        RE: Wells Fargo withdrawals



This reply concerns Chase debit account x5312. I replied separately with regarri to the Wells Fargo account.

    1.    Joanne obtained cash, from 203.2 until her hospitalization in June 2013, through weekly transfers to a debit
          account at Chase, for which she hekj the tjebit card. This practice \ /as begun by nry mother, and I continued it.
    2.    ln early 201"3, for reasons best known to Chase, my effort to "link" Joanne's "old" debit card account at Chase to
          my accounts at Chase caused Chase to close lrer account. ln order to get money to her, I needed to open a new
          account, which would operate in suhstance in the same way as the old account. This new account wi:s x5372.
    3.    I autlrorized Joanne as a co-olvner of this account, and sent her the debit card and initial pin. She did not go to
          Chase to become a co-owner, so this account remaind in my name, hut I treated it as Joanne's account, and
          Joanne's money.
    4.    I'he only possible account from which I could have transferred money to the Joanne account at the tinle was the
          Estate account x6179. The Supplemental Needs Trust had not yet been funded; it was furrded in July 2013 with
          moriey frorn Vanguard. The Joanne Black 2013 Trust had not yet been funded. lt was funded later with workers
          cr:mpensatii:n money.
    5.    lt could have been possible to stop transfers from the Estate, and replace them with transfers from the SNT or
          the 2013 Trust, once these Trusts were funded. But there was no urgency to doing so. The Estate had ample
          funds, and so I continued the weeltly transfers from the Estate account to Joanne's account, and treated them as
          part ofJoanne's 2/3rds share of the overall estate assets.
                                                                                                                   'lhis is
    6.    Once Joanne was hospitalized in lune 2013, the Chase debit card was in the possession of Esaun Pinti:.
          not in dispute. You will observe from his bills that he regularly reported withclrawals from the Chase account, as
          an offset to what I otherwise owed him.
    7.    Esaun reported dishonestly   - he reported only some of the actual withdrawals. This annoyed me, but was not a
          disaster, because I could periodically "audit" the withdrawals by comparing the withdrawals he reported to
          those that were actually rnade, i:nd deduce any excess withdrawals (rnade but not reported) form what I owed
          him. I did this on several occasions.
    8.    Iknew Esaun was making withdrawals from ioanne's *Chase+ account. I did not know that he also had
         Joanne's +Wells Fargo* card and was rnaking unauthorized withdrawals from Wells Fargo.
I will be happy to walk you through my understand of these account by phone.



::li':-?'::l*:i.***r*****+,***..!+,fr**:r*'r**++'***.r*+**+*r**.r**,r*r*****
Bernard S. Black
bblack@northwestern.ed u
Cha braja Professor, No rthr.vestern U n ive rsity
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Kellogg: 2001 Sheridan Road, Evanston lL 60208
tel: law: 312-503-2784; Kellogg 847-491-5049; cell; 847-807-9599
papers on SSRN at: http://ssrn.com/author=16042



From: Pamela Kerr [mailto:pam@kerfa.com]
Sent: Monday, May 11,2015 4:42PM
To: Bernard Black
Cc: d.zen@q.com; Lisa Diponio; Carl Glatstein; Anthony J. Dain (Anthony.Dain@procopio,com); Ira Salzman




                                                                                                                  KERRo000859
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 88 of 145 PageID #:13578



Subject: RE: Wells Fargo withdrawals
Importance: High

Bemard,

What was the purpose of you preparing this schedule? It appears that this is activity in Account
                                                                                                 #7482. Based
                                                                                                         and it
on my forensic accounting oone io date, the total ATM withdrawals out of this account were $15,138.88
                                                                                                     was "on
upp.u., that the majority 6rtn. ATM withdrawals out of this account were done by Joanne when she
the road."




Ilere is my question about the ATM withdrawals that you claim were made by Esaun that you did not
know about out of Account #5372. (I'm attaching a print out of the accounting reconstruction that I have
prepared for this account)

From what I can tell you opened this account (Account #5372) in March of 2013 in your name but never
                                                                                                          really
                                                                                                       never
added Joanne,s name to the account. (see copy of initial statement attached) You have stated that "she
went into Chase to add her name to the account." What was the purpose of opening this account? How would
Joanne have gotten an ATM card for this account if her name isn't even on the account? How did she
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                                                                                                       not Joanne's)
                                                                          transfer into this account from  your
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personal account in the amount of $3,000.00 in April 2013. Why were you fund18 this account         with money
irom the Estate (co-mingling of funds) if there were suffrcient funds in her 2013 Trust Account that you opened
in June 2Ol3 toreceive f,er Workers Compensation funds. Were you reviewing the activity in the account at all
during this time frame that the ATM withdrawals were being made? How do you know that these withdrawals
were 6eing made by Esaun and not by someone who had stolen the card from Joanne? Were you aware of
where Joanne lived during this time f.u*r and the fact that she wouldn't have been making ATM withdrawals
from this account if she was living in a hospital? How would anyone else have gotten access to the bank
                                                                                                  pages from
statements to know what was going on in this account? I'm attaching a copy of the first and third
this account for l}l3ll}O|4ttrat shows that this account is and has always been in your name only and the
statements for this account were addressed to you only.


please let me know   if I have it wrong that you have stated that you didn't know that Esaun was making ATM
withdrawals out of this account. I would also  wonder    why funds were being transferred out of the Estate into
                                                                                                             you
this account and yet you are stating that you didn't know Esaun was making these withdrawals. What did
think was happening to the money you were transferring into this account?

 Psrn
Pamela M. Kerr, CPA, FCPA, CFE
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From: Bernard Black [mailto:bblack@kellogg.northwestern.edul
Sent: Sunday, MaY 10, 2015 7:30 PM
To: Pamela Kerr
Cc: d.zen@o.com; Lisa Diponio; CarlGlatstein
Subject: Wells Fargo withdrawals

pam:                                  activity: The attached spreadsheet, in the Wells Fargo w'draw detail worksheet
          For your review of Esaun pinto's
Shows matches between the
                             *exact* locations from which Esaun Pinto withdrew money from Joanne's Chase account,
                                                                                                    Wells Fargo
to the locations from which money was withdrawn, without my knowledge or consent, from Joanne's
account. See column                C   of the worksheet

Bernie
****rt *******,r**+*:!**+************'**:1.*,r**t*,***************'l'***
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Law School and Kellogg School of Management
Law School: 375 East Chicago Ave', Chicago lL 60611
Kellogg: 2001 Sheridan Road, Evanston lL 60208
tel: law: 312-503-2784; Kellogg 847-491.-5049; cell; 847-807-9599
papers on SSRN            at: http://ssrn.com/author=16042
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        Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 90 of 145 PageID #:13578



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From: Bernard Black [mailto:bblack@kellogg.northwestern.edul
Sent: Saturday, May 76,201-5 7:03 AM
To: Pamela Kerr
Cc: d.zen@q.com; Lisa Diponio; Carl Glatstein
Subject: RE: Esaun Pinto message 1

ln some cases, I first received invoices from Mr. Pinto and then paid them.

At the beginning, Cherie Wrigley engaged Esaun Pinto r,vithout consultlng with me, paid hirn without consulting with me,
                                                              *instantly*
in some cases continued to pay him vvhen I did not pay him                {and I do mean instantly}, and put extreme
pressure on me to pay Esaun's bills, and strongly opposed my efforts to bring down the extraordinary level of billing. I
did so partly to avoid the *urar* we are now in between me and Cherie Wrigley {and her allies, Esaun Pinto and Anthony
Dain), which is hardly in Joanne's interests, and partly because Esaun was my only contact with Joanne. The alternatives
to paying his bills seemed worse. The evidence for the pressure on me frr:m Cherie Wrigley and Esaun Pinto will be
presented in court.

tsaun Pinto also tried extrerrely hard to get me to pay him in advance, and in part I agreed to do so.
I tried extremely hard to bring his billing rate down, over Cherie Wrigley's strong objections.
I kept thinking they woukl conre down further, but there was always
                                                                       *something*, as an excuse for a continued high
level of biiling"

So   there is no simple answer to your question.

Mr, Pinto has never provided to me the backup for his supposed expenses, and I hope you will request this backup from
him. Based on what I now know, I believe he will not be able to provide much of this backup, and will therefore owe
substantial funds back to Joanne or the SN'f.

I believe that it will also turn out that Mr. Pinto did not visit Joanne in hospital   as   often   as he claimed   to me thait he
did. I am seeking to obtain evidence on that question.


::llf------**********d(*****{i*****:r,**********)F***:r.,k*********'r.,r
Bernard S. Black
bblack@northwestern.ed u
Chabraja Professor, Northwestern University
Larw School and Keliogg School of Managernent
Law School: 375 East Chicago Ave., Chicago lL 60611
Kellogg: 2001 Sheridan Road, Evanston lL 60208
tel: law: 312-503-27811; Kellogg 847-491-s049; cell: 847-807-9599
papers on SSRN at: http://ssrn.com/author=16042



From: Pamela Kerr [mailto:pam@kerrfa.com]
Sent: Tuesday, May 12,2015 5:05 PM
To: Bernard Black




                                                                                                                             KERR0000700
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 91 of 145 PageID #:13578




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  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 99 of 145 PageID #:13578




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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 104 of 145 PageID #:13578




                        Exhibit                    7
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 105 of 145 PageID #:13578




  SI.IPREME COURT OF T}M STATE OFNEW YORK
  COUNTY OF NEW YORK
                                                                     x
 Iri the Matter of the   Ap. plication   of

         BERNARD BLACK,                                                  Index No. 8025311+

                              etitioner,                                 ANSWER
                                                                         TO AlvIENpEp PETITION
 for the appointment of a Guardian         of
 the Person and Properfy     of

         JOANNE BLACIq

                            A Person Alleged to be trncapacitated.


         CHERIE WRIGLEY, being duly swom, deposes and says:

         1.      I   am the first cousin of the alleged incapacitated person (hereinafter *AIP"), and

 cross-petitioner in the above captioned proceeding.

        2.       I   submit this Answer in response to Bemard Biack's Amended Verified Petition

 and Opposition to Cross Petition, and to advise the Court with regard to how the proceedings in

 Colorado have unfolded.
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 106 of 145 PageID #:13578




        16.       With regard to petitioner,s allegations about Mr. pinto,s
                                                                            background, this is of no
consequence     to this proceeding; it is simply a red herring.
                                                                However,    I   spoke   to jrdr. pinto   at
length regarding his criminal history, or lack
                                               thereof. In point of   fac! the felony    charge against
N4r' Pinto,   to which Petitioner refers, was dropped and he
                                                             has never been convicted oi a felony.

Further, these events transpired twenty (20) years
                                                   ago, and are patentiy irrelevant to the issues
                                                                                                  at
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 107 of 145 PageID #:13578




 hand. Notably, there is no assertion that Mr. Pinto has done anything improper        in connection

 with the AIP whatsoever. On the contrary, lv&. Pinto has been a tremendous advooate of the AIP

 and has helped immensely in her recovery. He is mentioned positively in her doctors' reports, as

 well as the reports of the Guardian ad Litem and Cout Visitor in the Colorado proceeding.       If I
 am appointed Guardian of the AIP's Person a:rd Properfy, the Court can certainly     fix Mr, Pinto's

 compensation    at a   d.esired amount.   I wilt of cowse provide billing   statements and receipts

 evidencing the services he provides. It is truly incomprehensible that Petitioner, who was foufld

 to have essentially stolen the AIP's assets in Colorado and transferred them to his own childlen,

 along   with falsifying documents in two different jurisdictions, is asking that someone else's

 actions be scrutinized.
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 108 of 145 PageID #:13578




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Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 109 of 145 PageID #:13578




                        Exhibit 8
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                                        VARIOUS LOCATIONS


                        Vialati*x lssue Type
                      lnform*tion     Retaliation
                                     Relationsh ip to lnstitution
                                         Other/Anonymous
                                      Please ldentify the person(s) engaged in thls behavior:
                                         Katherine (Black) LITVAI( - Law Professor
                                         Marcia lsaacson - Chief Compliance Officer
                                      Do you suspeot or know that a supervisor or managemeilt is involved?
                                         Yes
                                      lf yes, then who?
                                         Marcia lsaacson gave NU employees confidential and sealed information to protect NORTHWESTERN
                                         She then wrote a letter to two Judges in two different states.
                                         Mr. Dana and Ms. Schulte might hold supervisory positions also as they are menttoned in the attached
                                         lawsuit.
                                      ls management aware of this problem?
                                         Yes
                                      What is the general nature of this matter?
                                         A repod was made to ETHICS POINT to simpy let the U know that a husband and wife professor team were
                                         using school resources in a very private CIVIL matter. NONE of the members knewthedocs were sealed
                                         and are still lN DISBELIEF that docs could be sealed without anybody knowing!ll! THE MAIN POINT lS: No
                                         reta liation
                                         should EVER come from making an ANONYMOUS report. SEE ATTACHED!llll
                                      Where did this incident or violation occur?
                                         SEE ATTACHED
                                      Please provide the specific or approximate time this incident occurred:
                                         This retaliation and harassment has been going on for close to 2 years. There is NOT ONE statement in this
                                         lawsuit that ls eompletely factual or unbiased. lt is based on misstatements, delusionary and paranoid
                                         thoughts as well as complete falsehoods.
                                      How long do you think this problem has been going on?
                                         More than a year
                                      How did you become aware of this violation?
                                          Other
                                      lf other, how?
                                          Found info on the internet
                                      Details




                                                                                                                                                        'tr'l0r 7, I :48 P\ I
                                                                                                                                                               'l
 l ol 2
                                                                                                                                                       KERR0003837
                  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 112 of 145 PageID #:13578

I'ithiesltrint                                                                       https:i,'secure.etlricspoirrt.eornrdorn*inrHNilogirl-teFx)rter-print.arsp'1...




                     Lisa DiPonio..Colorado AttomeY
                     Gayle Young...GAL Colorado attorney
                     Anthony Dain San Diego Attorney
                     Esaun Pinto Private lnvestigator NYC
                     Judge Alliotta Staten lsland NY
                     All of these people are mentioned in the lawsuitlll!

                 Fcllow-Up Note*
                 There are no additional notes for this teport.

                 Foll+w-Up Questio *#C orfi m*$ts
                 Mar 16, 2017,3:09 PM
                 Gomment: This report and earlier EthicsPoint reports related to this matter were reviewed again independenuy of Ms.
                 lsaacson's oversight. We determined that Ms. lsaacson handled the reports and information appropriately and did not violate
                 any University policies or laws, This report will now be closed.

                 Clr*t fraas*ripts
                 There are no chat transcripts for this incident.


                                                                            Clqsey{indoU

                                                                       @2017 NAVEX Global




2ol   2                                                                                                                                          ,+30, 17,   l:48 P\{

                                                                                                                                                KERR0003838
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 113 of 145 PageID #:13578




                        Exhibit 9
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 114 of 145 PageID #:13578




                                                 At an tAS Part 12G of the
                                                 Supreme Court of the State of
                                                 New York, held in and for
                                                 Richmond County at 26 Central
                                                 Avenue, Staten lsland, New York
                                                 on the    d^y of June, 2016.
    PRESENT:
                                                       7
                  THOMAS P..ALIOTTA,


    ln the Matter of the Application   of              AMENDED
    Bernard Black, Petitioner and                DECISION AND ORDER
    Cherie Wrigley Cross-Petitioner,
    For the Appointment of a Guardian       of   lndex No. 8A253114
    the Person and Property of

    JOANNE BLACK,
    an Alleged lncapacitated Person.
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 115 of 145 PageID #:13578




         OROERED, that Mot #007 to temporarily restrain and enjoin Cherie Wrigley, her


                                      Page 8   of '10




                                                                                         BLACKOl845O
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 116 of 145 PageID #:13578




   attomey and the parties referred to as the "Wrigley group" from contacting the family of

    Bernard Black and Katherine Litvak and Northwestern University Law School (their

    employer), is denied and the temporary restraining order is discontinued based upon

    the assurance of all parties and their attorneys, on the record, that they would cease

    and desist any further contact with Northwestern University Law School, except as it

    relates to the collection on any judgment emanating from the State of Colorado; and
                                                                                        it


    is further
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 117 of 145 PageID #:13578




                      Exhibit                     10
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 118 of 145 PageID #:13578




               Katherine Black vs Cherie Wrigley, et al.
                                   17-CV,101


                    Transcript of the Video Deposition of:


                      CHERTE WRIGLEY
                                September 07,2018




   Wm                                                     RAMA
                                                               & NI{
       The P*wer of      Commitment"* REpORTING
 Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 119 of 145 PageID #:13578




09t0712018                                                           CHERIE WRIGLEY                                                                    Pages 74-77

                                                                            Page 14                                                                               Yage to
                A         A l4ac.                                                               that   I
                                                                                                       could actually put in a specific word and                       a

                Q                     -- do You have what's
                          And does Your                                                         person's name, arrd it nLight pul1 up. It was
       cal1ed       an "auto delete" -- a provision that                                        actually on my messages. So I don't ]a:ow if it
       autonatically deletes things from your corputer?                                         works the same way on e-nrai1s.              It   happened     to be       on
            A The setting does delete some things. I                                            my messages       that I learned sometlr-ing.
       had a Yahool account aL the time, which now has been                                            Q       A11 right..   Let's -- let's focus              on your
       deactivated.   So no\^/ everlrthing's pretty m:ch                                        messages.
       deleted. I had it hacked into; okay? So I had                                                           Did you search each          of the    nrailboxes that
       to -- there was some kind of -- I had hacking. Uil'rat                                   you had     in your cofiputer?
1-0    can I say? That's all. Tlr-is is, nnybe, four months                               L0           A       My--
L1     aqio, five months ago. So I use a new e-nrail                                      11                   MR. FAITIIONE:        object to form.       I   think
t2     address       --   Gnail.                                                          L2    she's talking about her messages on her phone.
13                                           if somethi-ng's
                          But ttre settings are that.                                     13                    THE VifTTTIESS: Yeah.
T4     in, like, an arc -- I don't lcrow if it's "archive";                               1A
                                                                                                BY MR.      SCHAALMAN:

1,5    I'm not sure what it's calIed -- they will get                                     15           Q        Put that aside.
                                                                                                       l        nLrl'
15     periodically deleted.               Like, not everything gets                      l-6          rr       vJsJ    t



11     saved.                                                                             t't          Q        I'm asking you a different question.
18              Q okay. This odribit was sigrred Lv your                                  1B           A        Okay.
L9     attorneys in Eebruary of this year.                                                19           Q    o: your corputer, did you search each of
20              A         HInA-hnm,
                                                                                          1n    the rnailboxes you had?
2L              Q         And    I'm asking       ratrether your Yahoo!                   21.          A        Yes.
22     account was changed before Februarlz or after                                      22           Q        Okay.
11     February?
                                                                                          a2           A        I don't have the --         very   manY    e-mail
            A After February.                                                             24    boxes.
            Q okay. And vtren this document -- your                                       25           Q        You bave an inbox; correct?

                                                                               age   t)                                                                             vage I I
       response to the reqrest for documents v,Jas prepared,                                           A        Yes, yes.
       you had a1reafu provided the documents Ehat you                                                 Q        It.'s       where you receive e-maiIs?
       found to your latlyers?                                                                         A        Yes.
                A         Yes.                                                                         Q        And you searched that?
                Q Nor,r, in looking -- in searching for those                                          A        Yes.
       documents, you said you had recentLy leamed to put                                              Q        And what        did you search?      How   did   You
       in search terms and then search your document --                                         search that? V,/h,at terms did you            use?
       your cofiputer?                                                                                 A        I
                                                                                                             used the people's names.
                A         Yes.                                                                         Q   Okay. So you -- you looked for documents
 10             Q         Did you     --   when    you say, "recently, "       was        10    that would have "Katherine Black" or "Katherine
 11    that before February of               2018?                                        L1    Litvak" on it?
 t2             A         It   was,   like,       three daYs ago.                         L2            A       Yes.
 13             Q         Okay.     So when you were           looking for these          13            Q       Did you look        for   documents you would have
 L4    documents, you            didn't    Istow how    to   searctr your                 L4    had with Melissa Cohenson's name on                it?
 15    colrputer?                                                                         15            A       Yes.
 tb             A No. I mean, f Jcrsv how to search enough.                               16            Q        Did you look       for   documents   with Brian
 |'t   I mean, I could -- I still h:e+r how to search                                     L't   Raphan, PC, on          it?
 1B    enough.                                                                            18            A        Yeah.
 19        Q              How    did you do the        search?                            19                     r actually had a folder of his, but it
 20        A              I -- I    mean,     I    ]srow how   to search blz              20    was    mostly invoices.
 2t    date. I  know how to search b,y -- I Jmow how to                                   2L            Q Okay. Did you       -- did you look for Pam or
 11    search fu date. I lmow how to search hy name. I                                    ))    Pamela      Kerr in your inbox? Docunents with her name
 23    hrow -- I didn't lcrow how to search -- 1ike, narrow                               ,?    on   it?
 24    the search to a particular word or topic,                                          24            A        llm, yes.
 atr   necessarily. Like what I learned the other day was                                 25            Q        llhat oLher names did you search?


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  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 120 of 145 PageID #:13578



09t07120t8                                                             CHERIE WRIGLEY                                                                       Pages 110-113

                                                                            rage 1 ru                                                                                   rage t   Lz

       before.                                                                                          Q         And neither Ms. Diponio              or Ms. Younq        ever
                a         But he doesn't represent you; right?                                  represented you in any nratter; correct?
                A         No.                                                                        A Yeah, correct.
            Q     Let's go to the next Page. And I want                                                 Q         And the subject matter               is   the retaliation
       you to look at !,lrigley 38.                                                             lawsuit.          Do   you see that?
                A         38.    Yes.                                                                   A         Yes.
                Q         And there apparently           is   somebody named        --                  Q  And you were                  referring to the lawsuit
       Al<e1i                                                                                   which you were sued in, in fact, this case in the
                A         Yes.                                                                         District of lllj-nois; right?
                                                                                                Northern
10              Q         I'm not sure how to           pronoi:nce the      last          l-0      A I -- this is the firsL time I've seen
LL     name?                                                                              t\ this excepL for yesterday ratren it came up, so I
L2              A         "Tautalaufa.     "                                              L2 actually hadn't seen ttrat before. So I'm -- I don't
t-3             Q         "Tautalaufa.     "    Thank you.                                13  lsrow. I'm really not sure what it's referring to,
L4              A         "Tauta1aufa.     "    Yeah.                                     L4    because       I   haven't seen the e-mail.
15              Q         And who    is   that?                                           1-5           Q  But you've used Lhe word "retaliation
16              A         She's an a&ninistrative             assistant.      She         L6    Iawsuit" before, haven't you? -- in connection wj-th
t]     was a personal assistant of my brother's.                                          t]    this    case?
1B           Q Now, the "Re:" line for that is, "In the                                   18                      MR. FANT0M:             object to foundation.
1,9    rnatter of Lhe application of drerie WrigLey, for the                              19                      TtlE WITNESS:           I -- apparently, according
20     application of Cherie Wrigley, for the appointment                                 20    to this, I have.                But, no,    I don't remernber.
2L     of guardian           of the personal property of Joanne                           2L    BY MR.      SC!IAAI,tr'1AN:
a1     Black. "                                                                           22            Q        I'm going to skip ahead in terms of Lhe
23              A         Right.                                                          23    numbers       in this case. I'm going to show wlat you I
24              Q         Do you remember what           this e-mail is       about       24    am   marking as Wrigley Dd:libit 6.
25     other than tbaL description?                   And  it is dated                    25                 (E{hibit 6 marked)
                                                                            rage    rlr                                                                                 rage r rJ
       Icrch 9,        2015.                                                                    BY MR. SGIAAI,MAN:
                A         Yeah. No,       it   nrakes   sense, though.                                  Q          You can keep that. Don't puL that away.
       Because        it's      9, 20L6. And r think that's when
                             March                                                                      A          okay. So it's not in order. This j-s 2?
       we had       Lhe additional hearing. If f'm not mistal<en,                                       Q          That's riqht.
                        addj.tional hearing.                                                            a          Alzl r
       we had an
                Q         And    it's "cc'd" to your brother, Anthony                                   Q          I   have already narked other documenLs.
       Dain.        Was   he representing you    in the guardianship                                               MR. FAITII0NE: Thad< you.
       proceeding?                                                                              BY MR, SCI{AAI,I"IAN:
                A         No.    He was appearing         pro   se.                                     Q          And      I   thought   it   would be     --   make more
 t-0            Q         And you had separate counsel                in the -- in        LO    sense       to do j-t this        way.
 11     the gn-rardianship matter, didn't. you?                                           11            A          Okay.
 L2          A I had Melissa Cohenson. But as we taLked                                   L2            Q          And you can give I4r. Baron the extra
 13    about before, my brother's alv,ays assisting me in                                 I3    copy.
 LA    everything 1ega1.                                                                  LA            A          Ihis is       what you showed yesterday; right?
 r-5            Q         Let's look at. Wrigley          number 40.                      l5                       MR. FAIIoNE: Wait             tiu    there's     a
 tb             A         Yup. I see iL.                                                  L6    question.
 L1             Q         And you    are the author of Lhat            document.;         t't   BY MR.       SCI{AALIVIAN:

 t-B    correct?                                                                          18            Q          Again, please don't ask              me    any questions.
 L9             A         Yes.                                                            19            A          I'm sorry.
 20             Q         And    you've sent        j.t to Gail Young and Lisa            20            Q          It's not that I'm trying to be rude.
 2l    Diponio; right?                                                                    2L    It.'s just not
                                                                                                            my job Lo give you an answer.
 zt             A         Yes.                                                            1)             Exhibit 6 is a document that has a title,
 ,?             Q         And the date         is   February   t,   2017;                 21    "ELhics.Point. Issue and event manager. " Have you
 24     correct?                                                                          24    seen    this before?
 25             A         Yes.                                                            25            A          This looks like what            I   saw    yesterday.



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 Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 121 of 145 PageID #:13578



09t07/2018                                                                         CHERIE WRIGLEY                                                                Pages     ll4-ll7
                                                                                       Page   1t4                                                                              Page       I6
                Q Okay. And the date of the docunent is                                                   BY MR. SCIIAAIiMAN:
       February L, 20L7, the same date as the e-mail that                                                                  Stre Sure
       you sent to lG. Younq and I,Is. Diponio, whl-ch you                                                                 Did you and Pamela Kerr ever discuss
       have as         line, "Retaliation lawsuiL."                                                       Edribit     6?
                  Do you recal1 filing a conplaint on the                                                        A         No--
       Northwestern UniversiRr Ethics.Point system --                                                            Q         Did you ever --
                         No.                                                                                     A         -- not that I recall.
                0        --       on February            lst,    201-7?                                          Q         Did you ever discuss with Pamela Kerr
                A        Sorry. No, I don't.                                                              whether she        filed a conplaint         on February       L,   2011,
10              Q    you remernber rnaking a conplaint on the
                         Do                                                                         10    with the    Northv,/estern University E[hics. Point
11     Ethics.Point systen about Marci-a Isaacson?                                                  11    system?
L2          A No, f don't.                                                                          L2           A         Not that I reca11.
13          Q Do you )mow who did?                                                                  13           Q         And how about Melissa Cohenson? Did you
LA          A No, I don't..                                                                         L4    have   a conversation with Melissa               Cohenson      first
t-5             Q Let's look on the second page. At the                                             15    about   Dd:ibit      6?

l6     very bottom, there's a section cal1ed "Updated Files                                         16                     1'1R.   FANI0NE: Same objection.
L'l    From Reporter.             ''                                                                T't                    TtlE WITIiESS:       Not that     I   reca11.
1B              A        I       See.                                                               1-B   BY MR. SCHAALI4AN:
19              Q        Novr,          I'1I tel1 you the reporter is                  the --       l_9        Q And dl-d you have a conversation with her
20                        (Telephonic internrpti-on                       at   12:57 P.M.)          20    abouL filing a conplaint. on the Ethics.Point systen
2L                       MR. SCHAAI,MAN:                     I'm sorry.        I   thought    I     2L    on February l, 20I'l?
22     turned that. off.                                                                            22         A That's the same date?
23     BY I,IR. SCHAAItr4AN:                                                                                   Q This document. Yes.
                Q        The reporter                   is   the person who makes the               24         A Same date?
atr    conplaint on this                    -- in this        Ethics.Point         system.          t5         Q Same date -- with Melissa Cohenson?
                                                                                       rage r lJ                                                              rage ttt
       And, apparently, that                       --
                               Lhe reporter had uploaded                                                         A          No. Not that I recall.
       documents. The second document being the Northern                                                         Q          Do you recall filing a conplaint against
       District corplaint .pdf,                         and    it's     labeled,                          Katheri-ne       Litvak on February 1,, 20L1?
        "ReLaliation Lausuit.                  "                                                                 A          February 1. It's the same date.
                         Does           that refresh your recollection that                                      Q          Yes.
       you would have uploaded the conplaint in this case                                                                   Yeah      No.
       on this Ethics.PoinL system, calling it a                                                                 Q          Do you lcrow utro       Marcia fsaacson is?
        "Retaliation lawsuit"                  ?                                                                 A          I don't     know    -- I   ]crow rai:o she   is    from
                A        No,           it   doesn't.                                                      this lawsuit, yes.
 LO             Q  Do you recall Pamela Kerr telling you                                            10            Q         And ratro   is   she?
 L1    whefher she had filed a conplaint, which is                                                  L1            A         I don'ther exact Litle, but I think
                                                                                                                                        lorow
 L2    Dddbi-r. 6?                                                                                  t2    that she has somethj.ng Lo do -- she describes
 13                      MR. FAI{IONE:                   I'm going to object          and           l_3   herself as a corpliance officer.
 t4    just instruct you --                                                                         LA         Q Under the "Details" section --
 15                      TT{E          WITNESS: $trhat's          Eftibit 6?         t}ris          15         A trlhere would that be?
 l_6    (IndicaLing)         ?                                                                      l5            Q  0n page            --   the second page, which has               a
 L]    BY MR. SCHAALI4AN:                                                                           L't   Northwestern --
 LB             Q        Yes.                                                                       18            A         Okay.     I got it.
 t9             A         Sorry.                                                                    19            Q         Document number         430, there are a          number
 20               l4R. FAMIONE: You can testify as to the                                           20    of people listed.
 2L    existence of any conversations or if Lhere rdas noL                                          2L         A I see that.
 17    conversations, but don't discuss the detaiLs of any                                                     Q And underneath it, it says, "AL1 of these
 23    privileged comrunication.                                                                          people are mentioned in the 1awsuit."
 24                       TIIE WITI{ESS: Yeah                     So ask Lhe question               24                Do you reca11 whether in the conplaint
 25    again, please.                                                                               ,q    filed in this case -- whether aI1 these people are

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   Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 122 of 145 PageID #:13578




09t01/20t8                                                                    CHERIE WRIGLEY                                                              Pages 138-141

                                                                                  Page       38                                                                       vage l4u
                 A        Yeah.                                                                         Go dorvn   to this space, press a button, and you can
                 Q        So has      your   memory now been            refreshed,                      tlpe in    some      things.
        IA.           that E{Llibit. 6 is your third conplaint
                Wij-g1ey,                                                                                                  this particular one, I can't tell
                                                                                                                        BuL on
        tbat you filed?                                                                                 if it's their writing or nfne to be honest with you.
             A No. There's several things -- I'm not                                                    There are some times I can te11 when it was their
        even going to get into it why it's not mine.                                                    writing, but thqf were on the phone with me the
             Q But your manory is that you did file                                                     entire time, whenever I rnade a conplaint.
        three conplaints?                                                                               BY MR. SCT{AAI.IBN:
                 A        No. I said --                                                                      Q The writing conLinues -- the Lyping, "He
 10                       MR. FAIVIONE: Object Lo form.                                           LO    has continued to use school letterhead, e-mai1
 11                       TTIE WtTtiESS      :   No.                                              L1    address, phones, and other resources to fight h-is
 12                       MR. FAIrIONE: She                said. "A conplaint,                    L2    personal battle. "
 13     follcur-up, and then this conplaint."                                                     13               The 'he' is you're referring to Bernard
 14                       lHE lrlfTIrlESS: I,ly conplaints were done                              L4    Black; right?
 15     over the phone.                                                                           15          A         ltrm-hrm.
 L6     BY MR- SCHAA],MAN:                                                                        16          Q    hlhat ercanples did you have in January of
 17              Q        And what nrakes you               think that D&ibit            6        17    2016 that l4r. Black was using NorthwesLern
 1B     wasn't done over the             phone?                                                   1B    leLLerhead to fight his legal battles?
 19             A         It   says, "Report 437, Internet."                                      19         A That's utry I knovr that. there was a
 20             Q         And you      don'l believe you -- you used the                          20    previous report, because they had asked me Lo
 21     Internet to           make   this conplaint?                                              21    upload, and they showed me how -- exanples of that.
 22                       MR. FAIJIONE:          Objection.           Form.                       22          Q         And    f'm   --   the previous conplaint thaL
 23                       THE WITNESS: Do              I   answer?                                ,2    you   filed    was in }{ay        of2015; correct?
 24                       Yeah.                                                                   24          A         I guess.
 25                       I    am   not. savr4z enough.          I    had   to   be               1q
                                                                                                              Q         We're now talking about seven months
                                                                                  Page       39                                                                       Page    l4l
        walked through every single process of this and told                                            later.
        exactly what to do while somebody was askj-ng me                                                      A         0h, that he continued to --
        questions.                                                                                            Q         Yes.
                   MR. FAIIIT0NE: I just would like the                                                       A         --   use school letterhead.
        record to reflect when she said, "this she was                                                        Q          evidence did you have when you filed
                                                                                                                        V\llrat
        referrj-ng to Ddeibit 7.                                                                        thj-s conplaint -- your second conplainl -- thaL, in
                          TI{E IrrllT}JESS: E<cuse            -- yes.       And there's                 fact, he was continuing to use Northwestern
        an   earlier coplaint.                                                                          University Law School letterhead?
        BY MR.       SCT{AA],MAN:                                                                             A         He had sent.    out a letter to Judge A1i --
 10             Q         We'11 get there.                                                        t_0   not Judge Aliotta         -- ,Iudge Leith; okay? And if I
 11             A         Okay.                                                                   11    did not upload it,         it could easily be found.
 12             Q  I'm going Lo read further from the                                             T2          Q         The tlpi-ng goes on another sentence
 l3     conplaint that you remember now filing, which                             was             l3    be1ow,    "I   cannot  in all good conscience allow this
 14     B<hibit 7. Do you have that in your hand?                                                 L4    to contj,nue. SorneLhing rm:st be done to save the
 15             A         Yes.                                                                    15    i.ntegrity of your school. How can sornething like
 16             Q  Okay. And you've already testified that                                        16    this go on for almost three years?"
 L7     the langrage at the top of the page is, in fact,                                          L'7               Would you agree that tb,at is an accurate
 L8     language Ehat you gave to the call cenLer and thqy'                                       LB    typing of the statsnent that you gave to the call
 19     typed ouL on your behalf; correct?                                                        L9    center?
 20             A         You ]srow     --                                                        20          A         Close enough.
 27                                Object to form.
                          MR. FAITIIoNE:                                                          2L          Q         Okay. Now, how woul-d the use of
 22                TtlE VIITT{ESS: I don't. want. to say                                          22    NortLn^resLern   letterhead, e-mails, phones, and other
 ,2     100 percent, because there were -- there was                                              aa    resources affect your conscience?
 24     something that they did with me. But I'm -- I would                                                   A         Okay. I'11 calmly        start.   V,/liere   do   I
 25     say, pretty sure, they did have me at tjres -- say:                                       25    begin?



witranscripts   @   uslegalsupport,com                        U, S,   LEGAL SUPPORT/GRAMANN REPORTING                                                   Phone: (800) 899-7222
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 123 of 145 PageID #:13578




                      Exhibit                     11
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 124 of 145 PageID #:13578




Bernard Black

From:                              Pamela Kerr <pam@kerrfa.com >
Sent:                              Monday, May 18, 2015 9:39 PM
To:                               cherie wrigley; Eernard Black
Cc:                               d.zen@q.com; Lisa Diponio; Carl Glatstein; Nancy Peterson
Subject:                          CPI Investigations invoices, payments, etc.
Attachments:                      Schedule of Esaun Pinto's Invoices and payments made.pdf



Bemard & Cherie,

I am sending this schedule and infonnation to both of you because between the two of you, I need better
documentation. Cherie, it seems Iike you hired Esaun and paid him initially but Bernard you continued to pay
him. Unfortunarely, it looks like he was overpaid by $41,470,50. Some of this overpayment was due to
duplicate charges by Esaun and maybe some is becausc I'm including all ATM withdrawals made after
 41;1 12013 , If Esaun wanrs to dispute that, he will have to be able to shorv me proof that Joanne took the money
out of the ATM.

I am atkching  a schedule of the details of the invoices I have received from Esaun, the duplicate payments
noted. the payments  made by Cherie and Bernard and all ATM withdrawals after 4lll12013 out of Joanne's
accounts,

I would absolutely dispute some of the charges, especially the 2 wecks before Joannc's hospiulization and a flat
fee of Xi8,000.00 a month. I have clients that pay much less than that for 100% 24/7 care in a Memory
Unit. Unless he can give us detailed days aud times he was with her, I would not pay $5,000.00 a week or
$8,000,00 a month. Ultimately it u,ill not be up to me to decide about these charges-it will he up to the
Judgc. But, as noted below, whenever a fiduciary is making payments on behalf of a Protected Person, the
documentation regarding those payments have to be provided. Without further documentation, a flat fee of
$5,000.00 a wcek or $8,000 a month is not a reasonable charge. The Judge and attomeys will knorv it better
than me, but there is Statute regarding payment of professional fees in the State of Colorado, This would fall
under that Statute.

      r   As you can see, based on the invoices provided by Esaun, the total charges from     4ll3l20l3 -   10131 2014
          is $258,350.00 (Line 84 column S).

             )> I absolutely need receipts fbr all of the Flight, HoteLMotel, Rental Car, Cas, Motel, Storage, etc.
                  etc. Since Joanne is a Protected Person and her funds are under jurisdiction of the Court, every
                  expense has to be properly documented. I need receipts for all of these expenscs in columns C
                  through P. I have not included the column for tolls, bul what are those for? Did Esaun actually
                  go ro scc Joanne? The chargcs just say $39/week or along those lines. I realize that Column C is
                  Esaun's time but we need to know exactly what service he was performing for Joanne.

             o   When exactly did Esaun get back to New York with Joanne? I see an ATM withdrawal in Ohio
                  on 4/18/2013. However, he is charging 24 hours a day all the way through 51712013.
             o   Where was she living when she got back to New York?
             o   V/hat was Esaun doing for her from that time until she was picked up by the New Jersey police on
                  6t3/20132
             o   If Esaun was charging $5,000 a week for Joanne at this point (5120 - 6/3) I would want to see a
                  daily log of when she was with him,



                                                                                               /u/EXHtBtr
                                                                                                               Z
   Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 125 of 145 PageID #:13578




               If you look at lines 14 and l5 it looks like       Esaun switched to a "Flal Rate of $5,000." It appears
                 that he is charging her $5,000 a week.
               Did either of you know he was charging $5,000.00              a week?

                                                                                                         regarding
I will be asking Cayle and/or Ira to request documentation from the hospital and Joanne's doctors
                                         well.       will        the information  in order to prepare an accurate
Esaun's involvement in Joannc's life as          We        need
Financial  plan for her. I did not see any line item on   the Financial  Plan for Esaun.


I don't have any invoices from Esaun from I li I - to cuffent, ls he not doing anything with Joannc anymore?

If you need copies of the invoices I have been provided, please let me know. I doubt we will have this
informarion before I write the report so I will just report it as it is. I will be listing a receivable
                                                                                                        from Esaun for
$41,470.50 at a minimum.

Pam

Pamela M. Kerr, CPA, FCPA, CFE
3(err fwensic Accmtnting
650 S. Cherry Street Suite 235                    "c
Denver, Colorado 80246

(303) 696-3700 - phone
(303) 696-5711 - fax
wrvw.kerrfa.com

"Kindne,ss is the language which the deaf can hear snd the hlind can see" -               Mark Twain


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penalties under the Internal Revenue tode, or (ii) promote, market or rerommend to another
                                                                                                         parly any transaction or
matter addressed herein (or in any such atiachmlnt),       In addition, the information    contained   in this message may be
protected by the accountant-clieni   privilege. please  immediately   reply to the  sender   of this e-mail  if you have received it
in        then delete it. In addition,'yo, aiu hereby notified that any disclosure, copying,      or distribution  of this message,
   "rror,
or the taking of any action based on it, is strictly prohibited,
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 126 of 145 PageID #:13578




                      Exh                         t2
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 127 of 145 PageID #:13578



Message
From:                cheriewrigleylcheriewrigley<cheriewrigley@yahoo.com>]
on behalf   of       cherie wrigley [cheriewrigley@yahoo'com]
Sent:                718/2OL6 9:11:17 PM
To:                  pam@kerrfa.com;sjp9pg6em7i6f7pwb6dbeup7.t4522O9370582@email.android.com
Subject:             Re: Guardianship ofJoanne Black: Katherine Litvak Letter



 Pam,
                                                          ^.c,,c, for ^ flittle
    am very lnterested!! My brother wants me to hold off
                              ,   -r               t--'rl         c^^ a    .i++1^ l^.i+
                                                                                  bit
rjrI"'to-Oirin,jiing-iunas
                           n'ut r am so angry. r would at least like to pay for
a consultation.
che   ri   e




From: Pamela Ken <pam@kerrfa.com>
To : Young/Zen <d.zen@q.com> ; cherie wrigley <cheriewrigley@yahoo.com>
Cc: Melissa Cohenson <mcohenson@raphanlaw.com>; Lisa Diponio <diponiolawfirm@comcast.net>
Sent: Thursday, January 7,2016 3:29 PM
Subject: RE: Guardianship of Joanne Black: Katherine Litvak Letter

Yep. I can give you some names of attorneys for liable and slander.

Sent from my Verizorl'dJireless 4G LTE smartphono




      Original message
From: Young/Zen
Date:01 1O712016 3:46 PM (GMT{7:00)
To: cherie wrigley
Cc: Pamela Kerr, Melissa Cohenson , Lisa Diponio
Subject: Re: Guardianship of Joanne Black: Katherine Litvak Letter

Time to bring out the big guns.

> On Jan         7   ,2016, al2'.15 PM, cherie wrigley <cheriewrigley@yahoo.com> wrote:
> Totally agreel! I spent an hour talking to Joanne. She is holding up well. Melissa has contacted
Northwestern and is doing all she can. I thank everyone for their feedback.This just makes me sick!!
> Cherie



> From: Pamela Kerr <pam@kerrfa.com>
> To: Melissa Cohenson <mcohenson@raphanlaw.com>; Lisa Diponio
<di pon iolawfirm @comcast. net> ; Young/Zen <d. zen@q. com >
> Cc: cherie wrigley <cheriewrigley@yahoo.com>
> Sent: Thursday, January 7,201611:22 AM
> Subject: RE: Guardianship of Joanne Black: Katherine Litvak Letter

> Unreal. I wonder if someone should contact Northwestern and let them know that she is writing this
letter (which I haven't read yet) on Northwestern letterhead as ifNorthwestern is supporting her



                                                                                               KERR0002508
       Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 128 of 145 PageID #:13578



position.

> This stufl with Esaun is not smart on Kate's part since it is Bernard Black who paid him and gave
him an ATM card that the oNLy person that had control over what Esaunmoney into that account
from the Estate and claiming it was for the benefit of Joanne, but he did NOTHING to monitor it.
                                                                                                 He
was the only person that received these statements.

>   yes, Joanne is the person that is being harmed by all of this. Does she not think that Joanne will be
able to testify about Kate's involvement in Joanne's life?

> Best regards,
> Pam Kerr

> Pamela M. Kerr, CPA, FCPA, CFE
> Kerr Forensic Accounting PC
> 650 S. Cherry Street Suite 235
> Denver, Colorado 80246
> (303) 696-3700 - Phone
> (303) 696-5711 - fax
> www.kerrfa.com

> "Kindness is the language which the deaf can hear and the blind can see" - Mark Twain

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mrit it you have rec-eived it in error, then delete it. ln addition, you are hereby notified that any
disclosure, copying, or distribution of this message, or the taking of any action based on it, is strictly
prohibited.

> From: Melissa Cohenson [mailto:mcohenson@raphanlaw'com]
> Sent: Thursday, January 07,201612:16 PM
> To: pamela Ken <pam@kerrfa.com>; Lisa Diponio <diponiolawfirm@comcast.net>; Young/Zen
<d.zen@q.com>
> Cc: cherie wrigley <cheriewrigley@yahoo.com>
> Subject: FW: Guardianship of Joanne Black: Katherine Litvak Letter

 > Received this today. lt is, for lack of better word, crazy.

 > Lisa and Gayle, she mentions you two-think it is relevant you read (as this matter is becoming
 inappropriate). My heart breaks for Joanne.

 > Melissa L Cohenson, Esq.

 > Brian A. Raphan, P,C.
 > 7 Penn Plaza,8th Floor
 > New York, New York 10001



                                                                                                  KERR0002509
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 129 of 145 PageID #:13578


> Tel. 212-268-8200, ext. 238
> Fax. 212-244-3075
> www.raphanlaw.com

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immediately and destroy this e-mail and all copies of it. We may scan and or monitor emails sent to
and from our servers to ensure regulatory compliance to protect our clients and business.


> From: Piper Hoffman [mailto:phoffman@mail187$.suw1 1 .mandrillapp.coml On Behalf Of Piper
Hoffman
> Sent: Thursday, January 07,2A16 1:33 PM
> To: Melissa Cohenson <mcohenson@raphanlaw.com>
> Subject: Guardianship of Joanne Black: Katherine Litvak Letter

> Dear Justice Aliotta,

> On behalf of Katherine Litvak, Joanne Black's sister-in-law, I send the attached letter and three
exhibits.

> Respectfully subm itted,
> Piper Hoffman, Esq.

> *&Hak*****#***********************
> Piper Hoffman
> Attorney at Law
> Piper Hoffman, Esq., PLLC
> 71 8-487-9839
> phoffman@piperhoffm anesq. com
> *******************************#**




               Information from ESET NOD32 Antivirus, version of virus signature database 12840 (20160108)


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                                                                                                  KERR0002510
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 130 of 145 PageID #:13578




  Frcmi Famela Kerr i.j,iii'r ilt .r:j'if,t.ir(ll'ir
subiect: RE: lnfo for leter to dlan
  0$!e: January 8, 2016 at 12:35 PM
             Anhony J. Dain (Anthmy.Dain@procopio.com) Ar,tli!flr'ntix|-r,Eir:'a\:.,i1:l(r   (,.-,m, cherie   wrigley tr,*rif,"i,itrf   err Q'1,:;rcr::.i-r:,tLr

             lra Salzm an t'dizt i' I : A!:.'el'Ji-'f lc.'ili c*iTl


lwillalsobefollowingupwlthalettertotheJudgeinttlewYork. ldon'tknowifit'sapproprlateornot,
but I can't let someone write a letter with my name in it and saying What I was hlred to do when that is
simply NOT the case.

From: M elissa Cohenson [mailto: mcohenson@ rapha nlaw'co m]
Sent: Friday, JanuarY 8, 2016 9:59 AM
To: pamela Kerr <pam@kerrfa.com>; Young/Zen <d.zen@q.com>; Lisa Diponlo
<diponlolawfirm@comcast.net>; Anthony J. Dain (Anthony.Dain@procoplo.com)
<Anthony.Dain@procopio.com>; cherie wrigley <cheriewrigley@yahoo.com>; lra Salzman
<salzma n@senio rlaw.com>
Subject: RE: lnfofor letterto dean

lalso put a call in and tdld not divulge the name of the person but ldid saythat they should be on
notice thatthis is goingon and itis completelyinappropriate. Carolina my assistant is currently
preparingthe fed ex overnights

lVlelissa I. Cohenst-:n, Esq.

Brim A. Raphm, P.C.
? Per:n Plaza, Bth Floor
Nerv York, New York 1t1001
Tel. 212'268'8gfjfj, ert. 238
Fax. 2L2'244'3075
www.raohanlaw.com

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business.



 From: Pam e la Ke rr haihgparn @lefdaJg-arl
 Sent: Frlday, January 08,2016 LL:42 AM
To:Young/Zen<d'zen@q.C0m>;LisaDiponio<dl@;AnthonyJ.Dain
 (Anthonv.Dain@-pfgg.gpj.0.gp&) <Anthfi-ry*Eain"@-il,fgtg.0ig.Sg-B>; cherie wrlgley
 <cheriewrigtey-@gahSg-com.>; lra Salzman <salzman@Seldgriairu.egnt>; Melissa Cohenson
 < mcohenson@ ranhan law.cnm>
 Srrhiorf, RF' lnfn fnr lolfarln r{prn

                                                                                                                                                    WRIGLEYOl 13
  Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 131 of 145 PageID #:13578




gsPJlVlr   ltLr   llllv   lVt   I




I just spoke to the Dean's office at Northwestern about this letter from Bernard's wife. Today is
tlie first chance I've had to read the whole letter and saw that she stated that I was hired to
ilvestigate Esaun, which is 100% not true. I also informed them that it appears that Northwestern
is supporting Ms. Litvak by having this letter on Northwestern letterhead, and the woman I spoke
to seemed to be quite bothered by that. I will be following up with a letter to the Dean.

Punt
Pamela M. Kerr, CPA, FCPA, CFE
1(err forensic Accau,rutirtg ?C
650 S. Cherry Street Suite 235
Denver, Colorado 80246

(303) 696-3700 - phone
(303) 696-5711 - fax
'i,v.ww.kerrfa.com

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From: Pamela Kerr
Sent: Friday, January 08, 20L6 9:32 AM
To: Pamela Kerr <p3!n@kelfa.com>
Subject: lnfo for letter to dean

Northwestern University
375 E. Ghicago Avenue
Chicago,lL 50611
Aftn: Mr. DanielB. Rodriquez,       Dean


Pant

Pamela M. Kerr, CPA, FCPA, CFE
 1(err fore,rtsic Accouruting ?C
650 S. Cherry Street Suite 235


                                                                                                  WRIGLEYO1   l4
         Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 132 of 145 PageID #:13578



Message
Frorn:         cherie wriBl ey Icherie wrigley <cheriewrigley@yahoo.com>]
on behalfof    cherie wrigley Icheriewrigley@yahoo.com]
Sent:          Ll8/2OtA 9:03:07 PM
To:            pam@kerrfa.com;
               BN3pR08MB19557A9E9ACAs6E670931B8OCOF60@BN3PR08M B1955.namprd08.prod.outlook.com
Subject:       Re: lnfo for letter to dean & lnvestigational opening to ETHICS DEPT>



Excellent job ! ! DO you mean r can't
                          !                                     download     the decision from ludge
LEith IN SEPT?
r was just about to do it.


From: Pamela Ken <pam@kerrFa.com>
To: cherie wrigley <cheriewrigley@yahoo.com>
Sent: Friday, January 8, 2016 12:51 PM
Subject: RE: lnfo for letter to dean & lnvestigational opening to ETHICS DEPT>

Iwould be careful about providing documents in this case to anyone other than those involved. You
may want to check with Melissa as to what you can and cannot provide. I think the letter itself will be
incriminating enough.

l'm attaching my letter to the Dean so you can see what l'm writing.

fiesf regards,
 Fam lterr
Pamela M. Kerr, CPA, FCPA, CFE
Kerr Forensic Accounting PG
650 S. Cherry Street Suite 235
Denver, Colorado 80246
(303) 696-3700 - Phone
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From : cherie wri g ey [mai lto cheri ewri g ley@yah oo. com]
                     I           :


Sent: Friday, January 08, 2016 1:44PM
To: Pamela Ken <pam@kerrfa.com>; Lisa Diponio <diponiolawfirm@comcast.net>; Young/Zen
<d^zen@q.com>
Cc: Anthony J. Dain (Anthony.Dain@procopio.com) <Anthony.Dain@procopio.com>; lra Salzman
<salzman@seniorlaw.com>; Melissa Cohenson <mcohenson@raphanlaw.com>
Subject: Re: lnfo for letter to dean & lnvestigational opening to ETHICS DEPT>



                                                                                                                   KERR0003692
     Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 133 of 145 PageID #:13578




HIAII,
Just an update.
I left a message earlier for the Dean of the Law school and the Business School of Management so
that they are aware of the new investigation I have re-opened from May 15,2015. This one will
include Kathryn Litvak and also lets them know I was disturbed with their ineffective closure and
resolution of BB's previous case. The independent organization that they have hired to follow up on
staff ethic code violations is Ethicspoint.com. lt took me quite a while to make the report but they were
VERY RESPONSIVE!
I am going to be able and they want me to download docs that will back my case.
Gayle,

Do you have Judge Leith's courtroom transcripts where Kate says some very unflattering and
unplofessional remarks regarding Joanne and herself. Then later the Judge admonishes her for NOT
helping her husband's case. That's what I remember....ANYWAY>>HELP.
Cherie


From: Pamela Ken <pam@kerrfa.com>
To : Lisa Diponio <diponiolavufi rm@comcast. net>; Young/Zen <d.zen@q.com>
Cc: "Anthony J. Dain (Anthonv.Dain@procopio.com)" <Anthonv.Dain@procopio.com>; cherie wrigley
<cheriewriolev@vahoo.com>; lra Salzman <salzman@seniorlaw.com>; Melissa Cohenson
<mcohenson@rapha nlaw. com>
Sent: Friday, January 8, 2016 9:25 AM
Subject: RE: lnfo for letter to dean

                                  503-3100. lfirst asked if I could speak to the Dean himself (Daniel
I called the Dean's office at (312)
Rodriquez) and she said he wasn't available. So, I told her who I was and what I was calling
about. "My name is Pam Kerr, l'm a forensic accountant from Denver. I am looking at a letter on
Northwestern Law School letterhead and it contains a false statement about me. lt is unfortunate
because it really appears that Northwestern Law School is supporting this letter since it is on your
letterhead"... .she put me on hold and came back and said she had gotten a call yesterday about the
same thing. I said I was going to follow up with a letter to the Dean and she said she wasn't sure if he
would be the person handling this but it would be forwarded to the person who will be "handling it." I
would recommend that anyone whose name is in the letter do the same. I cannot believe what is in
this letterl

Here is the mailing address:

Northwestern Un iversity
375 E. Chicago Avenue
Chicago, lL 6061'1
Attn: Mr. Daniel B. Rodriquez, Dean

Pam
Pamela M. Kerr, CPA, FCPA, CFE
Kerr Forensic Accounting PC
650 S. Cherry Street Suite 235
Denver, Colorado 80246

(303) 696-3700 - phone



                                                                                                KERRo003693
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 134 of 145 PageID #:13578



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bnor, then delete it. ln addition, you are hereby notified that anydisclosure, copying, ordistribution of this message, orthe
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From : Lisa Diponio [mailto:di poniolawfirm@ comcast. netl
Sent: Friday, January 08, 2016 9:53 AM
To: Young/Zen <d.zen@q.com>
Cc: Pamela ferr.pgm@lerrfa.cg![>; Anthony J. Dain (Anthonv.Dain@procopio.c-om)
<Anthonv.Dain@procopio.com>; cherie wrigley <cheriewriglev@vahoo.com>; lra Salzman
.salzmjn@seniorlaw.com>; Melissa Cohenson <mcohenson@raphanlaw.com>
Subject: Re: lnfo for letter to dean

Who did you talk to? Maybe another call is in order....l want them to pay professionally for this as well as monetarily.

Sent from my iPhone

> On Jan 8, 2O't 6, at 9:45 AM, Young/Zen <d.zen@q.com> wrote:

> Pam, you are absolutelY fearless.

>> On Jan 8, 2016, at 9:41 AM, Pamela Ken <pam@kerrfa.com> wrote:

>> I just spoke to the Dean's office at Northwestern about this letter from Bernard's wife. Today is the finst chance l've
had to read the whole letter and saw that she stated



>> Pam



>> Pamela M. Kerr, CPA, FCPA, CFE

>> Kerr Forensic Accounting PC

>> 650 S. Cherry Street Suite 235

>> Denver, Colorado 80246



>> (303) 696-3700 - Phone

>> (303) 696-571 1 - fax

>> www.kenfa.com

:l

                                                                                                                    KERRo003694
       Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 135 of 145 PageID #:13578




>> ',Kindness is the language which the deaf can hear and the blind can see" - Mark Twain




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attichment) addresses any tax mafter, it was not written to be (and may nol be) relied upon to (i) avoid tax-related
                                                       promote, market or recommend to another party any transaction or
fenalties under the lnternal Revenue Code, or (ii)
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enor, then delete it. ln addition, you are hereby notified that any disclosure, copying, or distribution of this message,
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>> From: Pamela Ken
>> Sent: Friday, January 08, 2016 9:32 AM
>> To: Pamela Kerr <pam@kenfa.com>
>> Subject: lnfo for letter to dean




>> Northwestern UniversitY

>> 375 E. Chicago Avenue

>> Chicago,   lL   60611

>>   Attn: Mr. Daniel B. Rodriquez, Dean



>> Pam



>> Pamela M. Kerr, CPA, FCPA, CFE

>> Kerr Forensic Accounting PC

>> 650 S. Cherry Street Suite 235

>> Denver, Colorado 80246



>> (303) 696-3700 - phone

>> (303) 696-5711 - fax

>> www.kenfa.com




 >> "Kindness is the language which the deaf can hear and the blind can see" - Mark Twain




                                                                                                                     KERR0003695
      Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 136 of 145 PageID #:13578




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penalties underthe lnternal Revenue Code, or (ii) promote, market or recommend to another party any transaction or
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>> httD://www.eset.com




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                 lnformation from ESET NOD32 Antivirus, version of virus signature database 12839
(20160108)

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(20160108)

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                                                                                                                     KERR0003696
     Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 137 of 145 PageID #:13578




            Information from ESET NOD32 Antivirus, version of virus signature database 12840 (20160108)


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                                                                                                KERR0003697
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 138 of 145 PageID #:13578




                      Exhibit                     13
            Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 139 of 145 PageID #:13578


2t27t2018                                                             lssue and Event Manager - Standard




              ethlc$.Poiftt                                  lssue and Evcnt
                                                                                         i?ff*7,l

               Date Submitted
                                 1t8t2016


               Status
                                 Closed

            Re ported   O   rg   a n   izatio nlTie r I nfo rmation


               Original Organizationmer Name from Reporter
                                 Northwestern UniversitY


               ls the reporter an emploYee?



               Users with access to this rePort
                                  Dana BradleY
                                 Janet Bice
                                 Marcia lsaacson
                                  Melanie Earle
                                  Pamela S Beemer
                                  Stephanie Griffin

             Report lnformation

               Report Summary
                                  No summary available.


               lssue Type
                                  Employee Relations


               Relationship to lnstitution
                                  Other/Anonymous


               Please identify the person(s) engaged in this behavior:
                                  Bernard Black - Chabraja professor
                                  Katherine Litvak - law Professor


               Do you suspect or know that a supervisor or management is involved?
                                  Yes


               If yes, then who?

                                  Bernard Black - Chabraja professor


                ls management aware of this problem?
                                  Yes




                                                                                                                113
 https://secure.ethicspoint.com/domain/en/admin_reportlcrint.asp?caseid=1702413                            NU00833
            Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 140 of 145 PageID #:13578


2t27t2018                                                               lssue and Event Manager - Standard




                What is the general nature of this matter?
                                 follow up on a closed report.

                How long do you think this problem has been going on?
                                 More than a year


                How did you become aware of this violation?
                                 I observed it


                Details
                                 On 05/07/1 5, Cherie filed a report regarding Bernard misusing and abusing organizational resources.
                                 The mafterwas submitted and closed, but Bernard continues his misconduct. The previous report had
                                 an unsatisfactory resolution and needs to be looked at again. Furthermore, Katherine, Bernard's wife,
                                 sent a letter to a judge in New York using stationary from the school, and she used her professional
                                 status at the school and affiliation with the university as leverage regarding a personal civil matter.

                                 Again, the university handled the previous report in an inept manner, and moving forward, Cherie
                                 would like to be provided more updates on the status of the report.

             Repo rte r Co nta ct I nfo rmati o n


                   Reporter ldentified
                                 Yes


                    Reporter Name
                                 Cherie WrigleY


                    Phone Number
                                 805-492-1 502


                    E-mail Address
                                  cheriewrigley@gmail. com

                    Contact AvailabilitY
                                 Anytime after 12:00 PM

             Uploaded Files From RePofter
             #1:        K Litvak to J Aliotta re Guardianship of Joanne Black 0'10716.pdf
                        Professor from your school using your letterhead to slander people and fight a personal case.
             #2'.



             #3:        Hearing.l 0.1.201 5.NYSupreme.pdf.95-1 05.pdf
                        These   ire a few pages from the tianscript with opinions from the Judge that vastly differ from Kate Litvak's emotional   diatribe.

             #4:




             #5:        Letter to Northwestern Law School.pdf
             Additional Notes From Reporter

                    111212016   posted by Reporter




 https://secure.ethicspoint.com/domain/en/admin-reportJsrint.asp?caseid=1 70241         3                                                                           213
                                                                                                                                                               NUOOB34
            Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 141 of 145 PageID #:13578


2t27t2018                                                       lssue and Event Manager - Standard




                             I have filed a report before about your employee Bernard Black and nothing was done. I was not going
                             to pursue anything more until the case was finished in Westchester County,NY and we had removed
                             him as executor and trustee of my cousin Joanne Black's Special Needs Trust. He has continued to
                             use school letterhead,email address,phones and other resources to fight his personal battle. Now his
                             wife is doing the same. I cannot in all good conscience allow this to continue. Something must be done
                             to save the integrity of your school. How can something like this go on for almost three years?

               1112t2016 posted by Reporter

                             My other REPORT KEY was 665513072701
                             The case was closed and I was told nothing. The misuse of resources continued.....OBVIOUSLY>

               112A2A16 posted by    Repo(er
                             I have just uploaded another letter/complaint that was sent to your school regarding this matter.

            Follow-ups to Reporter

               Jan 08, 2015, 2:36 PM posted by Janet Bice
                             Comment: Thank you for using the Ethics Point reporting system. We have received your report and
                             are in the process of reviewing it. We will contact you if we need further information and when our
                             investigation is complete.

               111912016   posted by Reporter
                             Reply: I would like to know who at the university is in charge of reviewing the uploaded files? I do not
                             feel it would be appropriate to have the same person working on this case as the previous case I had
                             opened.REPORT KEY:6655 1307 27 01..Thank you.

               Jan 26,2016,9:57AM posted by Janet Bice
                             Comment: This confirms receipt of the documents you uploaded in support of your report. Thank you
                             for using the Ethics Point sYstem.

               112912016   posted by Reporter
                             Reply: Thank you. Please note that I had a question on Jan. 19th. that still has not been addressed.

               Jul 26, 2016, 11:33 AM posted by Janet Bice
                             Comment: The University has reviewed the information you provided in your report and has taken
                             appropriate action to address the concerns you raised. This report will now be closed.

             Chat Transcripts
                             There are no chat transcripts for this incident.

             Report lVofes
                             There are no report notes.




https://secure.ethicspoint.com/domain/en/admin-reportJcrint.asp?caseid=1 70241 3                                                             3t3
                                                                                                                                        NU00835
Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 142 of 145 PageID #:13578




                      Exhibit 14
         Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 143 of 145 PageID #:13578



Messaqe
From:            Young/Zen [Young/Zen <d.zen@q.com>]
on behalf of     Young/Zen [d.zen@q.com]
Sent:            3/77/Z}LG 1:28:01AM
To:              cheriewrigley@yahoo.com; 1806491612.1205820.1458176229702.1avaMai1.yahoo@mail.yahoo.com
CC:              pam@kerrfa.com; mcohenson@raphanlaw.com; Anthony.Dain@procopio.com; salzman@seniorlaw.com
SubJect:         Re: WHO sent my letter to Northwestern



Cherie, Parn's letter rvas fine as sent. It'sjust that she had changed her mind about sending it, and she nor you didn't know it was
inadvertently sent to Northwestern I think rve all have pressed the 'send' button too soon.



> On Mar 16. 2016, at 6:57 PM, cherie wrigley <cheriewrigley@yahoo.com> wrote:

> All,
> I just got online. I have been busy with my paperw,ork, phone calls etc. I COULD DIEI! My brother called me and told me what
happened. The anonymous site ETHICSPOINT.com that I used to complain about the use of school letterhead from N.W. had me
upload Kate's le1ler. I rvas told it was not a sealed doc. I uploaded several docs that I thought were portions of the trarscripts from the
Colorado court showing some examples th,at disputed Kate's evaluations of me and my brother. I sent the last order from Judge Leith
and the order from the NY court.
> I NEVER INTENDED TO SEND PAM'S LETTER!!
> It was uploaded by mistake and I never would have known-
    left Pam a long message.
    AMBEYOND SORRY!!!
    hope there is sornething thatl can do to clean up this mess
    think they are again trying to distract frorn the real issue.
> CI{ERIE

> Frorn: Pamela Kerr <pam@kerrfa.com>
> To : Melissa Cohenson <mcohenson@raphanlaw.com> ; Young/Zen <d. zen@q. co m>
> Cc: cherie rvrigley <cheriewrigley@yahoo.com>; "Dain, Anthony J." <Anthony.Dain@procopio.com>: Ira Salzman
<salzman@seniorlarv.co m>
> Sent: Wednesday, March 16. 2O16 4:32PM
> Subject RE: WHO sent my letter to Northrvestern

> I arn seriously reconsidering testifying next week.


> Sent from my Verizon Wireless 4G LTE smartphone



> From: Melissa Cohenson
> Date:0311612016 5:31 PM (GMT-07:00)
> To: Pamela Ken, Young/Zen
> Cc: cherie wrigley , "Dairl Antlrony J." , Ira Salzman
> Subject RE: WHO sent my letter to Northrvestern

> I am trying to compretrend Piper's recent filings (4) today.,.

> Melissa l. Cohensoq Esq.

> Brian A. Raphan, P.C.
> 7 Penn Plaza, 8th Floor
> New York New York 10001
> T el, 212-268-8200, ext. 23 8
>Fax. 212-244-3075
> rvvrv.rapharlaw.corn

> CONFIDENTIAIITY NOTICE:




                                                                                                                                KERR000235s
       Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 144 of 145 PageID #:13578



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inrmediately and destroy this e-mail and all copies of it. We rnay scan and or rnonitor emails sent to and from oru sen/ers to ensure
regulatory compliarrce to protect our clienls and business.


> From: Pamela Kerr [mailto:pam@kerrfa.com]
> Sent: Wednesday, March 16, 2016 7:27 PM
> To: Melissa Cohenson <mcohenson@raphanlarv.corn>',You,ttglZen <d.zen@q.com>
> Cc: cherie wrigley <cheriewrigley@yahoo.com>; Dain, Anthony J. <Anthony.Dain@procopio.com>; Ira Salzman
<salzman@,senio rlarv. co m>
> Subjecl RE: WHO sent my letter to Northlvestern

> It did not come from me ! That's a problem because now it looks like I sent them the letter from Kate.



> Sent from my Verizon Wireless 4G LTE smartphone


> From: Melissa Cohenson
> Date:0311612016 5: I 1 PM (GMT-07:00)
> To: YomglZen, Parnela Kerr
> Cc: cherie wrigley , "Daiq Arthony J." , Ira. Salizman
> Subjecu RE: WHO sent my letter to Northwestern

> I am severely confused. Horv did Piper get this...Bernard must have got it or Kate from NWL...don't they have access to tlre school?

> Let's not let this distract us from these liars.

> Melissa L Cohensoq Esq.

> Brian A. Rapha4 P.C.
> 7 PernPlaza, 8th Floor
> New York, Nerv York 10001
> Tel. 212-268-8200, ext. 238
> Fax. 212-244-307 5
> www.raphanlaw.com

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regulatory compliarrce to protect our clients and business.



> ---Odginal Message---
> From: Y oungl Zen [mailto :d.zen.@q.com]
> SenI: Wednesday, March 16, 2016 7:10 PM
> To: Pamela Kerr<pam@kerrfa.com>
> Cc: Melissa Cohenson <mcohersonl@raphanlaw.com>: cherie wrigley <cheriervrigley@yahoo.com>: Dain, Anthony J.
<Anthony.Dain(@procopio.com>; Ira Salzman <salznran@seniorlaw.com>
> Subject Re: WHO sent my letter to Northwestern

> Pam:

> I just sent out fte letter from Northr.vestern and your letter that rvas attached to both courts.

> Gayle




                                                                                                                              ktrPPnnnr?6A
           Case: 1:17-cv-00101 Document #: 437 Filed: 09/23/19 Page 145 of 145 PageID #:13578



    > > On Mar 16.20L6, at 5:08 PM, Pamela Kerr <pam@kerrfa,corn> rvrote:

    > ) I'nt heading to a meeting so I can't get to my computer but this is tlre letter that I sent to people on this team
                                                                                                                           saying it's what I was
    going to send t}at I never ever sent.



    > > Ser[ from rny Verizon Wireless 4G LTE smartphone




    >>   From: Melissa Colrenson
    >>   Date:03/16/20L6 5:04 PM (GMT-07:00)
    >>   To: Pamela Kerr, 'cherie wrigley' , "Dain, Anthony J.,,' , Ira Salzman ,younglZen
    >>   Subject: RE: WHO sent my letter to Northwestern

 > > Not me. This comes to a surprise to me. Do yorr guys think Bemard orKate uploaded it?



> > PanL is that ev-en your signature?



> > I cant seem to even upload or see the leller they are purporting was uploaded...



> > Melissa I. Cohensoq Esq.



> > Brian A. Raphan P.C.

> > 7 Penn Plaza, 8th Floor

> > New Yorlg New York 10001

> > Tel. 212-268-8200, ext. 238

> > Fax. 212-244-3075

> > www.raphanlaw.corn



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immediately and destroy this e-mail and all copies of it. We may scan and or monitor emails seni to and from our seryers to ensure
regulatory compliance to protect oru clients and business.



> > From: Pamela Ken [mailto:pam@kerrfa.com]
> > Sent: Wednesday, March 16, 2016 7:01 PM
> > To: 'cherie wrigley'<cheriewrigley@yahoo.conr>; Melissa Cohenson <mcohenson@raphadaw.com>;
                                                                                                                    Daiq Anthony     J.'
<Anthony.Dain@procopio.com>; Ira Salzman <salzman@seniorlaw.com>; Young/Zen<dlen@q.com>
> > Subject: WHO sent my letter to Northwestern




> > I forwarded a copy Of the letter I was going to send to Northwesternbut never did.
                                                                                       Somehow they have a copy please tell rne who
forwarded my letter to Northwestem This rvi1l have a. severe impact on my testimony next week


>   > Sent from my Verizon Wireless 4G LTE smartphone
